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 6

 7

 8                               UNITED STATES DISTRICT COURT

 9                             CENTRAL DISTRICT OF CALIFORNIA

10

11
     ILAN PEKER, an individual                   )          CASE NO.
12                                               )
                           Plaintiff,            )
13                                               )          COMPLAINT FOR:
            vs.                                  )          1.  Dissolution      of    Limited
14                                               )              Partnership
                                                 )          2.  Securities Fraud - Cal. Corp. C.
15   DISTINCT REAL ESTATE USA 2, L.P., a )                      §§25400 et seq.
     Delaware limited partnership; DISTINCT REAL )          3.  Securities Fraud - 15 USC §78j
16   ESTATE USA GP 2, INC., a Delaware)                         and 17 CFR §240.10b-5
     corporation; PHILLIP LOUIS WAZONEK, an )               4.  Fraud and Deceit
17   individual; GORDON BERGER, an individual; )            5.  Breach of Written Contract
     and DOES 1 through 10, Inclusive,           )          6.  Breach of Fiduciary Duties
18                                               )          7.  Declaratory Relief
                           Defendants.           )          8.  Negligence
19                                               )
                                                 )          DEMAND FOR JURY TRIAL
20                                               )

21
            Plaintiff Ilan Peker, by and through his attorneys, hereby alleges the following:
22
                                                 PARTIES
23
     1.     At all material times, plaintiff Ilan Peker ("Peker") was and is a resident of Calabasas,
24
            California, in the Central District of California. At all material times from and after March
25
            2, 2021, Peker was a limited partner of the Crane Manor Limited Partnership, holding 150
26
            Class A Units, having invested the sum of $150,000.
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28                                              COMPLAINT
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 1     2.    Plaintiff is informed and believes and thereon alleges that at all material times from and after
 2           in or about February 2021, defendant Distinct Real Estate USA 2, L.P. (the "Limited
 3           Partnership" or "Crane Manor Limited Partnership") was and is a limited partnership
 4           organized and existing under the laws of the State of Delaware, with its principal place of
 5           business at 6000 Poplar Avenue, Suite 250, Memphis, Tennessee.

 6     3.    Plaintiff is informed and believes and thereon alleges that at all material times from and after
 7           March 24, 2021, defendant Distinct Real Estate USA 2 GP, Inc. (the "General Partner")

 8           was and is a corporation organized and existing under the laws of the State of Delaware, with

 9           its registered office located at 16192 Coastal Highway, Lewes, Delaware 19958.
10     4.    Plaintiff is informed and believes and thereon alleges that at all material times, defendant
11           Phillip Louis Wazonek ("Wazonek") was and is an individual over the age of eighteen
12           years, and a citizen of Canada residing in Calgary, Canada. Plaintiff is further informed and

13           believes and thereon alleges that at all material times, Wazonek was one of two shareholders
14           of the corporate General Partner, the other shareholder and director being Marcin Drozdz
15           ("Drozdz").
16     5.    Plaintiff is informed and believes and thereon alleges that at all material times, defendant

17           Gordon Berger ("Berger") was and is an individual over the age of eighteen years, and a
18           citizen of Canada residing in Toronto, Ontario with his principal place of business at 21

19           Tregellis Rd, M3H 1K3, Toronto, Ontario, Canada. Plaintiff is further informed and believes
20           and thereon alleges that Berger has never been a shareholder, director or officer of the
21           General Partner, but in spite of that fact has purported to act as a "Managing Director" of the
22           Limited Partnership.
23     6.    Plaintiff is ignorant of the true names and capacities of defendants sued herein as DOES 1
24          through 10, inclusive, and therefore sues these defendants by such fictitious names. Plaintiff
25          will amend this complaint to allege their true names and capacities when such names and

26          capacities have been ascertained.
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28                                                COMPLAINT
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 1     7.    Plaintiff is informed and believes and thereon alleges that at all material times, each
 2           defendant was the agent, representative, or employee of each and all of the other defendants,
 3           and was acting within the course and scope of such agency, representation and/or

 4           employment. Plaintiff is further informed and believes and thereon alleges that all of the
 5           wrongful acts and omissions alleged herein by each of the defendants was ratified by each

 6           of the other defendants. (The named defendants and Does 1 through 10, inclusive are

 7           collectively referred to herein as "defendants").

 8                                      JURISDICTION AND VENUE
 9     8.    This court has jurisdiction over this action based on diversity of citizenship under 28 USC

10           §1332(a), in that the amount in controversy is in excess of $75,000, exclusive of interest and
11           costs, and the action is between: (a) citizens of different states, pitting plaintiff, a California
12           resident, against the General Partner, a Delaware corporation and the Crane Manor Limited

13           Partnership, a Delaware limited partnership (28 USC §1332(a)(1); and (b) a citizen of a State
14           and citizens or subjects of a foreign state, pitting plaintiff, a citizen of California, against
15           defendants Wazonek and Berger who, on information and belief, are citizens of Canada (28
16           USC §1332(a)(2)).

17     9.    As to the claims arising under 15 USC §78j and 17 CFR §240.10b-5, this court has
18           jurisdiction over this action based on 28 USC §1331.
19     10.   Ancillary jurisdiction over the state law claims is proper under 28 USC §1367 because they
20           arise under a common nucleus of operative facts as the federal claims alleged herein.
21     11.   Venue is proper in this district pursuant to 28 USC §1391(b)(1) because a substantial part
22           of the events or omissions giving rise to the claim occurred in this judicial district. The
23           solicitations of plaintiff's investment in the Crane Manor Limited Partnership were all
24           directed to plaintiff in California who, at all times, resided in and did business in the County
25           of Los Angeles, State of California. Furthermore, the damages suffered by the plaintiff were

26           suffered by him, a California resident, in the County of Los Angeles, State of California.
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28                                                 COMPLAINT
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 1           ALLEGATIONS OF FACT COMMON TO ALL CLAIMS FOR RELIEF

 2   12.   Commencing in or about February 2021, Drozdz, a shareholder, director and officer of the

 3         General Partnership, who is also identified as a "Managing Partner" in the Crane Manor

 4         Limited Partnership promotional materials, directly or indirectly, by means of the

 5         instrumentalities of interstate commerce, internet, telephone and/or the mails, solicited a

 6         number of investors, including plaintiff, with the intent and for the purpose of inducing them

 7         to invest in the Limited Partnership. On behalf of the General Partner, Drozdz, directly or

 8         indirectly, made specific representations to plaintiff by telephone and internet

 9         communications, including sending plaintiff by email copies of an "Executive Summary"

10         relating to Crane Manor Apartments ("Executive Summary") and monthly updates as to the
11         progress of the Crane Manor project, and providing access to an "investor portal"
12         (https://investorportal.distinctrealestatelp.com/offerings/crane-manor-apartments/register)

13         designed to provide information to potential investors ("Investor Portal"). A true and
14         correct copy of the Executive Summary is attached as Exhibit 1 hereto and incorporated

15         herein by this reference. Among other things, the Executive Summary states that the

16         acquisition cost of the Crane Manor property was $3,850,000, a representation which
17         plaintiff later learned was knowingly false at the time of its making.

18   13.   Plaintiff is informed and believes and thereon alleges that on or about February 9, 2021,

19         Drozdz, acting on behalf of the General Partner, made contact for the first time with a group
20         of investors with whom plaintiff is affiliated. On February 15, 2021, plaintiff received an

21         email directly from Drozdz, in which Drozdz described the overal parameters of the Crane

22         Manor project as follows:

23                        •       We will renovate and release the units at market rent.
                                  (average $650 for 2bd/1 ba)
24                        •       Once renovated and rented we anticipate the building to be
                                  worth $11,000,000+.
25                        •       Cash flow to investors will likely begin after 12 months
                          •       We plan to refinance the property between 24- 36 months
26                                from time of purchase
                          •       The refinance should allow us to give investors their initial
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                                                   4
28                                             COMPLAINT
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 1                                investment back (and still own the building)
                           •      We will relook at selling the building in year 5 (we can vote
 2                                on it) or we can just keep it and collect the cash flow until we
                                  ultimately decide to sell it
 3                                If we keep it beyond 5 years we could look at refinancing it
                                  again with investors as there will likely be a lot more equity
 4                                there.

 5         (Emphasis added.) It was therefore clear, from the very first communication from the General

 6         Partner to plaintiff, that the renovation of the Crane Manor apartments was a key element in

 7         achieving the overall purpose of this investment.

 8   14.   On February 17, 2021, by email of the same date, Drozdz sent to plaintiff a series of

 9         promotional materials, including among other things the Executive Summary, the operating

10         agreement of the Limited Partnership ("Operating Agreement") (a true and correct copy of

11         which is attached as Exhibit 2 hereto and incorporated herein by this reference), a
12         subscription agreement, a link to the investor portal and a link to a Dropbox folder containing

13         additional promotional materials and a series of before-and-after photos purporting to show

14         renovations already completed. In their promotional materials, the General Partner thus

15         represented that their intention was to renovate the Crane Manor Apartments to bring them
16         up to market rents and full occupancy.

17   15.   In reliance on the representations made to him by Drozdz, on behalf of the General Partner,

18         on or about February 23, 2021, plaintiff agreed to invest the sum of $150,000 in the Limited

19         Partnership and paid the sum of $150,000 to the General Partner, in consideration of his

20         receipt of 150 Class A limited partnership units in the Crane Manor Limited Partnership.

21   16.   On March 2, 2021, plaintiff received an email and accompanying "welcome letter" from the

22         General Partner's Investor Relations Department, confirming receipt of his investment and

23         attaching a copy of an electronically executed signature page from the Operating Agreement,

24         a true and correct copy of which is attached as Exhibit 3 hereto and incorporated herein by
25         this reference. Attached to the same email was a fully executed copy of the Subscription
26         Agreement ("Subscription Agreement"), a true and correct copy of which is attached as

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28                                              COMPLAINT
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 1         Exhibit 4 hereto and incorporated herein by this reference. The Subscription Agreement
 2         provides in relevant part, at ¶9(b): "This Agreement shall be deemed to be made under, and

 3         shall be construed in accordance with and shall be governed by, the laws of the State of

 4         Arizona."

 5   17.   Plaintiff is informed and believes and thereon alleges that, by means of these

 6         communications, the General Partner represented, and intended that the prospective

 7         investors, including plaintiff, would believe, that the Crane Manor Limited Partnership and

 8         the General Partner were already existing entities before he made his investment. In fact, the

 9         General Partner was not incorporated until March 24, 2021 and the Limited Partnership was

10         not actually formed until March 26, 2021. Plaintiff is further informed and believes and

11         thereon alleges that, in order to induce him and other investors to invest in the Crane Manor
12         Limited Partnership, the General Partner represented, and intended that the prospective

13         investors, including plaintiff, would believe, that the Crane Manor property had already been

14         purchased. Plaintiff later learned that these representations were false. In or about April 2021,

15         through the Investor Portal, the General Partner circulated a document entitled

16         "Announcement," which announced the fact that the Crane Manor Limited Partnership had

17         just then completed its acquisition of the Crane Manor Apartments.

18   18.   Plaintiff is informed and believes and thereon alleges that on or about June 2021, the General

19         Partner commissioned an appraisal report to be prepared by Valbridge Property Advisors.

20         The Appraisal Report, dated June 17, 2021, appraised the value of the Crane Manor property

21         at $3,550,000 — $250,000 less than the purchase price for the Crane Manor property

22         ($3,800,000) stated in the Executive Summary. In relevant part, the Appraisal Report also
23         notes that the Crane Manor Limited Partnership "acquired the subject property on March 31,

24         2021 for a recorded consideration of $3,470,000." Since the General Partner, through
25         Drozdz, had earlier represented that the purchase price of the Crane Manor property was

26         below market, a number of the limited partners, including plaintiff, began raising questions
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28                                              COMPLAINT
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 1         about the finances of the limited partnership with the General Partner. Plaintiff is in formed

 2         and believes and thereon alleges that, at or about the same time, Wazonek and Berger,

 3         identified as "Managing Partners" of the General Partner in the Executive Summary,

 4         contacted a number of the limited partners, including plaintiff, and informed them that the

 5         General Partner was unable to proceed with any renovations because they were unable to

 6         obtain financing. According to Wazonek and Berger, Drozdz had become embroiled in

 7         litigation over other business ventures and his involvement in the Crane Manor project was

 8         "poison" to any lenders. Wazonek and Berger informed the limited partners that the lender

 9         was insisting, as a precondition to financing, that Drozdz resign his position with the General

10         Partner and dissociate from the project altogether. They sought the help of the limited

11         partners, including plaintiff, to pressure Drozdz to resign from his position with the General

12         Partner so that the financing for the renovations could go forward. In these same

13         communications, Wazonek and Berger alluded to other financial irregularities. They

14         informed the limited partners, including plaintiff, that Drozdz had allegedly taken $50,000

15         without authorization from the partnership's bank accounts; they also made oblique reference

16         to a priority "lien" of $1,350,000 against the Crane Manor property and that legal action had

17         been commenced to challenge that lien. Plaintiff is informed and believes and thereon alleges

18         that until that point, in or about September 2021, none of the limited partners had been

19         informed by the General Partner of: (a) the existence of the "lien" claim against the Crane

20         Manor property; (b) the fact that there was pending legal action involving the lien claim; or

21         (c) the potential cost to the Crane Manor Limited Partnership of the pending legal action.

22   19.   In late August 2021, plaintiff and the other limited partners were furnished by Berger with

23         a copy of a letter dated August 23, 2021 from Mark W. Krochak of Peterson Krochak, a

24         Canadian law firm, directed to Drozdz, concerning the General Partner (referred to as "GP

25         2") and the general partner of Whispering Pines (referred to as "GP"). In his letter, in relevant

26         part, Mr. Krochak states:

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28                                               COMPLAINT
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 1                   I am advised that the GP and GP 2 corporations must raise funds for the
                     renovation and improvement purposes originally intended for increasing
 2                   value and equity for the unit holders in the Limited Partnerships. I am also
                     informed that you and/or your corporation ("1990781") are unwilling or
 3                   unable to provide the funding or financing requirements for the purposes of
                     the General Partnership role with respect to the limited partnerships.
 4
                     It is my opinion that under the terms of Article V of the Unanimous
 5                   Shareholders Agreements for both GP and GP 2, you are in breach of the
                     obligations to provide either the requisite funding or the financing guarantees
 6                   and covenants required for the General Partnership to obtain the funds
                     required for the purposes intended.
 7
                    As a result, I have been instructed to begin action in the Court of Queen's
 8                  Bench using all remedies at my clients' disposal including the terms of the
                    Agreements, remedies available at Common Law and under the Alberta
 9                  Business Incorporations Act to end your involvement in both GP and GP 2.

10           A true and correct copy of the Krochak letter of August 23, 2021 is attached as Exhibit 5

11           hereto and incorporated herein by this reference. Based on this communication and other
12           communications from Wazonek, Berger and Drozdz, plaintiff believed that the General

13           Partner was unable to function, to obtain financing or to proceed with the renovations which

14           were and are at the heart of the Crane Manor Limited Partnership's financial objectives.
15     20.   In light of these troubling communications and revelations, the limited partners collectively

16           began to demand information concerning the finances and operations of the Crane Manor

17           Limited Partnership. By email to Wazonek, Berger and Drozdz dated September 26, 2021,
18           Gerson, whom the limited partners (including plaintiff) had nominated as spokesman,

19           demanded as follows:

20                  In the meantime, we are collectively demanding that the General Partner
                    immediately make available to the Partners and turn over copies of all books
21                  and records of the Partnership, including without limitation the following: (a)
                    all rent rolls; (b) all bank statements; (c) all checks; (d) records of all
22                  disbursements by the Partnership; (e) any electronic records of the
                    Partnership's finances (for example, Quickbooks); (f) any agreements entered
23                  into on behalf of, or binding upon, the Partnership; and (g) the names, contact
                    information (telephone, facsimile, email addresses) and Interests held of all
24                  Partners.

25           The General Partner refused to furnish any of the information requested. By that point, the

26           limited partners had had enough. They had learned that the General Partners misrepresented
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28                                               COMPLAINT
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 1           the financials of the Crane Manor project in order to induce them to invest. They had learned
 2           that the General Partners omitted key, material facts, such as the true value of the property,

 3           the existence of a $1,350,000 priority lien against the Crane Manor property and the lawsuit

 4           commenced by the General Partner which, on information and belief, was being litigated at

 5           the expense of the Crane Manor Limited Partnership. They had been informed that the

 6           General Partner was now incapable of fulfilling its obligations under the Operating
 7           Agreement, including obtaining financing and renovating the apartment units, due to
 8           infighting among Wazonek, Berger and Drozdz. They had been informed of questionable
 9           financial transactions involving their invested capital, had requested information, and had
10           been rebuffed.

11     21.   As a consequence, on September 27, 2021, the limited partners convened a meeting of the
12           Crane Manor Limited Partnership. At that time, in accordance with the Operating

13           Agreement, a quorum of limited partners, who had waived notice of the meeting, was present
14           and passed a series of resolutions (a) declaring the General Partner in material breach of the
15           Operating Agreement for its failure and inability to proceed with renovations of the Crane

16           Manor property, (b) voting to remove the General Partner and (c) voting to dissolve the
17           Crane Manor Limited Partnership. Later that same day, Peker's counsel, by email, gave

18           notice of the enactment of these resolutions to all limited partners and the General Partner

19           of the Crane Manor Limited Partnership. A true and correct copy of this email including its

20           attachment, the September 27, 2021 resolution, is attached as Exhibit 6 hereto and
21           incorporated herein by this reference.
22     22.   On October 11, 2021, the limited partners convened a second meeting of the Crane Manor
23           Limited Partnership. At that time, in accordance with the Operating Agreement, a quorum
24           of limited partners, who had waived notice of the meeting, was present and passed an
25           amended resolution to remove the General Partner, setting the effective date for its removal
26           on December 28, 2021 and, on the same date, a meeting for the election of a new General
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28                                               COMPLAINT
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 1         Partner. A true and correct copy of the Amended Resolutions for Removal of General Partner

 2         is attached as Exhibit 7 hereto and incorporated herein by this reference.

 3   23.   Both Wazonek and Berger have informed the Limited Partners, including plaintiff, orally and

 4         in writing, that they will not honor the resolutions for removal of the General Partner or for

 5         the dissolution of the Limited Partnership.

 6   24.   Plaintiff is informed and believes and thereon alleges that on October 7, 2021, the "Investor

 7         Relations" Department of the General Partner directed an email to all limited partners and,

 8         as an attachment thereto, sent a copy of what was described as an "updated financial report"

 9         for the Crane Manor Limited Partnership. This financial report consisted of a balance sheet,

10         monthly profit-and-loss statement and year-to-date cash-flow report, current through August

11         31, 2021. A true and correct copy of this "financial report," which is the only financial report

12         ever received from the General Partner in connection with the Crane Manor project, is

13         attached as Exhibit 8 hereto and incorporated herein by this reference. Among other things,
14         the financial report reflects a receivable "from USA LP" of $164,866 which, on information

15         and belief, is a loan made by the General Partner, without the consent of knowledge of the

16         Crane Manor limited partners, to the Whispering Pines limited partnership ("Whispering

17         Pines"). Plaintiff is informed and believes and thereon alleges that Whispering Pines is a
18         companion project to Crane Manor (featured together with Crane Manor in the Crane Manor

19         promotional materials), which is also formed as a limited partnership and is controlled by a

20         corporate general partner (referred to as "GP" in the Krochak letter of August 23, 2021, as
21         above) owned and operated by Wazonek and Berger as part of their "Distinct Real Estate
22         Group."

23   25.   The group of limited partners, including plaintiff, continued to press Wazonek and Berger

24         for further information concerning the operations and finances of the Crane Manor project.

25         Wazonek responded by email to plaintiff's counsel on October 13, 2021. In that email, for

26         the very first time, Wazonek informed the limited partners that the true purchase price for
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28                                              COMPLAINT
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 1         the Crane Manor property was $3,150,000 (not $3,800,000, as stated in the Executive
 2         Summary), subject to an existing lien, which they referred to as a "lis pendens" of "up to"

 3         $1,350,000, and provided a copy of the Purchase and Agreement dated January 21, 2021. A
 4         true and correct copy of Wazonek's October 13, 2021 email, together with the attached
 5         Purchase and Sale Agreement, is attached as Exhibit 9 hereto and incorporated herein by this

 6         reference. Wazonek also confirmed that the General Partner had commenced legal action,
 7         on behalf of the Crane Manor Limited Partnership, to challenge the lien. The limited

 8         partners, including plaintiff, attempted to obtain additional information concerning the
 9         priority lien claim and the legal action, but the General Partner failed and refused even to

10         give them the case name or caption information.
11   26.   On October 27, 2021, the General Partner gave (untimely) notice of a meeting of the Crane
12         Manor Limited Partnership, with the agenda items to include, among other things: (a) a
13         project update; (b) review of the Purchase and Sale Agreement; and (c) clarification of issues
14         of mortgage on property and litigation. The meeting took place via Zoom on November 4,

15         2021. Wazonek and Berger reported as follows:
16         a.     Project Update. The General Partner reported that due to its own internal squabbling,
17                which Wazonek and Berger blamed on Drozdz, they had been unable to obtain
18                financing for the promised renovations, as a result of which only a handful of the
19                apartment units had been renovated and no further renovations were being
20                performed. Wazonek and Berger reported that they had secured a "term sheet" for
21                financing in June 2021, which they flashed for a few seconds but refused to
22                disseminate to the limited partners. (Significantly, this "term sheet" did not require
23                the resignation of Drozdz, which Wazonek and Berger had previously informed the
24                limited partners was a condition imposed by the lender.) Wazonek and Berger were
25                forced to admit, however, that a precondition of this financing was the lender's
26                insistence that the disputed lien of $1,350,000 be removed from the Crane Manor
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28                                             COMPLAINT
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 1                 property and the litigation concluded. They also did not address the question of why,

 2                 if this loan "commitment" had been received in June 2021, the financing had not

 3                 been concluded as of the time of the meeting on November 4, 2021 so that the

 4                 renovations could proceed.

 5         b.      Review of Purchase and Sale Agreement and Clarification of Mortgage. Wazonek
 6                and Berger reported that the Purchase and Sale Agreement provides, in relevant part,

 7                that the property was purchased subject to a potential lien claim of up to $1,350,000.

 8                 They refused to elaborate on the nature of the lien, whether it was a mortgage and

 9                why it did not appear in the chain of title. They further reported that they had

10                commenced litigation to challenge the lien claim. Wazonek and Berger
11                acknowledged that the Purchase and Sale Agreement had not been made available
12                to potential investors, nor had the potential lien claim or litigation challenging it been

13                disclosed to the limited partners, prior to the time they made their investments. They

14                refused to disclose any further information concerning the litigation, including basic
15                identifying information (title of the action, court, case name or case number).

16         c.     Request by Limited Partners to Inspect and Copy Books and Records. At the meeting,

17                Wazonek and Berger made clear that while they would permit the limited partners
18                to inspect certain selected documents at the Memphis office of the Crane Manor

19                Limited Partnership, they would not permit copying of any documents or

20                computerized financial data.

21   27.   Plaintiff is informed and believes and thereon alleges that on November 12, 2021, by email

22         of the same date, limited partner Anna Ostrovsky (with copies to all limited partners) sent

23         an email to Gordon Berger, at his request, detailing the financial documents being requested

24         by the limited partners, including plaintiff In relevant part, Ostrovsky's email states as

25         follows:
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28                                              COMPLAINT
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 1                We are specifically looking for:
                           1. The documentation for the $1.3 5mm liability
 2                         2. The documentation for the lawsuit to reduce the $1.35mm liability
                           3. Any updates to the purchase agreement - the purchase agreement
 3                shared with us has an old date and a purchase price different from what was
                  disclosed to us
 4                         4. A copy of the proposed $3mm financing term sheet
                           5. What is the status of the renovation? How many units have been
 5                renovated? How many of the total units are occupied? What is the timeline
                  for completing the renovation
 6                         6. We have additional specific questions including transfer of funds
                  out of Crane Manor to other projects, very high professional fees, etc. but if
 7                that is too difficult to address by email, we can wait to examine the books
                  ourselves.
 8
           A true and correct copy of Ostrovsky's November 12, 2021 email is attached as Exhibit 10
 9
           hereto and incorporated herein by this reference.
10
     28.   Berger responded by email on November 12, 2021, a true and correct copy of which is
11
           attached as Exhibit 11 hereto and incorporated herein by this reference. In his email, among
12
           other things, Berger refused to furnish any information about the purported loan commitment
13
           and stated "We covered the fact, that without financial [financing], it was impossible to start
14
           the renovations of Crane Manor," thereby admitting that the General Partner is presently
15
           incapable of proceeding with the renovations of the Crane Manor property. In addition,
16
           Berger made clear that although he would be "very willing to have you or any other investor
17
           come to sunny Memphis and check the books," he was unwilling to make the full array of
18
           documents sought by the Limited Partners available for inspection and copying.
19
     29.   In order to force the General Partner to permit copying of documents, the Limited Partners
20
           prepared, circulated and obtained signatures from a majority of the Limited Partners on an
21
           Action By Consent in Lieu of Meeting to Permit Copying of Partnership Books, Records and
22
           Financial Statements ("Resolution to Permit Copying"), a true and correct copy of which
23
           is attached as Exhibit 12 hereto and incorporated herein by this reference. In material part,
24
           the Resolution to Permit Copying instructs the General Partner that "any Limited Partner or
25
           its authorized representative shall, as part of the examination of the books, records, and
26
           financial statements provided for in [Operating Agreement ¶10.1], be permitted to copy or
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28                                              COMPLAINT
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 1          scan the Partnership's documents and things enumerated therein."
 2   30.    Plaintiff is informed and believes and thereon alleges, based on an examination of the Crane

 3          Manor Limited Partnership bank statements from Wells Fargo Bank, that a sum of between
 4          $10,000 to $20,000 has been paid via Automated Clearing House (ACH) payments to the

 5          bank account of Whispering Pines since at least July 2021, and continuing through

 6          November 30, 2021.

 7   31.    Plaintiff has made repeated demand for the return of his investment but defendants have

 8          failed and refused, and continue to fail and refuse, to pay the sums due him.

 9   32.    As a proximate result of the wrongful conduct of defendants and each of them alleged herein,

10          plaintiff has been damaged in a sum in excess of $75,000, according to proof at time of trial,
11          together with prejudgment interest, costs of suit and attorney fees, both under the written
12          agreements alleged herein or as otherwise may be provided by law.
13   33.    In performing the wrongful acts alleged herein, defendants and each of them acted with
14         malice, oppression and fraud, without regard to safeguarding the investment of plaintiff or

15         acting toward him as appropriate for a fiduciary. As a consequence thereof, plaintiff is

16         entitled to an award of punitive damages under California Civil Code §3294 in the minimum
17         sum of $1,000,000, according to proof at time of trial.

18                                   FIRST CLAIM FOR RELIEF
19         For Judicial Dissolution of Limited Partnership and Accounting, as Against All
20             Named Defendants and Does 1 Through 10, Inclusive ("Defendants")
21                                           [A.R.S. §29-345]
22   34.   Plaintiff re-alleges and incorporates hereby the allegations of paragraphs 1 through 33,

23         inclusive, above, as though fully set forth herein.
24   35.   At all material times from and after March 2, 2021, Plaintiff has been a partner in the Crane

25         Manor Limited Partnership.
26   36.   As a result of the errors, omissions and wrongful actions of each of the defendants, it is not

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28                                              COMPLAINT
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 1       reasonably practicable to carry on the business of the Crane Manor Limited Partnership in
 2       conformity with the Operating Agreement and the purposes enunciated therein and in the

 3       promotional materials used to induce plaintiffs investment. These errors, omissions and

 4       wrongful actions include, without limitation:

 5       a.     Falsely misrepresenting to the Limited Partners, including plaintiff, that the purchase

 6              price of the Crane Manor property was $3,800,000, when in fact the true purchase
 7              price was $3,150,000.
 8       b.     Falsely misrepresenting to the Limited Partners, including plaintiff, that the Crane

 9              Manor property had already been acquired at the time the General Partner solicited

10              their investments.

11       c.     Fraudulently omitting to disclose to the Limited Partners, including plaintiff, that a
12              lien of up to $1,350,000 burdened the Crane Manor property as of the time of their
13              investment in the Crane Manor Limited Partnership.

14       d.     Fraudulently omitting to disclose to the Limited Partners, including plaintiff, that the
15              General Partner had commenced litigation to challenge the lien of up to $1,350,000
16              burdening the Crane Manor property at the expense, on information and belief, of the

17              Crane Manor Limited Partnership.
18       e.     Falsely omitting to disclose to the Limited Partners, including plaintiff, that the

19              General Partner could not proceed with renovations of the Crane Manor property due
20              to, among other things, the internal squabbling and dysfunction within the General
21              Partner and its inability to obtain financing for the anticipated renovations.

22      f.      Causing an undisclosed and unauthorized "loan" in excess of $160,000 to be made
23              to Whispering Pines, a companion development project operated and owned in part

24              by the principals of the General Partner, at a time when the General Partner was
25              claiming it could not fund the renovations of the Crane Manor property, thereby

26              violating the principle that a general partner of a limited partnership may not possess
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28                                           COMPLAINT
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 1                   or assign the rights to partnership property other than for a partnership purpose.
 2         g.        Causing a sum of between $10,000 to $20,000 to be paid via Automated Clearing

 3                   House (ACH) payments to the bank account of Whispering Pines since at least July
 4                   2021, and continuing through November 30, 2021.

 5         h.        Refusing, in bad faith, to permit the Limited Partners to inspect and copy the books
 6                   and records of the Crane Manor Limited Partnership, in violation of the Operating

 7                   Agreement, at ¶10.2 and A.R.S. §29-305(a)(8).

 8   37.   Plaintiff is entitled to dissolution of the limited partnership, an accounting, a winding up of

 9         its affairs, and distribution of the partnership assets pursuant to A.R.S. §§29-344 et seq.

10   38.   Plaintiff is informed and believes and thereon alleges that the defendants have refused to

11         consent to dissolution of the Crane Manor Limited Partnership, to facilitate an accounting
12         of its affairs, or to a winding up of its affairs. Plaintiff is further informed and believes and

13         thereon alleges that the General Partner, through Wazonek and Berger, have indicated orally

14         and in writing that they will refuse to comply with the resolutions for removal of the General
15         Partner and for dissolution of the Limited Partnership enacted by the Limited Partners.

16   39.   Due to the fact that the defendants, and each of them, have wrongfully caused dissolution of

17         the Crane Manor Limited Partnership and frustration of its purpose by their errors, omissions
18         and wrongful conduct, as alleged herein, they are not entitled to wind up the affairs of the

19         Limited Partnership, oversee an accounting or manage the distribution of the partnership

20         assets.
21   40.   Unless the court appoints a receiver to take over the business affairs of the Crane Manor
22         Limited Partnership while this action is pending, the interests ofboth the Limited Partnership
23         and its shareholders will suffer further damage due to the facts set forth above.
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28                                               COMPLAINT
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 1                                   SECOND CLAIM FOR RELIEF
 2         For Rescission and Damages Resulting from Purchase of Securities, as Against All

 3               Named Defendants and Does 1 Through 10, Inclusive ("Defendants")

 4                                 [California Corp. C. §§25401, 25501]

 5   41.     Plaintiff re-alleges and incorporates hereby the allegations of paragraphs 1 through 40,

 6           inclusive, above, as though fully set forth herein.

 7   42.     On March 2, 2021, plaintiff purchased from defendants Wazonek, Berger and the General

 8           Partner 150 limited partnership units in the Crane Manor Limited Partnership for $150,000.

 9   43.     Defendants offered to sell, and did sell to plaintiff, the securities described above by means

10           of oral and written communications, using the instrumentalities of interstate commerce,

11           specifically telephone and interne. These communications contained false, misleading

12          statements and material omissions of fact, including among others the following:

13          a.      Defendants misrepresented to the Limited Partners, including plaintiff, that the
14                  purchase price of the Crane Manor property was $3,800,000, when in fact the true
15                  purchase price was $3,150,000.

16          b.      Defendants misrepresented to the Limited Partners, including plaintiff, that the Crane
17                  Manor property had already been acquired at the time the General Partner solicited
18                  their investments.

19          c.      Defendants fraudulently failed to disclose to the Limited Partners, including plaintiff,
20                  that a lien of up to $1,350,000 burdened the Crane Manor property as of the time of
21                  their investment in the Crane Manor Limited Partnership.

22          d.      Defendants fraudulently omitted to disclose to the Limited Partners, including

23                  plaintiff, that the General Partner had commenced litigation to challenge the lien of

24                  up to $1,350,000 burdening the Crane Manor property at the expense, on information

25                  and belief, of the Crane Manor Limited Partnership.

26          e.      Defendants fraudulently omitted to disclose to the Limited Partners, including
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28                                               COMPLAINT
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 1                 plaintiff, that the General Partner could not proceed with renovations of the Crane
 2                 Manor property due to, among other things, the internal squabbling and dysfunction

 3                 within the General Partner and its inability to obtain financing for the anticipated
 4                 renovations.

 5   44.   These misrepresentations and omissions by defendants and each of them were untrue in that

 6         (a) the true purchase price of the Crane Manor property was $3,150,000; (b) the Crane Manor

 7         property had not been acquired as of the time the limited partners, including plaintiff, made
 8         their investments; (c) there was at all material times a lien claim against the Crane Manor

 9         property of $1,350,000, a fact which was known to defendants because it was recited in the

10         Purchase and Sale Agreement they had entered into on January 18, 2021; (d) on information

11         and belief, the defendants had commenced litigation to challenge the lien claim; and (e) the
12         defendants knew of the financial difficulties of, and litigation involving, Drozdz, but did not

13         disclose these facts or the financial inability of the General Partner to obtain financing for

14         the Crane Manor renovations to the limited partners, including plaintiff.

15   45.   At the time plaintiff made his investment in the Crane Manor Limited Partnership, he did not

16         know that the statements of defendants and each of them, as related above, were untrue, or

17         that the defendants had omitted to disclose to him material facts in connection with his
18         purchase of limited partnership units in the Crane Manor Limited Partnership. Had plaintiff

19         known of these untrue statements and material omissions, he would not have purchased these

20         securities from the defendants.

21   46.   At all material times, each of the defendants Wazonek and Berger were listed in the

22         promotional materials for the Crane Manor Limited Partnership, specifically the Executive

23         Summary, as a "Managing Partner." As a Managing Partner, each of Wazonek and Berger

24         controlled the General Partner, which, by the misrepresentations and material omissions

25         detailed above, violated the provisions of California Corp. C. §25401. As a result, defendants

26         Wazonek and Berger, as control persons, are jointly and severally liable with, and to the
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28                                              COMPLAINT
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 1         same extent as, the General Partner for the violations of California Corp. C. §25401
 2         described in this complaint.

 3   47.   At all material times, plaintiff was and is a resident of the State of California, County of Los

 4         Angeles. The misrepresentations and material omissions detailed above by defendants and

 5         each of them were made to plaintiff in California, the consideration paid for purchase of the

 6         securities was paid from California and the damages suffered by plaintiff were suffered in

 7         California.

 8   48.   Pursuant to the provisions of California Corp. C. §25501, plaintiff is entitled to rescind the

 9         purchase of the securities, the 150 limited partnership units in the Crane Manor Limited

10         Partnership, and is entitled to receive from defendants and each of them the consideration

11         paid for the limited partnership units ($150,000), plus interest at the maximum legal rate, less
12         the amount of any income received on the securities.

13   49.   Prior to entry of judgment in this action, plaintiff will tender to defendants the 150 limited
14         partnership units in the Crane Manor Limited Partnership purchased from defendants.

15                                    THIRD CLAIM FOR RELIEF

16                        For Fraud in the Sale of a Security, as Against All
17             Named Defendants and Does 1 Through 10, Inclusive ("Defendants")

18                                 [15 USC §78j(b); 17 CFR §240.10b-5]
19   50.   Plaintiff re-alleges and incorporates hereby the allegations of paragraphs 1 through 49,

20         inclusive, above, as though fully set forth herein.

21   51.   Beginning in or about February 2021, and continuing through March 2, 2021, defendants and

22         each of them offered to sell, and did sell to plaintiff, the securities described above by means

23         of oral and written communications, using the instrumentalities of interstate commerce,
24         specifically telephone and interne. These communications contained materially false

25         representations, misleading statements and material omissions of fact, including among
26         others the following:

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28                                              COMPLAINT
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 1         a.      Defendants misrepresented to the Limited Partners, including plaintiff, that the

 2                 purchase price of the Crane Manor property was $3,800,000, when in fact the true

 3                 purchase price was $3,150,000.
 4         b.      Defendants misrepresented to the Limited Partners, including plaintiff, that the Crane

 5                 Manor property had already been acquired at the time the General Partner solicited

 6                 their investments.

 7         c.      Defendants fraudulently failed to disclose to the Limited Partners, including plaintiff,

 8                 that a lien of up to $1,350,000 burdened the Crane Manor property as of the time of

 9                 their investment in the Crane Manor Limited Partnership.

10         d.      Defendants fraudulently omitted to disclose to the Limited Partners, including

11                 plaintiff, that the General Partner had commenced litigation to challenge the lien of

12                 up to $1,350,000 burdening the Crane Manor property at the expense, on information
13                 and belief, of the Crane Manor Limited Partnership.
14         e.      Defendants fraudulently omitted to disclose to the Limited Partners, including
15                 plaintiff, that the General Partner could not proceed with renovations of the Crane
16                 Manor property due to, among other things, the internal squabbling and dysfunction

17                 within the General Partner and its inability to obtain financing for the anticipated

18                 renovations.
19   52.   These misrepresentations and omissions by defendants and each of them were untrue in that

20         (a) the true purchase price of the Crane Manor property was $3,150,000; (b) the Crane Manor

21         property had not been acquired as of the time the limited partners, including plaintiff, made
22         their investments; (c) there was at all material times a lien claim against the Crane Manor

23         property of $1,350,000, a fact which was known to defendants because it was recited in the
24         Purchase and Sale Agreement they had entered into on January 18, 2021; (d) on information

25         and belief, the defendants had commenced litigation to challenge the lien claim; and (e) the

26         defendants knew of the financial difficulties of, and litigation involving, Drozdz, but did not

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28                                              COMPLAINT
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 1         disclose these facts or the financial inability of the General Partner to obtain financing for
 2         the Crane Manor renovations to the limited partners, including plaintiff.

 3   53.   In making these false and misleading misrepresentations, defendants also suppressed material
 4         facts which, had they been known to plaintiff, would have dissuaded him from investing with

 5         defendants at all.

 6   54.   On March 2, 2021, plaintiff purchased from defendants Wazonek, Berger and the General

 7         Partner 150 limited partnership units in the Crane Manor Limited Partnership for $150,000.

 8   55.   In agreeing to purchase these limited partnership units, plaintiff relied on the

 9         misrepresentations and misleading statements made by defendants and each of them.

10         Plaintiffs reliance was reasonable because the defendants, through Drozdz, represented

11         themselves as experienced developers in projects such as the Crane Manor project, and they
12         further disseminated promotional materials, both directly and through the investor portal, that

13         misrepresented the finances of the project and omitted material facts (such as, among others,

14         the true purchase price of the Crane Manor property, the existence of a disputed lien of up

15         to $1,350,000 burdening the property and the filing of a lawsuit by the General Partner at the

16         expense of the Crane Manor Limited Partnership to challenge that lien).

17   56.   At the time plaintiff made his investment in the Crane Manor Limited Partnership, he did not

18         know that the statements of defendants and each of them, as related above, were untrue, or

19         that the defendants had omitted to disclose to him material facts in connection with his
20         purchase of limited partnership units in the Crane Manor Limited Partnership. Had plaintiff
21         known of these untrue statements and material omissions, he would not have purchased these
22         securities from the defendants. As a consequence, plaintiffs reliance on the

23         misrepresentations and omissions of material fact were and are the proximate cause of
24         plaintiffs damages.
25   57.   Plaintiff is informed and believes and thereon alleges that each of the individual defendants,
26         Wazonek and Berger, was and is a control person of the General Partner who aided and
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28                                             COMPLAINT
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 1         abetted the wrongful acts alleged herein on the part of the General Partner.

 2   58.   At all material times, plaintiff was and is a resident of the State of California, County of Los

 3         Angeles. The misrepresentations and material omissions detailed above by defendants and

 4         each of them were made to plaintiff in California, the consideration paid for purchase of the
 5         securities was paid from California and the damages suffered by plaintiff were suffered in

 6         California.

 7   59.   As a proximate result of the wrongful acts alleged herein, plaintiff has suffered damages, the

 8         full nature and extent of which have not yet been ascertained. Plaintiff is informed and
 9         believes and thereon alleges, however, that said damages are in the minimum sum of his

10         investment of $150,000, together with costs and attorney fees incurred in the prosecution of
11         this action.

12   60.   Plaintiff is informed and believes and thereon alleges that at all times material hereto,

13         defendants and each of them knew that the representations they made to the limited partners,
14         including plaintiff, were knowingly false at the time of their making, and that they were

15         withholding from plaintiff material information, to wit, the true purchase price of the Crane

16         Manor property, the existence of a lien of up to $1,350,000 burdening the property, the

17         existence of a lawsuit brought on behalf of the Limited Partnership (and at its expense) to

18         challenge the lien and, most critically, that the General Partner was incapable of performing
19         its function of facilitating renovations and resale of the Crane Manor property due to its

20         internal squabbling and dysfunction. Plaintiff is further informed and believes and thereon

21         alleges that defendants and each o f them intentionally, wilfully, fraudulently, maliciously and
22         in conscious disregard for the rights of plaintiff, took the actions alleged herein, knowing full

23         well that plaintiff was certain to suffer damages as a result of the wrongful conduct of
24         defendants and each of them. Plaintiff is therefore entitled to an award of punitive damages

25         against each of the defendants in an amount according to proof at the time of trial.
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28                                              COMPLAINT
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 1                                  FOURTH CLAIM FOR RELIEF
 2                                For Fraud and Deceit, as Against All
 3              Named Defendants and Does 1 Through 10, Inclusive ("Defendants")

 4                              [California Civil C. §§1572, 1710, 3294]
 5   61.   Plaintiff re-alleges and incorporates hereby the allegations of paragraphs 1 through 60,

 6         inclusive, above, as though fully set forth herein.
 7   62.   Beginning in or about February 2021, and continuing through March 2, 2021, defendants and

 8         each of them offered to sell, and did sell to plaintiff, the securities described above by means

 9         of oral and written communications, specifically telephone and internet. These

10         communications contained materially false representations, misleading statements and
11         material omissions of fact, including among others the following:
12         a.     Defendants misrepresented to the Limited Partners, including plaintiff, that the

13                purchase price of the Crane Manor property was $3,800,000, when in fact the true
14                purchase price was $3,150,000.
15         b.     Defendants misrepresented to the Limited Partners, including plaintiff, that the Crane

16                Manor property had already been acquired at the time the General Partner solicited

17                their investments.

18         c.     Defendants fraudulently failed to disclose to the Limited Partners, including plaintiff,
19                that a lien of up to $1,350,000 burdened the Crane Manor property as of the time of
20                their investment in the Crane Manor Limited Partnership.
21         d.     Defendants fraudulently omitted to disclose to the Limited Partners, including

22                plaintiff, that the General Partner had commenced litigation to challenge the lien of
23                up to $1,350,000 burdening the Crane Manor property at the expense, on information
24                and belief, of the Crane Manor Limited Partnership.
25         e.     Defendants fraudulently omitted to disclose to the Limited Partners, including

26                plaintiff, that the General Partner could not proceed with renovations of the Crane
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28                                              COMPLAINT
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 1                 Manor property due to, among other things, the internal squabbling and dysfunction
 2                 within the General Partner and its inability to obtain financing for the anticipated

 3                 renovations.
 4   63.   These misrepresentations and omissions by defendants and each of them were untrue in that

 5         (a) the true purchase price of the Crane Manor property was $3,150,000; (b) the Crane Manor

 6         property had not been acquired as of the time the limited partners, including plaintiff, made
 7         their investments; (c) there was at all material times a lien claim against the Crane Manor

 8         property of $1,350,000, a fact which was known to defendants because it was recited in the
 9         Purchase and Sale Agreement they had entered into on January 18, 2021; (d) on information
10         and belief, the defendants had commenced litigation to challenge the lien claim; and (e) the
11         defendants knew of the financial difficulties of, and litigation involving, Drozdz, but did not
12         disclose these facts or the financial inability of the General Partner to obtain financing for
13         the Crane Manor renovations to the limited partners, including plaintiff.
14   64.   In making these false and misleading misrepresentations, defendants also suppressed material

15         facts which, had they been known to plaintiff, would have dissuaded him from investing with
16         defendants at all.

17   65.   On March 2, 2021, plaintiff purchased from defendants Wazonek, Berger and the General

18         Partner 150 limited partnership units in the Crane Manor Limited Partnership for $150,000.

19   66.   In agreeing to purchase these limited partnership units, plaintiff relied on the

20         misrepresentations and misleading statements made by defendants and each of them.

21         Plaintiff's reliance was reasonable because the defendants, through Drozdz, represented
22         themselves as experienced developers in project such as the Crane Manor project, and they
23         further disseminated promotional materials, both directly and through the investor portal, that
24         misrepresented the finances of the project and omitted material facts (such as, among others,
25         the true purchase price of the Crane Manor property, the existence of a disputed lien of up

26         to $1,350,000 burdening the property and the filing of a lawsuit by the General Partner to
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28                                              COMPLAINT
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 I         challenge that lien).
 2   67.   At the time plaintiff made his investment in the Crane Manor Limited Partnership, he did not

 3         know that the statements of defendants and each of them, as related above, were untrue, or

 4         that the defendants had omitted to disclose to him material facts in connection with his

 5         purchase of limited partnership units in the Crane Manor Limited Partnership. Had plaintiff

 6         known of these untrue statements and material omissions, he would not have purchased these

 7         securities from the defendants.

 8   68.   Plaintiff is informed and believes and thereon alleges that each of the individual defendants,

 9         Wazonek and Berger, was and is a control person and alter ego of the General Partner.

10         Plaintiff is further informed and believes and thereon alleges that there is a unity of interest

11         and ownership among Wazonek, Berger and the General Partner, such that they do not have
12         a separate existence; that the General Partner is insufficiently capitalized; that the General

13         Partner does not maintain its separateness as a distinct legal entity from, among others,

14         Wazonek and Berger; and that the General Partner is a mere shell, instrumentality and

15         conduit for the business transactions and schemes of Wazonek and Berger. As a result,

16         Wazonek, Berger and the General Partner should be deemed jointly and severally liable for
17         the actions of each and each other.

18   69.   At all material times, plaintiff was and is a resident of the State of California, County of Los

19         Angeles. The misrepresentations and material omissions detailed above by defendants and
20         each of them were made to plaintiff in California, the consideration paid for purchase of the

21         securities was paid from California and the damages suffered by plaintiff were suffered in

22         California.
23   70.   As a proximate result of the wrongful acts alleged herein, plaintiff has suffered damages, the

24         full nature and extent of which have not yet been ascertained. Plaintiff is informed and

25         believes and thereon alleges, however, that said damages are in the minimum sum of his

26         investment of $150,000, together with costs and attorney fees incurred in the prosecution of
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28                                               COMPLAINT
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 1         this action.

 2   71.   Plaintiff is informed and believes and thereon alleges that at all times material hereto,

 3         defendants and each of them knew that the representations they made to the limited partners,

 4         including plaintiff, were knowingly false at the time of their making, and that they were
 5         withholding from plaintiff material information, to wit, the true purchase price of the Crane

 6         Manor property, the existence of a lien of up to $1,350,000 burdening the property, the
 7         existence of a lawsuit brought on behalf of the Limited Partnership (and at its expense) to

 8         challenge the lien and, most critically, that the General Partner was incapable of performing
 9         its function of facilitating renovations and resale of the Crane Manor property due to its

10         internal squabbling and dysfunction. Plaintiff is further informed and believes and thereon

11         alleges that defendants and each ofthem intentionally, wilfully, fraudulently, maliciously and
12         in conscious disregard for the rights of plaintiff, took the actions alleged herein, knowing full

13         well that plaintiff was certain to suffer damages as a result of the wrongful conduct of
14         defendants and each of them. Plaintiff is therefore entitled to an award of punitive damages
15         against each of the defendants in an amount according to proof at the time of trial.
16                                   FIFTH CLAIM FOR RELIEF
17                         For Breach of Written Contract, as Against the
18               General Partner and Does 1 Through 10, Inclusive ("Defendants")
19   72.   Plaintiff re-alleges and incorporates hereby the allegations of paragraphs 1 through 71,

20         inclusive, above, as though fully set forth herein.
21   73.   On or about March 2, 2021, plaintiff, on the one hand, and the General Partner, on the other
22         hand, entered into two written agreements, the Operating Agreement and the Subscription
23         Agreement.
24   74.   Plaintiff has performed all things required of him under the Operating Agreement and the
25         Subscription Agreement, specifically by paying to the General Partner the sum of $150,000
26         in order to obtain 150 limited partnership units in the Crane Manor General Partnership.

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28                                              COMPLAINT
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 1   75.   The General Partner has breached the express and implied terms of the Operating Agreement

 2         and Subscription Agreement by, among other things, the following wrongful acts:
 3         a.     Defendants fraudulently failed to disclose to the Limited Partners, including plaintiff,
 4                that a lien of up to $1,350,000 burdened the Crane Manor property as of the time of

 5                their investment in the Crane Manor Limited Partnership. Defendants have

 6                furthermore failed and refused, and continue to fail and refuse, to provide to the

 7                Limited Partners access to inspect and copy any documents relating to the existence

 8                of this lien claim against the Crane Manor Limited Partnership property.
 9         b.     Defendants fraudulently omitted to disclose to the Limited Partners, including
10                plaintiff, that the General Partner had commenced litigation to challenge the lien of
11                up to $1,350,000 burdening the Crane Manor property at the expense, on information

12                and belief, of the Crane Manor Limited Partnership. Defendants have furthermore
13                failed and refused, and continue to fail and refuse, to provide to the Limited Partners

14               access to inspect and copy any documents relating to the legal action challenging this
15                lien claim against the Crane Manor Limited Partnership property, even to the extent
16               of refusing to provide basic identifying information (case name, case number, title
17               of court) as to the pending legal action.

18         c.    Defendants fraudulently omitted to disclose to the Limited Partners, including
19               plaintiff, that the General Partner could not proceed with renovations of the Crane

20               Manor property due to, among other things, the internal squabbling and dysfunction
21               within the General Partner and its inability to obtain financing for the anticipated
22               renovations. In so doing, the General Partner has frustrated the "Purpose of the
23               Partnership," as defined in Operating Agreement, §2.4.
24         d.    Defendants have failed and refused, and continue to fail and refuse, to recognize the
25               actions of the Limited Partners under Sections 3.5, 4.1 and 4.2 of the Operating

26               Agreement in dissolving the Crane Manor Limited Partnership and removing the
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28                                             COMPLAINT
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 1                 General Partner, by resolutions dated September 27, 2021 and October 11, 2021, and

 2                 have further stated that they have no intention of acting in accordance with these

 3                 duly-enacted resolutions.

 4         e.      Defendants have failed and refused, and continue to fail and refuse, to recognize the

 5                 actions of the Limited Partners under Sections 3.5, 4.1, 4.2, 4.2 and 10.2 of the

 6                 Operating Agreement in enacting the Resolution to Permit Copying of the Crane

 7                 Manor Limited Partnership's books, records and financial statements.

 8         f.      On information and belief, defendants have failed to maintain the Crane Manor

 9                 Limited Partnership's books, records and financial statements at its principal office,

10                 as required by Sections 3.3(g), 10.1.

11         g.      Defendants have refused to permit the Limited Partners to inspect and copy the

12                 books, records and financial statements of the Crane Manor Limited Partnership, in

13                 violation of Section 10.2 of the Operating Agreement, and the Resolution to Permit

14                 Copying.

15   76.   As a direct and proximate result of the aforesaid breaches of written contract by the General

16         Partner, plaintiff has suffered damages in the sum of the minimum sum of his investment of

17         $150,000, together with costs and attorney fees incurred in the prosecution of this action.

18   77.   Plaintiff is also entitled to rescission of these agreements as ancillary to his claim for

19         damages.

20                                   SIXTH CLAIM FOR RELIEF

21               For Breach of Fiduciary Duties, as Against All Named Defendants

22                        and Does 1 Through 10, Inclusive ("Defendants")

23   78.   Plaintiff re-alleges and incorporates hereby the allegations of paragraphs 1 through 77,

24         inclusive, above, as though fully set forth herein.

25   79.   At all material times from and after March 2, 2021, plaintiff has been the record holder of

26         150 limited partnership units of the Crane Manor Limited Partnership.

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                                                  28
28                                             COMPLAINT
Case 2:21-cv-09450-MEMF-JEM Document 1 Filed 12/06/21 Page 29 of 160 Page ID #:29



 1   80.   By virtue of its position as General Partner, the General Partner has undertaken, by operation
 2         of law, a duty to act with loyalty, equitably and as a fiduciary for the benefit of all of the

 3         Limited Partners, including plaintiff.

 4   81.   By virtue of their positions as control persons of the General Partner, and as "Managing

 5         Directors" of the Limited Partnership, Wazonek and Berger have similarly undertaken, by

 6         operation of law, the duty to act with loyalty, equitably and as a fiduciary for the benefit of

 7         all Limited Partners, including plaintiff.

 8   82.   A specific feature, express and implied, of that special relationship between defendants, on

 9         the one hand, and the Limited Partners, including plaintiff, on the other hand, was plaintiff's

10         reasonable reliance upon defendants to be truthful in their statements to him; and to conduct

11         themselves in accordance with established ethical standards, custom and practice of partners,
12         including the obligation to be forthright, honest and equitable in their dealings with the

13         Limited Partners of the Crane Manor Limited Partnership, including plaintiff.

14   83.   Plaintiff is informed and believes and thereon alleges that, among other acts and omissions,

15         defendants and each of them have breached the fiduciary duties owing to the Limited

16         Partners, including plaintiff, by, among others, the following actions:

17         a.     Defendants fraudulently failed to disclose to the Limited Partners, including plaintiff,

18                that a lien of up to $1,350,000 burdened the Crane Manor property as of the time of

19                their investment in the Crane Manor Limited Partnership. Defendants have
20                furthermore failed and refused, and continue to fail and refuse, to provide to the
21                Limited Partners access to inspect and copy any documents relating to the existence

22                of this lien claim against the Crane Manor Limited Partnership property.

23         b.     Defendants fraudulently omitted to disclose to the Limited Partners, including

24                plaintiff, that the General Partner could not proceed with renovations of the Crane
25                Manor property due to, among other things, the internal squabbling and dysfunction

26                within the General Partner and its inability to obtain financing for the anticipated
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                                                   29
28                                              COMPLAINT
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 1             renovations. In so doing, the General Partner has frustrated the "Purpose of the
 2             Partnership," as defined in Operating Agreement, §2.4.
 3       c.    Defendants fraudulently omitted to disclose to the Limited Partners, including

 4             plaintiff, that the General Partner had commenced litigation to challenge the lien of

 5             up to $1,350,000 burdening the Crane Manor property at the expense, on information

 6             and belief, of the Crane Manor Limited Partnership. Defendants have furthermore

 7             failed and refused, and continue to fail and refuse, to provide to the Limited Partners

 8             access to inspect and copy any documents relating to the legal action challenging this

 9             lien claim against the Crane Manor Limited Partnership property, even to the extent

10             of refusing to provide basic identifying information (case name, case number, title

11             of court) as to the pending legal action.

12       d.    Defendants have failed and refused, and continue to fail and refuse, to recognize the
13             actions of the Limited Partners under Sections 3.5, 4.1 and 4.2 of the Operating

14             Agreement in dissolving the Crane Manor Limited Partnership and removing the

15             General Partner, by resolutions dated September 27, 2021 and October 11, 2021, and

16             have further stated that they have no intention of acting in accordance with these

17             duly-enacted resolutions.

18       e.    Defendants have failed and refused, and continue to fail and refuse, to recognize the
19            actions of the Limited Partners under Sections 3.5, 4.1, 4.2, 4.2 and 10.2 of the

20             Operating Agreement in enacting the Resolution to Permit Copying of the Crane
21             Manor Limited Partnership's books, records and financial statements.

22       f.   On information and belief, defendants have failed to maintain the Crane Manor

23            Limited Partnership's books, records and financial statements at its principal office,

24            as required by Sections 3.3(g), 10.1.
25       g.   Defendants have refused to permit the Limited Partners to inspect and copy the

26            books, records and financial statements of the Crane Manor Limited Partnership, in
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28                                         COMPLAINT
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 1                 violation of Section 10.2 of the Operating Agreement, and the Resolution to Permit
 2                 Copying.

 3         h.      On information and belief, defendants have made diverted from the Crane Manor

 4                 Limited Partnership and have paid those funds to other entities in which defendants

 5                 own an interest, for their sole benefit.

 6   84.   As a proximate result of the foregoing wrongful conduct of defendants and each of them,

 7         plaintiff has suffered general, special and consequential damages in an amount according to

 8         proof at time of trial.

 9   85.   In doing the acts and engaging in the course of conduct alleged herein, each of the defendants
10         has acted with oppression, fraud, and malice within the meanings assigned to those terms

11         under Civil Code §3294. Plaintiff is thereby entitled to punitive and exemplary damages in

12         a sum to be determined by the trier of fact, according to proof at time of trial.

13                                   SEVENTH CLAIM FOR RELIEF

14                (For Declaratory Relief, As Against All Named Defendants

15                    and DOES 1 Through 100, Inclusive ("defendants"))

16   86.   Plaintiff re-alleges and incorporates hereby the allegations of paragraphs 1 through 85,

17         inclusive, above, as though fully set forth herein.

18   87.   An actual controversy has arisen between plaintiff on the one hand and defendants and each

19         of them on the other hand with respect to the legal rights and duties of said parties in that,

20         among other things:
21         a.     Plaintiff contends and, on information and belief, defendants and each of them

22                dispute, that the September 27, 2021 and October 11, 2021 resolutions of the Limited
23                Partners are valid enactments of the Crane Manor Limited Partnership and binding

24                on the General Partner.

25         b.     Plaintiff contends and, on information and belief, defendants and each of them

26                dispute, that by virtue of the September 27, 2021 and October 11, 2021 resolutions
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28                                              COMPLAINT
Case 2:21-cv-09450-MEMF-JEM Document 1 Filed 12/06/21 Page 32 of 160 Page ID #:32



 1                  of the Limited Partners, the Crane Manor Limited Partnership has been dissolved.
 2         c.       Plaintiff contends and, on information and belief, defendants and each of them
 3                  dispute, that by virtue of the September 27, 2021 and October 11, 2021 resolutions
 4                  of the Limited Partners, the General Partner has been duly removed from its position

 5                 as General Partner, effective as of December 28, 2021.

 6         d.      Plaintiff contends and, on information and belief, defendants and each of them

 7                 dispute, that by virtue of the September 27, 2021 and October 11, 2021 resolutions

 8                 of the Limited Partners, the General Partner has been divested of authority to act on
 9                 behalf of the Crane Manor Limited Partnership until its removal becomes final on

10                 December 28, 2021.
11         e.      Plaintiff contends and, on information and belief, defendants and each of them
12                 dispute, that the Resolution to Permit Copying is a valid enactment of the Crane

13                 Manor Limited Partnership and is binding on the General Partner.
14         f.      Plaintiff contends and, on information and belief, defendants and each of them
15                 dispute, that plaintiff is entitled to injunctive relief in order to prevent the General
16                 Partner from violating the terms of the September 27, 2021 and October 11, 2021

17                 resolutions of the Limited Partners.
18         g.      Plaintiff contends and, on information and belief, defendants and each of them

19                 dispute, that plaintiff is entitled to, and has shown good cause for, appointment of a
20                 receiver to take charge of the business and affairs of the Crane Manor Limited
21                 Partnership and to preserve its property pending the disposition of this action.
22   88.   No adequate remedy other than that prayed for herein, specifically declaratory relief as to the

23         legal rights and obligations of the parties named herein, exists by which the rights of plaintiff
24         and defendants and each of them may be determined.

25   89.   By reason of the facts alleged herein, plaintiff has suffered damages according to proof at

26         time of trial.

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28                                              COMPLAINT
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 1   90.   A judicial declaration is necessary and appropriate at this time under the circumstances in
 2         order that plaintiff may ascertain the rights and obligations of the parties so that the business

 3         and financial affairs of the Crane Manor Limited Partnership may be conducted for the

 4         benefit of all holders of beneficial interests, and not just for the benefit of the defendants.

 5                                  EIGHTH CLAIM FOR RELIEF
 6                       (For Negligence, Against All Named Defendants and

 7                          DOES 1 through 100, Inclusive ("defendants")

 8   91.   Plaintiff re-alleges and incorporates hereby the allegations of paragraphs 1 through 90,

 9         inclusive, above, as though fully set forth herein.

10   92.   In inducing plaintiff to enter into the Operating Agreement and Subscription Agreement and

11         to perform thereunder, including without limitation paying $150,000 for 150 limited
12         partnership units in the Crane Manor Limited Partnership, defendants and each of them

13         undertook a duty of care to be truthful in their dealings with plaintiff, to avoid making

14         representations that were false, and to disclose all facts known to them or within their

15         diligent attention and observation which might materially affect the value of the Crane

16         Manor Limited Partnership.

17   93.   During the course of this transaction, plaintiff informed defendants, through Drozdz, that he

18         was relying on them and their expertise in making an investment in the Crane Manor Limited

19         Partnership. Plaintiff's reliance was reasonable based on the representations of the

20         defendants regarding their experience and the quality of the Crane Manor project.

21   94.   Defendants and each of them breached their duties owing to plaintiff by, among other things,

22         making misrepresentations and omissions as to material facts, as aforesaid.

23   95.   As a proximate result of the wrongful acts alleged herein, plaintiff has suffered damages, the

24         full nature and extent of which have not yet been ascertained. Plaintiff is informed and

25         believes and thereon alleges, however, that said damages are in the minimum amount of his

26         original investment of $150,000, attorney fees incurred herein if permitted by law,
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28                                              COMPLAINT
Case 2:21-cv-09450-MEMF-JEM Document 1 Filed 12/06/21 Page 34 of 160 Page ID #:34



 1         prejudgment interest from and after March 2, 2021, and costs of suit herein.

 2   96.   The breaches of duty by defendants and each of them were a substantial factor in causing

 3         plaintiff's damages, which would not have been suffered but for the wrongful conduct of

 4         defendants and each of them.

 5

 6         WHEREFORE, plaintiff prays for judgment as follows:

 7   AS TO THE FIRST CLAIM FOR RELIEF:

 8   1.    For an order dissolving the Crane Manor Limited Partnership.

 9   2.    For an order appointing a receiver to take charge of the business and affairs of the Crane
10         Manor Limited Partnership and to preserve its property pending this Court's ruling on this

11         complaint for judicial dissolution.

12   3.    For an order appointing a receiver to wind up the affairs of the Crane Manor Limited
13         Partnership under the supervision of the Court; or, alternatively, requiring the General

14         Partner to wind up the affairs of the Crane Manor Limited Partnership under the supervision
15         of the Court.
16   4.    For an accounting of the business and affairs of the Crane Manor Limited Partnership in aid

17         of the dissolution and winding up process.

18   5.    For injunctive relief to prevent defendants from looting the Crane Manor Limited Partnership

19         by diverting funds to any other entity or paying salaries, dividends, commissions and other
20         payments, to the detriment of plaintiff and the other Limited Partners, in furtherance of the
21         winding up of the corporation.

22   AS TO THE SECOND CLAIM FOR RELIEF:
23   6.    Rescinding the sale of the 150 limited partnership units in the Crane Manor Limited

24         Partnership purchased by plaintiff on or about March 2, 2021.
25   7.    Ordering defendants and each of them to pay to plaintiff the sum of $150,000, together with

26         interest at the maximum legal rate, less the amount of any income received by plaintiff as
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28                                               COMPLAINT
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 1         derived from the securities.

 2   AS TO THE SECOND, THIRD, FOURTH AND SIXTH CLAIMS FOR RELIEF:

 3   8.    For general damages, in the minimum sum of $150,000.

 4   9.    For special damages, in the minimum sum of $150,000.
 5   10.   For punitive damages, according to proof at time of trial.

 6   AS TO THE FIFTH CLAIM FOR RELIEF:

 7   11.   For compensatory damages, in the minimum sum of $150,000.

 8   12.   For further consequential damages, according to proof at time of trial.

 9   AS TO THE SEVENTH CLAIM FOR RELIEF:

10   13.   For a declaration of the rights and obligations of the parties as follows:
11         a.     That the September 27, 2021 and October 11, 2021 resolutions of the Limited

12                Partners are valid enactments of the Crane Manor Limited Partnership and binding
13                on the General Partner.
14         b.     That by virtue of the September 27, 2021 and October 11, 2021 resolutions of the

15                Limited Partners, the Crane Manor Limited Partnership has been dissolved.
16         c.     That by virtue of the September 27, 2021 and October 11, 2021 resolutions of the
17                Limited Partners, the General Partner has been duly removed from its position as

18                General Partner, effective as of December 28, 2021.

19         d.     That by virtue of the September 27, 2021 and October 11, 2021 resolutions of the

20                Limited Partners, the General Partner has been divested of authority to act on behalf

21                of the Crane Manor Limited Partnership until its removal becomes final on December
22                28, 2021.

23         e.     That the Resolution to Permit Copying is a valid enactment of the Crane Manor
24                Limited Partnership and is binding on the General Partner.

25         f.     That plaintiff is entitled to injunctive relief in order to prevent the General Partner
26                from violating the terms of the September 27, 2021 and October 11, 2021 resolutions

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28                                             COMPLAINT
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 1                    of the Limited Partners.

 2            g.      That plaintiff is entitled to, and has shown good cause for, appointment of a receiver

 3                    to take charge of the business and affairs of the Crane Manor Limited Partnership and
 4                    to preserve its property pending the disposition of this action.
 5   14.      For appointment of a receiver to assume management and control of the affairs of the Crane

 6            Manor Limited Partnership as well as the other named defendants, and their respective

 7            books, records, and assets.

 8   15.      For appropriate orders to effectuate turnover of the assets of the Crane Manor Limited

 9            Partnership a receiver and to enjoin and restrain defendants and each of them, and their
10            agents, representatives, successors, and assigns, from interfering with the receiver from the
11            exercise of his or her duties as ordered by this court.

12   AS TO THE EIGHTH CLAIM FOR RELIEF:
13   16.      For general damages, in the minimum sum of $150,000.
14   17.      For special damages, in the minimum sum of $150,000.

15   AS TO ALL CLAIMS FOR RELIEF:
16   18.      For costs of suit in this action.

17   19.      For attorneys fees incurred in this action, as permitted by law.

18   20.      For such other and further relief as this court deems just and appropriate.
19                                       DEMAND FOR JURY TRIAL
20            Plaintiff demands a jury on all issued which may be heard by a jury.
21

22   Dated:           December 6, 2021               LAW OFFICES OF DANIEL B. SPITZER

23

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25                                                   B
                                                             Daniel B. Spitzer
26                                                           Attorneys for Plainti

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28                                                 COMPLAINT
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                                        VERIFICATION

   STATE OF CALIFORNIA
   COUNTY OF LOS ANGELES


                  I have read the foregoing Complaint For: (1) Dissolution of Limited Partnership,
   (2) Securities Fraud - Cal. Corp. C. §§25400 et seq., (3) Securities Fraud - 15 USC §78j and 17
   CFR §240.10b-5, (4) Fraud and Deceit, (5) Breach of Written Contract, (6) Breach of Fiduciary
   Duties, (7) Declaratory Relief, (8) Negligence and know its contents.

                               9 CHECK APPLICABLE PARAGRAPHS

          :        I am a party to this action. The matters stated in the foregoing document are true of
   my own knowledge except as to those matters which are stated on information and belief, and as to
   those matters I believe them to be true.

          9        I am an Authorized Representative of ______________________, a party to this
   action, and am authorized to make this verification for and on its behalf, and I make this verification
   for that reason. : I am informed and believe and on that ground allege that the matters stated in the
   foregoing document are true. 9 The matters stated in the foregoing document are true of my own
   knowledge except as to those matters which are stated on information and belief, and as to those
   matters I believe them to be true.

           9        I am one of the attorneys for ________________________, a party to this action.
   Such party is absent from the county of aforesaid where such attorneys have their offices, and I make
   this verification for and on behalf of that party for that reason. I am informed and believe and on that
   ground allege that the matters stated in the foregoing document are true.

                                       6 2021, at Calabasas
                  Executed on December ___,                                       , California.

                   I declare under penalty of perjury under the laws of the United States that the
   foregoing is true and correct.



                                                                      cikeof, iDeAA.
                                                                     Ilan Peker
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                            EXHIBIT 1
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                                                                                 CRANE MANOR
                                                                                 APARTMENTS
                                                                                                                    MEMPHIS, TENNESSEE

                                                                                               MULTIFAMILY WORKFORCE HOUSING

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                                                   DISCLAIMER, FORWARD-LOOKING STATEMENTS AND PREFERRED RETURN DISCLAIMER
The information contained herein is proprietary and strictly confidential. It is intended to be reviewed only by the party receiving it and should not be made available to any other
    person or entity without the written consent of the Distinct Real Estate LP 2 (the “Partnership’). The material contained herein is for information purposes only and does not
      constitute an offer to sell nor a solicitation of an offer to buy the securities. An offer to purchase securities may only be made via the appropriate offering documents being
     provided by the Issuer or Partnership to prospective purchasers. This information is inherently limited in scope and does not contain all of the applicable terms, conditions,
    limitations and exclusions of the investments described herein. Prospective investors should be aware of the risk of this investment and seek appropriate advice as required
 before making an investment. This material is in no way a complete description of the proposed investment. This Offering may be subject to potential risks associated with the
investment, including market, liquidity and investment return risk. Please consult your professional advisor regarding these potential risks. Using borrowed money to finance the
 purchase of securities involves greater risk than a purchase using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay
  interest as required by its terms remain the same even if the value of the securities purchased declines. In order to be eligible for subscription in this Offering, individuals must
                                                               meet the requirements as outlined in the Subscription Agreement.

                                                                               FORWARD-LOOKING STATEMENTS
      This Term Sheet contains forward-looking statements. These statements relate to future events or the future performance of the Partnership. All statements other than
 statements of historical fact are forward-looking statements. Forward-looking statements are often, but not always, identified by the use of words such as “may”, “will”, “should”,
    “expect”, “plan”, “anticipate”, “believe”, “estimate”, “predict”, “potential”, “targeting”, “intend”, “could”, “might”, “continue”, or the negative of these terms or other comparable
    terminology. These statements are only predictions. In addition, this Term Sheet may contain forward-looking statements attributed to third party industry sources. Undue
reliance should not be placed on these forward-looking statements as there can be no assurance that the plans, intentions or expectations upon which they are based will occur.
     By its nature, forward looking information involves numerous assumptions, known and unknown risks and uncertainties, both general and specific, that contribute to the
 possibility that the predictions, forecasts, projections and other forward-looking statements will not occur and may cause actual results or events to differ materially from those
      anticipated in such forward-looking statements. The forward-looking statements contained in this Term Sheet are expressly qualified by this cautionary statement. The
Partnership are not under any duty to update any of the forward-looking statements after the date of this Term Sheet to conform such statements to actual results or to changes
                                                 in the Partnership’s expectations except as otherwise required by applicable securities laws.

                                                                                 PREFERRED RETURN
  The Preferred Return associated with the securities (“Securities”) being offered through this Term Sheet is a preferred return but is not guaranteed and may not be paid on a
 current basis in each year or at all. The return on an investment in the Securities is not comparable to the return on an investment in a fixed income security. Cash distributions,
including a return of a Unitholder’s original investment, are not guaranteed and the anticipated return on investment is based upon many performance assumptions. Although
    the Partnership intends to distribute their respective available cash to their respective Security holders such cash distributions may be reduced or suspended in the sole
  discretion of the general partner of the Partnership. The ability of the Partnership to make cash distributions and the actual amount distributed will depend on the ability of
                              Partnership to successfully operate its business and will be subject to various factors beyond control of the Partnership.
                                                                                                                                                                                                          Case 2:21-cv-09450-MEMF-JEM Document 1 Filed 12/06/21 Page 41 of 160 Page ID #:41
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         CRANE MANOR APARTMENTS                                                                                                                                                                                                                                                                             4   at   *
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EXECUTIVE SUMMARY                                                                                                                                  lit 'I' ' - " '• '
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PROPERTY HIGHLIGHTS                                                                                                      VALUE ADD OPPORTUNITY
▪ Acquisition cost of $21,600 per unit (USD).
▪ Comparable properties trade for $45,000 - $55,000 per unit (USD).                                                  Acquisition Cost (USD):                        $3,850,000
▪ Good workforce housing neighborhood central to major employers.                                                    Est. Renovation Costs:                         $2,200,000

VALUE ADD STRATEGY                                                                                                   Total:                                         $6,050,000

▪ Current rents are 20-25% below market.                                                                             # of Units:                                    178
▪ Current occupancy is ~35%. Market occupancy is over 90%.                                                           (Acq + Est Reno)/Unit:                         $34,000
▪ Bring rents and occupancy levels to market by renovating units and
                                                                                                                     Current Rents:                                 $450-$550 /Month
  providing quality property management.
                                                                                                                     Market Rent                                    $650 /Month
INVESTMENT RATIONALE
                                                                                                                     Estimated Value                                $10,890,000*
▪ Market is in dire need for additional workforce housing options.
▪ Maximize property value by creating a turnkey multifamily operation.
▪ Create an exit for investors by refinancing or selling the property.                                               *Based on $762,000 NOI at Year 5 @ 7.00 Capitalization Rate
                                                                                                                     Note - All financial references are in USD unless otherwise outlined.
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INVESTMENT TERMS




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The Offering                                                                             ▪ $5,000,000 CAD




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                                                                                                  Limited Partnership Units



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Minimum Investment                                                                       ▪ $50,000 CAD

Preferred Return*                                                                        ▪ 7.00% Per Annum
                                                                                         ▪ 50.00%                                        ▪ 60.00%
                                                                                                Class A Units                                   Class B Units
                                                                                                                                                                                                                                                                                    1




Profit Participation*
                                                                                              < 250K Investment                                 250K+ Investment

Targeted Investor Return*                                                                ▪ 19.00% IRR                                    ▪ 21.00% IRR
                                                                                                                                                                                                                   •




Targeted Return Of Capital Period** ▪ 36 Months
                                                                                                                                                                                                                                                                            •




Investment Closing Deadline                                                              ▪ February 26th 2021
                                                                                                                                                                                                                                     •




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✓ No US tax filings for Canadian Investors
                                                                                                                                                                                                                                                                                                         Case 2:21-cv-09450-MEMF-JEM Document 1 Filed 12/06/21 Page 43 of 160 Page ID #:43




✓ Limited to Accredited Investors***
✓ Investors accepted on a “first to fund basis”
*The preferred return is not guaranteed and may not be achieved on a current basis in each year of the Partnership or at all. The return on an investment in the Partnership is
not comparable to the return on an investment in a fixed income security. Cash distributions, including a return of a Unitholder’s original investment, are not guaranteed and
the anticipated return on investment is based upon many performance assumptions, many of which are beyond the control of the Partnership. **Targeted Return of Capital
to investors as a result of anticipated refinancing of the property. Return of Capital proceeds may represent a portion or the entirety of an investor's initial investment. Return
of Capital amounts and associated timelines are subject to (amongst other things) the performance of the property and available financing options. ***As defined by section
2.3 of National Instruments 45-106 Prospectus Exemptions
                                                                                                Case 2:21-cv-09450-MEMF-JEM Document 1 Filed 12/06/21 Page 44 of 160 Page ID #:44




                                  CRANE MANOR APARTMENTS – PROJECTIONS*
                                                                                             Renovation &
                                                                                                                                                                                                                 Holding Period
                                                                                          Stabilization Period

                                                                                      Year 1                                     Year 2                                         Year 3                                        Year 4                                        Year 5




                                                                                                                                                                                           -
         Rental Income1                                                     $ 1,068,000                                $ 1,326,800                                  $ 1,437,460                                  $ 1,473,397                                  $ 1,510,231
         Write Offs2                                                        $ (13,884)                                 $ (17,066)                                   $ (18,500)                                   $ (18,963)                                   $ (19,437)
         Vacancy3                                                           $ (694,200)                                $ (328,200)                                  $ (99,619)                                   $ (65,641)                                   $ (67,282)
         Effective Gross Income                                             $ 387,684                                  $ 981,534                                    $ 1,319,342                                  $ 1,388,793                                  $ 1,423,512
         Total Expenses4                                                    $ 323,259                                  $ 401,277                                    $ 592,678                                    $ 647,572                                    $ 661,009
         NOI                                                                $ 64,425                                   $ 580,257                                    $ 726,664                                    $ 741,221                                    $ 762,503
         Market Value5                                                                                                 $ 8,280,000                                  $ 10,380,000                                 $ 10,580,000                                 $ 10,890,000

        1.    Year 1 based on $500 per unit/per month rent potential. Year 2 based on mix of $500 per unit/per                                            2.    1.3% per annum of gross rents.
              month and $650 per unit/per month. Year 3 building stabilized at market rent and includes 2.5%                                              3.    Assume 65% vacancy in Year 1. 25% in Year 2. 7% vacancy in Year 3 and 4.5% per annum thereafter.
              annual growth thereafter . Does not include potential income from (but not limited to)                                                      4.   Includes projected operating expenses. 2% annual increase per annum upon stabilization.
              administrative, laundry, storage, pet deposits, lease cancellations, etc.                                                                   5.    Based on a 7.00% capitalization rate against NOI (Net Operating Income).


*The information contained herein has been prepared solely for assisting interested parties in making their own evaluation of this opportunity. The offering to which this presentation relates involves a high degree of risk, conflicts of interest and compensation to management. You should participate
only if you can afford a loss. This presentation does not constitute an offer to sell or solicitation of an offer to buy any securities or interests. The information contained herein is Privileged and Confidential and may not be distributed or reproduced for any party other than the intended recipient
without the express written permission of Distinct Real Estate. Opinions, projections, forward valuations and estimates reflect a judgment at original date of publication and are subject to change based upon economic market conditions or any other unforeseen factors. Subscribers should note that
actual results may vary from the above forward-looking information outlined above. Undue reliance by Subscribers should not be placed on this forward-looking information as there can be no assurance that the expectations upon which they are based will occur. By its nature, forward-looking
information involves numerous assumptions, known and unknown risks and uncertainties, both general and specific, that contribute to the possibility that the matters underlying this forward-looking information will not occur and may cause actual results or events to differ materially from those
anticipated in this forward-looking information. Some of the material risk factors that may cause actual results or events to differ materially from those anticipated in the above forward-looking information are set forth in the heading “Risk Factors” in the Term Sheet associated with this presentation.
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Crane Manor                                                                                                                                                   Legend

2271 Airways Blvd                  r                                                                                                                              2271 Airways Blvd
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             178 Units consists of
        Townhouses & Apartments                                                                                                                               Large Lot – 8.70 Acres




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                             Case 2:21-cv-09450-MEMF-JEM Document 1 Filed 12/06/21 Page 47 of 160 Page ID #:47
                                                                                               Memphis Police                                                                                               Meng's Chinese Cuisines
                                                                                                  Department                             Major & Son Muffler     Kenner Ave                                            6'6                      SIC
                                                                                                                                         & Auto Service Center                                                                         Semmes              \
                                                                                                                                                                                                                                                               \,
                                                                                                                                                         IMOGENE Dwight Rd                                                                         \A
                                                                                                                                                         HEIGHTS
                                                                                                                                                                            FAIRHILLS                                           Liberty Inn & Suites                4

LOCATION HIGHLIGHTS
                                                                                                                                                                    Cantor Ave                        Lr4e Ave
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                                                                                                                                                                                                                                                  se'r'e
                                                                                                                                             :rane Manor Apartments              Jolserl Ave          Jolson Ave


                                                                                               tic9                                                                  o Mott Ave                                                             FAIRLA 1


                                                                                               Icy
                                                                                                                              Dixie Queen   9                        -1

                                                                                                                                                                                                       9    El Dorado Apartments

                                                                                               els Park                   tate,
                                                                                                                              'kir* Rd
                                                                                                                                                Ketchum Rd     9   Willow Oaks Apartments
                                                                                                                                                                                                ,s-



                                                                                                   E Aky
                                                                                                           Rd                                                       Charjean Park

                                                                                                                                                     FletTquipment
                                                                                                                                                                                                           240
                                                                                                                                                                                                                   Pull-A-Part         ci
                                                                                                                        -Esd-ritl d-StayAmerica
                                                                                                                         - Memphis - Airport                     9               -9Bob's Tie Yard
                                                                                                                                                                                                      9   Central Transport



PROXIMITY TO MAJOR EMPLOYERS                                                                   d
                                                                                                                                            .Nonconnah
                                                                                                                                                      clonmliamummearnissalhah                                         Creek
                                                                                                                                                           Dealer's Auto                                                                          n th olyml

 ✓ FedEx 2.7mi from property. Employs 30,000.                                                                                                                                                              9
                                                                                                                                        ll           Auction of Memphis                                                                                Traini
                                                                                                                                                                         FedEx Employee Parking
                                                                                                es Credit                Holiday Int ,Memp is                                                                                  FedEx Hub
                                                                                               • nconnah                 Airport- Conf Ctr
 ✓ Int Airport 5 min away and employs 1 in 3 Memphians.




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                                                                                                                    7
                                                                                                                                                                                               The Neighbourhood


TRANSPORTATION
 ✓ Next to major highway I240 & Airways Blvd
 ✓ Multiple bus stops 5 min. walk from apartments.
                                                                                                                                  Children’s Museum of
RETAIL & SHOPPING
                                                                                                                                                                                                                                 P a


                                                                                                                                              Memphis

 ✓ Grocery stores, restaurants, banking and consumer                                                                                                                       Memphis International Airport
   goods within 10 min. drive.

SCHOOLS, PARKS & RECREATION
 ✓ 12+ schools and colleges within 15 min. drive.
 ✓ Museums, parks and Memphis Zoo within 15 min. drive

                                                                                                                                                             r/-1111111
                                                                                                                                                                                                           FedEx Global HQ
                       Case 2:21-cv-09450-MEMF-JEM Document 1 Filed 12/06/21 Page 48 of 160 Page ID #:48




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LOWER COST OF LIVING                          TOP CITY WHERE
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                                Source: Memphis Overview Report, Woodyard Realty Corp., July 2020                                            i/
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MAJOR EMPLOYMENT CENTRES
EASY ACCESS TO MAJOR ROUTES & HIGHWAYS CONNECT RENTERS TO THE JOB MARKET.




 Ar4
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   ,
   3 Methodist.
   r Le Bonheur Healthcare                       FecLaa                                                             St. Jude Children's
                                                                                                                    Research Hospital
                                                                                                                     Finding cures. Saving children.



▪ 11,400+ jobs.                           ▪ Global Headquarters                                                  ▪ 4300+ jobs.
▪ $275M expansion.                        ▪ 30,000+ jobs.                                                        ▪ $9B expansion.
                                          ▪ $1B expansion.

  4,,          ▪ 2,400+ jobs.
                                                                                             amazon
                                                                                                    ▪ 1,000+ jobs.
               ▪ 2.8M Sq. Ft. Facility                                                              ▪ $124M Expansion.
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                 "                                                           In the last four years, Memphis has seen
                                                                             over $13 billion in 250+ revitalization
                                                                             projects that have reshaped the city.


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                                                                                                Source: Memphis Overview Report, Woodyard Realty Corp., July 2020
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POTENTIAL TAX INCENTIVES
There are various tax incentive programs (municipal, state and federal) that we are exploring and
applying for. Tax incentives have not been factored into any investment return projections.



CORONAVIRUS AID, RELIEF, AND                  OPPORTUNITY ZONES                                                      PAYMENT IN LIEU OF
 ECONOMIC SECURITY (CARES)                                       (OZ)                                              TAXES PROGRAM (PILOT)



                                          ✓ Federal program to spur
 ✓ Amendment to the 2017                                                                                           ✓ State run program where
                                            investment in economically
   Tax Act to allow property                                                                                         qualified property owners
                                            distressed communities
   owners to claim 100%                                                                                              can freeze property taxes
   bonus depreciation for                                                                                            for up to 15 years.
                                          ✓ Drastically reduced capital
   qualified improvement
                                            gain taxes for long term
   properties.
                                            holds
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    HOW WE TARGET PROPERTIES & MARKETS


&    MISMANAGED OR DISTRESSED.                                              J          LANDLORD FRIENDLY.
     We seek out distressed properties that have been                                  No rent controls and tax incentives align us with
     mismanaged and are performing well below the                                      local communities to bring desperately needed
     market's potential.                                                               affordable housing options back to the market.



     BUY + RENOVATE FOR MUCH                                                J           STABLE JOB MARKETS +
     LESS THAN BUILDING NEW.                                                            PROMISING GROWTH TRENDS.
     We acquire and renovate units for less than ½                                     Established Fortune 500 companies, growing
     of what it costs to build new.                                                    businesses and long-term public sector
                                                                                       Investment are all factors that drive employment
                                                                                       opportunities and sustained rental housing
                                                                                       demand.
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EXECUTIVE TEAM

           PHILLIP WAZONEK                                                                         MARCIN DROZDZ
            MANAGING PARTNER                                                                          MANAGING PARTNER

 ▪ 30 Years Commercial Real Estate Experience.                                ▪ Private Capital Markets Professional.
 ▪ Over $1 Billion in Real Estate Transactions.                               ▪ Helped Companies Secure Over $100MM
 ▪ US/International Investor of the Year by                                   ▪ Former Director - National Exempt Market
   Canadian Real Estate Wealth Magazine (2015).                                 Association (NEMA).


             RON LOVE, CA                                                                         GORDON BERGER
          CHIEF FINANCIAL OFFICER                                                                     MANAGING PARTNER
 ▪ Past CFO of Fast-Growing Public & Private                                  ▪ 50 Years of Finance & Accounting Experience.
   Companies (CAD & US).                                                      ▪ 40 Years of Real Estate Investing Experience
 ▪ 25 Years of Finance & Accounting Experience                                  (General Partner and/or Investor).
   (GAAP, IFRS).                                                              ▪ Past President of an Industrial/Commercial
 ▪ M&A, Public Reporting, Financial Reporting                                   Builder & Developer.
   Integration, Regulatory Compliance.
                                                                         Case 2:21-cv-09450-MEMF-JEM Document 1 Filed 12/06/21 Page 54 of 160 Page ID #:54




      SECURE INVESTOR PORTAL

               Distinct investors can login into our secure portal where they can find updates on their
               existing holdings, download tax related documents and review upcoming opportunities.
                             New To Distinct Real Estate? Register For Access To Review Crane Manor Apartments:
                                                       https://investorportal.distinctrealestatelp.com/offerings/crane-manor-apartments/register


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    DISTINCT
                                                                                                DISTINCT
                                                                                                 PEAL ESTATE GPOUP

                                                                                                                                                                                     40
    Login                                                                              •        John Smith

        E-Mail Address
                                                                                                                                        Crane Manor Apartments
V                                                                                      O     DASHBOARD
                                                                                                                                                                 178 Unit Value Add Opportunity
            Password

                                                                                       a     PROFILE
                             (            ( Forgot Your Password?)                                                                                                     Enter
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                         I                                                             •     OPPORTUNITIES
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                                                                                             DOCUMENTS
                                                                                                                      Overview   Documents     FAQ
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                                                                                             FAQS
                                                                                                                     Investment Highlights                                                            Assumptions
                                                                                             LOGOUT
                                                                                                                     PROPERTY HIGHLIGHTS                                                              IRR
                                                                                                                                                                                                      19%
                                                                                                                       • Acquisition price of $21,600 per unit (USD)

                                                                                                                       • Comparable occupied properties trade for upwards of $55,000 per unit         Documents anD
                                                                                                                         (USD)
                                                                                    CONTRACT US




                                                                                                                                                     tif
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                                                                                    DISTINCT REAL ESTATE GROUP




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                                                                                                           Suite 200
                                                                                                           60 Atlantic Avenue




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                                                                                                           Toronto, ON
                                                                                                           M6K 1X9, Canada
                                                                                    Suite 250              Suite 2500
                                                                                    6000 Poplar Avenue     500 – 4th Avenue SW




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                                                                                    Memphis, TN            Calgary, AB




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                                                                                    38119, USA             T2P 2V6, Canada




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                                                                                                                                                                                  t
                                                                                    Tel:1-833-247-3687




                                                                                                                                 /
                                                                                    Investors@distinctrealestatelp.com
                                                                                    www.distinctrealestatelp.com
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    DISTINCT
n   REAL   ESTATE   GROUP
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                            EXHIBIT 2
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  ______________________________________________________________________________




                         AGREEMENT OF LIMITED PARTNERSHIP

                                                 OF

                             DISTINCT REAL ESTATE USA 2, L.P.


                                        As of March 26, 2021




  The limited partnership interests in DISTINCT REAL ESTATE USA 2, L.P. have not been
  registered under the Securities Act of 1933, as amended (the “Securities Act”), or under the
  securities or “Blue Sky” laws of any state or any other jurisdiction within the United States and
  may not be offered or sold except pursuant to an exemption from, or in a transaction not subject
  to, the registration requirements the Securities Act and applicable state securities or “Blue Sky”
  laws. In addition, the limited partnership interests in DISTINCT REAL ESTATE USA 2, L.P.
  are subject to significant restrictions on transferability as set forth herein.


  _____________________________________________________________________________
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                        AGREEMENT OF LIMITED PARTNERSHIP OF
                           DISTINCT REAL ESTATE USA 2, L.P.


          This Agreement of Limited Partnership of Distinct Real Estate USA 2, L.P.
  (the “Partnership”) is made as of March 26, 2021, by and among Distinct Real Estate USA GP
  2, Inc., a corporation formed under the laws of the State of Delaware (“Holding”) as the
  “General Partner”; and Distinct Real Estate L.P. 2, a limited partnership formed under the
  laws of the Province of Alberta, Canada and [United States Investors], L.P. a limited
  partnership formed under the laws of the state of Delaware (collectively the “Limited
  Partners”), (the Limited Partners and the General Partner maybe referred to collectively as the
  “Partners”).

                                             RECITALS:

          WHEREAS, the Partnership has been formed as a limited partnership in accordance with
  the Title 6, Chapter 17 of the Delaware Code, as amended from time to time (the “Act”), by
  the filing of the Certificate on March 26, 2021; and

          WHEREAS, the Partners desire to set out their respective rights, obligations and duties
  of the Partnership and determine the business and activities of the Partnership.

         NOW, THEREFORE, in consideration of the agreements and obligations set forth
  herein and the contributions to the Partnership as hereinafter set forth, the Partners hereby
  agree as follows:
                                            ARTICLE I
                                           DEFINITIONS

         1.1      Defined Terms. Unless the context otherwise requires, the terms defined in
  this Article I shall, for the purposes of this Agreement, have the meanings herein specified (each
  such meaning to be equally applicable to both the singular and plural forms of the respective
  terms so defined).

         “Act” shall have the meaning set forth in the first Recital.

          “Adjusted Capital Account Deficit” shall mean, with respect to any Partner, the
  deficit balance, if any, in such Partner’s Capital Account as of the end of the relevant Partnership
  taxable year (after the allocations and adjustments contemplated by Schedule C hereto).

          “Adjusted Capital Contribution” shall mean, as of a specified date, the aggregate
  Capital Contributions theretofore made by a Partner minus all distributions of Capital
  Proceeds or distributions in return of capital made by the Partnership to such Partner
  resulting from the disposition in whole but not in part of any Partnership Assets. For the
  avoidance of doubt, principal repayments with respect to a Partnership Asset still held by
  the Partnership shall not reduce the Adjusted Capital Contribution of the Partners.

         “Affiliate” shall mean, with respect to a specified Person, any Person that directly or
      indirectly controls, is controlled by or is under common control with, the specified Person,
                                                                                               any
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  Person owning or controlling ten percent (10%) or more of the outstanding voting interest of such
  Person (excluding for these purposes voting interests owned or controlled by a Person in a
  fiduciary capacity), or any officer; director or general partner of such Person. As used in this
  definition, the term “control” means the possession, directly or indirectly, of the power to direct
  or cause the direction of the management and policies of a Person, whether through ownership of
  voting interests, by contract or otherwise.

        “Agreement” shall mean this Agreement of Limited Partnership, as amended, modified,
  supplemented or restated from time to time.

          “Bankruptcy” shall mean, with respect to a Person, that either (i) an involuntary petition
  under any federal, state or foreign bankruptcy, insolvency, receivership or similar law has been
  filed with respect to such Person or a receiver or other similar official has been appointed for a
  substantial portion of the assets of such Person without the acquiescence of such Person, which
  petition or appointment remains undischarged for an aggregate period of thirty days (whether or
  not consecutive) or (ii) a voluntary petition under any federal, state or foreign bankruptcy,
  insolvency, receivership or similar law has been filed by such Person, a voluntary assignment of
  such Person’s property for the benefit of creditors has been made, such Person shall become
  unable, admit in writing their inability or fail generally to pay their debts as they become due, or a
  receiver or other similar official has been appointed for a substantial portion of the assets of such
  Person with the acquiescence of such Person.

        “Business Day” shall mean any day or part of a day on which the New York Stock
  Exchange and the General Partner are open for business.

          “Capital Account” shall mean the capital account established for each Partner maintained
  by the Partnership pursuant to Schedule B attached hereto.

         “Capital Commitment” shall mean, with respect to any Partner, the total amount of cash
  agreed to be paid to the Partnership (whether or not yet paid) by each Partner pursuant to the
  terms of its Subscription Agreement and the terms hereof.

         “Capital Contribution” shall mean, with respect to any Partner, the aggregate amount of
  cash actually contributed to the Partnership by such Partner.

          “Capital Proceeds” shall mean any proceeds from a Capital Transaction, including
  without limitation any proceeds derived by the Partnership in connection with winding up or
  liquidation. In no event shall the term Capital Proceeds be deemed to include any funds provided
  by any Partner pursuant to any Capital Contribution.

          “Capital Transaction” shall mean any principal payments made or repayments received by
  the Partnership with respect to any sale or other disposition of any real property or other material
  asset of the Partnership.

         “Carrying Value” shall mean, with respect to any Partnership Asset, the value of such
  Partnership Asset as reflected on the books of the Partnership as adjusted in accordance with
  Schedule C.



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        “Certificate” shall mean the Certificate of Limited Partnership and any and all
  amendments thereto and restatements thereof filed on behalf of the Partnership with the State of
  Delaware Division of Corporations pursuant to the Act.
         “Class A Units” shall mean the Class A limited partnership units of the Partnership issued
  to [US Investment Entity] and which shall receive a Preferred Return (as defined below) and a
  sixty percent (60%) profit allocation from Distributable Cash as defined under Sections 7.4 and
  7.5 below.
         “Class D Units” shall mean the Class D limited partnership units of the Partnership and
  issued to Distinct Real Estate L.P. 2, and which shall receive a Preferred Return (as defined
  below) and a one hundred percent (100%) profit allocation from Distributable Cash as defined
  under Sections 7.4 and 7.5 below. 1

          “Code” shall mean the Internal Revenue Code of 1986, as amended from time to time.
          “Consent of Limited Partners” shall mean the consent of Limited Partners owning at least
  the percentage of Interests required to take or consent to various actions hereunder, without
  taking into account any Interests held by Defaulting Limited Partners. Such consent or approval
  shall be deemed to have been received from a particular Limited Partner if (a) written consent or
  approval from such Limited Partner has been received by the Partnership or (b) such consent or
  approval is given at a meeting held in accordance with Article IV.
          “Contribution Call” shall have the meaning set forth in Section 7.1(a).
         “Covered Person” shall mean any Limited Partner, the General Partner, any Affiliate of
  any of the foregoing, any officers, directors, shareholders, partners, employees, representative or
  agents of any Limited Partner, the General Partner, or their respective Affiliates, or any officer,
  employee, director, shareholder, representative or agent of the Partnership or its Affiliates.
         “Cumulative Preferred Return” shall mean, with respect to a Limited Partner holding
  Class A LP Units and at any time of determination, the sum of the Preferred Return earned by
  such Limited Partner under the terms of this Agreement prior to such date of determination.
           “Cumulative Preferred Return Deficiency” shall mean, with respect to a Limited Partner
  holding Class A LP Units and at any time of determination, an amount which equals the excess, if
  any, of (i) the Cumulative Preferred Return earned by such Limited Partner as of such date less
  (ii) the cumulative amount of cash distributed to such Limited Partners pursuant to Section 7.4.




  1
    The Partnership is comprised of Class A Unit and Class D Unit Holders. Distinct Real Estate LP 2 is the sole Class
  D Unit Holder and is considered as one investor in the Partnership and hence, receives 100% of its pro-rata
  investment. All Class A and Class D Unit Holders ultimately receive returns based on their respective investments
  within their investment class in accordance with Sections 7.4 and 7.5 below, and the illustrative chart provided
  therein. Total Distributions to Class D Unit Holders will be further allocated based on investments made within that
  class but is done outside of this Agreement. All Unit Holders are treated equally based on their proportionate
  investment.



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         “Defaulting Limited Partner” shall have the meaning set forth in Section 7.2.
         “Distributable Cash” means with respect to a particular period, the amount by which the
  Partnership’s cash on hand or to be received in respect of that period (excluding any proceeds
  from any Financing) exceeds:
         a) unpaid administration expenses of the Partnership;
         b) amounts required for the business and operations of the Partnership, including
             operating
         expenses and capital expenditures;
         c) amounts required in order to meet all debts, liabilities and obligations in respect of any
         Financing, including reserves to ensure compliance with agreements to which the
         Partnership is subject; and
         d) any amounts which the General Partner in its Discretion determines is necessary to
             satisfy
         the Partnership’s current and anticipated debts, liabilities and obligations and to comply
         with applicable laws;
         “Extraordinary Partnership Expenses” shall mean any Partnership Expenses that exceed,
  in any Partnership accounting year, an amount equal to the Annual Operating Budget for such
  accounting year.
          “General Partner” shall have the meaning given to such term in the introductory paragraph
  of this Agreement.




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         “Interest” shall mean a Partner’s economic interest in the Partnership expressed as a
  percentage equal to (i) the then balance in the Capital Account of such Partner divided by (ii) the
  aggregate balance in the Capital Accounts of all the Partners, as reflected on Schedule C (as
  supplemented or amended by the Partnership Register).

          “Limited Partner” shall mean any Person admitted to the Partnership pursuant to the
  provisions of this Agreement as a Limited Partner by subscription for or by succession to or as
  the transferee of LP Units as reflected in the Partnership Register, as amended from time to time.

         “Liquidating Trustee” shall have the meaning set forth in Section 9.3.

         “Liquidation Fee” shall have the meaning set forth in Section 9.3.

         “LP Units” shall mean collectively, the Class A LP Units and the Class D Units of the
  Partnership having the rights as provided for in this Agreement.

         “Net Capital Proceeds” shall mean the Capital Proceeds from any Capital Transaction less
  any fees applicable to Capital Transactions and third-party fees, costs and charges, actually
  incurred by or on behalf of the Partnership in connection with such Capital Transaction.

         “Net Income” shall mean, for any period, the excess, if any, of the Partnership’s items of
  income and gain for such period over the Partnership’s items of loss and deduction for such
  period. The items included in the calculation of Net Income shall be determined in accordance
  with federal income tax accounting principles, subject to the specific adjustments provided for in
  Schedule C.

         “Net Loss” shall mean, for any period, the excess, if any, of the Partnership’s items of loss
  and deduction for such period over the Partnership’s items of income and gain for such period.
  The items included in the calculation of Net Loss shall be determined in accordance with federal
  income tax accounting principles, subject to the specific adjustments provided for in Schedule B.

         “Net Operating Income” shall mean, for any applicable period, the excess, if any, of the
  Partnership’s income received during such period over the Partnership’s operating expenses for
  such period. The items included in the calculation of Net Operating Income shall be determined
  in accordance with generally accepted accounting principles. Notwithstanding the foregoing, Net
  Operating Income shall not include Net Capital Proceeds.

         “Ordinary Partnership Expenses” means Partnership Expenses incurred in the ordinary
  course of the Partnership’s business and contemplated in the Annual Operating Budget, provided,
  however, that “Ordinary Partnership Expenses” shall not include Extraordinary Partnership
  Expenses or Organizational Expenses.

          “Organizational Expenses” means, without limitation, legal, accounting, escrow, printing,
  travel, marketing, registration, qualification, distribution, filing, finder’s fees as reasonably
  required and other expenses in connection with the organization of the Partnership, including
  subscriptions of Interests.

         “Partner” shall mean the General Partner or a Limited Partner of the Partnership.


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         “Partnership” shall mean Distinct Real Estate USA 2, L.P., the limited partnership formed
  under and pursuant to the Act and as further described and regulated by this Agreement.

          “Partnership Asset” shall mean the Property (as defined below) which is owned or held by
  or for the account of or in trust for the Partnership.

         “Partnership Expenses” shall mean all reasonable out-of-pocket costs and expenses of
  every kind and character incurred by or on behalf of the Partnership in connection with the
  business and ongoing operations of the Partnership, including but not limited to, any third party
  management Persons providing services to the Partnership or Property.

          “Partnership Register” shall mean the schedule (which shall form a part of the books and
  records of the Partnership) listing the names and addresses of all Partners, together with the
  amounts of their respective Capital Commitments, Capital Contributions and the amount of the
  Interests held by them, which schedule shall be maintained by the General Partners and held in
  the principal office of the Partnership in accordance with this Agreement.

         “Person” shall mean an individual, corporation, association, partnership (general or
  limited), joint venture, trust, unincorporated organization, limited liability Partnership, any other
  entity or organization of any kind or a government or any department, agency, authority,
  instrumentality or political subdivision thereof.
         “Preferred Return” shall mean with respect to a Limited Partner Holding Class A LP Units
  with respect to those periods during the term of the Partnership that the Limited Partner’s Capital
  Contribution is outstanding, an amount equal to seven percent (7%) per annum, of such Limited
  Partner’s Capital Contribution from the first day of the month immediately following the month
  in which such Capital Contribution is made until the date such Limited Partner’s has been
  returned through distributions of Distributable Cash made by the Partnership to the Limited
  Partner. The Preferred Return shall be calculated on the basis of a year of 365 days and the actual
  number o days (including the first day, but excluding the last day) occurring in the period for
  which the Preferred Return is being calculated.
        “Property” shall mean the real property, buildings and all improvements located at 2295
  Candlewyck Circle, Memphis, TN, 38114 as the General Partner shall determine.
          “Proportionate Share of Distributable Cash” of each of the Class A LP Units and the
  Class D LP Units as the case may be, is the sum determined by multiplying the aggregate amount
  of Distributable Cash which the General Partner wishes to distribute by the fraction in which the
  numerator is the number of LP Units issued and outstanding in any one of the classes of LP Units
  on the date of the proposed distribution and the denominator is the aggregate number of all all
  issued and outstanding LP Units in the above Classes at that time.
         “Quarterly Distribution Date” shall have the meaning set forth in Section 7.4.
         “Reserve Amount” shall mean, on any date of determination, an amount equal the
  estimated costs and expenses of the Partnership for the two (2) calendar months immediately
  succeeding such date of determination.
         “Securities” shall mean securities of every kind and description in which the Partnership is
  permitted to invest in accordance with applicable law, including, without limitation, capital stock;



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  notes, bonds, debentures and other evidence of indebtedness, including mortgage and other real
  estate loans; interests in joint ventures; beneficial interests in trusts; collateral-trust certificates;
  pre-organization certificates or subscriptions; transferable units; investment contracts; voting trust
  certificates; certificates of deposit for securities; certificates of interest or participation in,
  temporary or interim certificates for, and receipts for or warrants or rights or options to subscribe
  to or purchase or sell, any of the foregoing; and any other items commonly referred to as
  “securities”.
         “Securities Act” shall mean the Securities Act of 1933, as amended from time to time,
  together with any successor statute, and the rules and regulations promulgated thereunder.
        “Transfer” shall mean any sale, assignment, transfer, exchange, charge, pledge, gift,
  hypothecation, conveyance or encumbrance.
          “Treasury Regulations” shall mean the income tax regulations, including temporary
  regulations, promulgated under the Code, as such regulations may be amended from time to time
  (including corresponding provisions of succeeding regulations).
         “Unfunded Capital Commitment” shall mean, with respect to a Partner as of any date,
  such Partner’s Capital Commitment, less the aggregate amount of such Partner’s Capital
  Contributions made prior to such date.
         “Units” shall mean the number of Class A Units and Class D Units issued in the
  Partnership of which there shall be an aggregate initial number of 4,000 and each valued at
  $1,000.00 per Unit, as may be adjusted by the General Partner from time to time
         “Unrealized Gain” attributable to the Partnership Asset shall mean, as of any date of
  determination, the excess, if any, of (i) the fair market value of such Partnership Asset (as
  determined under Schedule C) as of such date; over (ii) the Carrying Value of such Partnership
  Asset (prior to any adjustment to be made pursuant to Schedule C) as of such date.
         “Unrealized Loss” attributable to the Partnership Asset shall mean, as of any date of
  determination, the excess, if any, of (i) the Carrying Value of such Partnership Asset (prior to any
  adjustment to be made pursuant to Schedule C) as of such date; over (ii) the fair market value of
  such Partnership Asset (as determined under Schedule C) as of such date.
         “US$” shall mean the lawful currency of the United States of America.




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         1.2     Interpretation.

               (a)     In this Agreement, unless a clear contrary intention appears:

                        (i)        the singular number includes the plural number and vice versa;

                        (ii)       reference to any gender includes the other gender;

                         (iii) the words “herein,” “hereof” and “hereunder” and other words of
  similar import refer to this Agreement as a whole and not to any particular Article, Section or
  other subdivision;

                         (iv)    reference to any Person includes such Person’s successors and
  assigns but, if applicable, only if such successors and assigns are permitted by this Agreement,
  and reference to a Person in a particular capacity excludes such Person in any other capacity or
  individually, provided that nothing in this clause (iv) is intended to authorize any assignment not
  otherwise permitted by this Agreement;

                         (v)    reference to any agreement (including this Agreement), document
  or instrument means such agreement, document or instrument as amended, supplemented or
  modified and in effect from time to time in accordance with the terms thereof and, if applicable,
  the terms hereof, and reference to any Note includes any note issued pursuant hereto in extension
  or renewal thereof and in substitution or replacement heretofore;

                       (vi)    unless the context indicates otherwise, reference to any Article,
  Section, Schedule or Exhibit means such Article or Section hereof or such Schedule or Exhibit
  hereto;

                       (vii) the word “including” (and with correlative meaning “include”)
  means including, without limiting the generality of any description preceding such term;

                      (viii) with respect to the determination of any period of time, the word
  “from” means “from and including” and the word “to” means “to but excluding”; and,

                         (ix)   reference to any law means such law as amended, modified,
  codified or reenacted, in whole or in part, and in effect from time to time.

              (b)     The Article and Section headings herein and the Table of Contents are for
 convenience only and shall not affect the construction hereof.

                (c)    No provision of this Agreement shall be interpreted or construed against any
 Person solely because that Person or its legal representative drafted such provision.

                                          ARTICLE II
                                   ORGANIZATION AND POWERS

         2.1      Formation. The parties hereto have formed a limited partnership by the filing of
  the Certificate pursuant to the Act. The business of the limited partnership shall be conducted



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  under the name “Distinct Real Estate USA 2, L.P.”. The Certificate of the Partnership may be
  amended or restated by the General Partner as provided in the Act or under this Agreement.

         2.2    Term of the Partnership.        The Partnership shall be perpetual, unless sooner
  terminated pursuant to this Agreement.

         2.3     Partnership Office. The principal office of the Partnership in the State of
  Tennessee shall be at 6000 Poplar Avenue, Suite 250, or at such other location in Memphis as
  the General Partner may hereafter designate by notice to the Limited Partner.

          2.4     Purpose of the Partnership. The primary purpose of the Partnership shall be to
  purchase, renovate, rent, hold or sell, the Property. The Partnership may engage in all such
  activities and transactions as the General Partner deems necessary, appropriate, proper, advisable,
  incidental or convenient to or in connection therewith, including without limitation:

               (a)      to purchase, acquire, renovate, lease, sell, exchange and/or otherwise deal
 with the Property;

                (b)     to own, operate and profit from the Property as acquired by the Partnership;

                (c)     to have and exercise any and all powers granted to a limited partnership
 pursuant to the Act;

               (d)      to incur and assume indebtedness and to grant such security interests in,
 execute deeds of trusts and/or mortgages pertaining to the Property to secure the repayment of such
 indebtedness;

                 (e)     to establish and maintain bank, brokerage, and other similar accounts, to
 enter into agreements in connection therewith, to deposit cash, securities or other partnership assets
 in such accounts, as necessary, and to pay the commissions, fees and other charges applicable to
 transactions in all such accounts as related to the Property;

                (f)     to convert or exchange Property for other properties, or to otherwise dispose
 of any Properties or other property at any time held by the Partnership;

                (g)     to appoint and terminate or otherwise contract with agents and consultants,
 including, without limitation, originators, custodians, depositories, real estate agents, accountants,
 attorneys, underwriters, consultants, appraisers, engineers, and other independent contractors or
 agents of the Partnership (which may be Affiliates of the Partnership or any Partner) as the General
 Partner may deem desirable for the transaction of the business of the Partnership, and to provide
 for the reasonable compensation and reimbursement of reasonable expenses associated with the
 foregoing as Partnership Expenses;

                (h)    to have and maintain an office within the State of Tennessee, and in
 connection therewith to rent, lease or sublet office space, facilities and equipment, to engage and
 pay personnel and do such other acts and things and incur such other expenses on its behalf as may
 be necessary or advisable in connection with the maintenance of such office or offices and the
 conduct of the business of the Partnership;


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                (i)     to enter into, make and perform all contracts, agreements and undertakings,
 pay all costs and expenses and engage in all activities and transactions as may be necessary or
 advisable to the carrying out of the foregoing objects and purposes of the Partnership;

                (j)     to create or designate a subsidiary of the Partnership or designate a Partner
 to do any of the foregoing on behalf of the Partnership; and

                (k)     to carry on any other activities incidental to, or in support of the activities of
 the Partnership, to do everything necessary, suitable or proper for the accomplishment of any
 purpose or the furtherance of any power herein set forth, either alone or in association with others,
 which is incidental to or in support of the activities of the Partnership.

                                  ARTICLE III
                 GENERAL PARTNER AND PARTNERSHIP MANAGEMENT

        3.1    Designation of the General Partner. Holding hereby accepts and agrees to serve as
  the General Partner of the Partnership and to be bound by the terms and conditions of this
  Agreement.

          3.2     General Powers of the General Partner.

                (a)     the General Partner shall have the power and authority on behalf of and in
  the name of the Partnership to take any and all actions in the best interest of the Partnership
  required to serve the purpose and power of the Partnership set forth in Section 2.4 hereof and to
  perform all acts and enter into and perform all contracts and other undertakings which they may
  deem necessary or advisable or incidental thereto, and to have and possess the same rights and
  powers as any general partners in a partnership formed under the laws of the State of Delaware,
  including without limitation, to:

                        (i)     purchase, hold, service, sell, exchange, receive and otherwise
  acquire and dispose of the Property;

                          (ii)    expend Partnership funds in furtherance of the purpose of the
  Partnership;

                          (iii)   incur obligations for and on behalf of the Partnership in connection
  with its operations;

                       (iv)   qualify the Partnership to do business in any state, territory, district
  or possession of the United States that may be necessary, convenient or incidental to the
  accomplishment of the purposes of the Partnership set forth herein;

                        (v)    bring an action on behalf of or litigate, arbitrate, negotiate or
  otherwise dispose of claims against the Partnership as the General Partner may deem necessary;

                        (vi)   open, maintain and close bank accounts and draw checks or other
  orders for the payment of moneys;



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                        (vii) acquire and enter into any contract of insurance which the General
  Partner deem necessary or appropriate for the protection of the Partnership and the General
  Partner, for the conservation of the Property, or for any purpose convenient or beneficial to the
  Partnership;

                         (viii) admit additional Partners in accordance with this Agreement;

                         (ix)   do all such things and take all necessary actions as required to
  operate the Partnership in conformity to applicable law;

                         (x)    engage or employ and compensate on behalf of the Partnership,
  such Persons as it shall deem advisable in the organization, operation and management of the
  business of the Partnership, on such terms and for such compensation as the General Partner in its
  sole and exclusive judgment shall determine, including any lawyers, accountants, investment
  advisors, investment bankers, underwriters, engineers, consultants, appraisers, market analysts,
  property management personel, managers or other service providers as the General Partner shall
  deem advisable; and

                        (xi)    to make, execute, deliver, acknowledge and file, as the General
  Partner hereunder, any and all instruments in writing, necessary or proper for the accomplishment
  of any of the powers referred to in Section 2.4, including without limitation all necessary
  documents as required by the Act or other applicable law;

                 (b)    Notwithstanding the foregoing, the General Partner may not, without first
 receiving the consent of the Partners holding not less than a majority of the then outstanding
 Interests of the Partnership in attendance (in person or by proxy) at a meeting of Limited Partners
 called for the purpose and entitled to vote at the meeting, take any actions which are not
 specifically permitted by Section 3.2 (a), including but not limited to the following:

                         (i)    enter into any merger, consolidation or restructuring of the
  Partnership;

                         (ii)     file any voluntary petition for the Partnership under the federal
  Bankruptcy Code, or seek the protection of any bankruptcy or insolvency law or debtor relief
  statute of the United States, any other country, or any state or other political subdivision thereof;

                          (iii) cause or permit the Partnership to redeem or repurchase all or any
  portion of the Interests of a Limited Partner, except to the extent that a Limited Partner becomes a
  Defaulting Limited Partner; and,

                         (iv)   sell all or substantially all of the Properties of the Partnership.

        3.3     Partnership Offices, Employees, Expenses and Administrative Matters.                  The
  General Partner shall:

               (a)    maintain for the conduct of Partnership affairs one or more offices and in
 connection therewith rent office space, engage personnel, whether part time or full time, and do



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 such other acts as may be necessary or advisable in connection with the maintenance and
 administration of such office or offices;

                (b)     select and engage independent attorneys, accountants, securities brokers,
 servicers or such other persons on such terms and for such compensation as it may deem necessary
 or advisable;

                (c)    incur such other expenses on behalf of the Partnership as it may, in its
 discretion, deem necessary or appropriate for the conduct of Partnership affairs;

                (d)    determine and change the fiscal year of the Partnership;

                (e)     deliver a copy of the Certificate and any restatement or amendment thereto
 to any Partner within fifteen (15) days after requested by a Partner;

                (f)    maintain the Partnership Register;

               (g)     maintain all books, records and accounts of the Partnership in the
 Partnership Office available for inspection by any Partner during usual business hours;

                (h)      adopt a seal for the Partnership (however, the absence of such seal shall not
 impair the validity of any instrument executed on behalf of the Partnership); and

                (i)    file any and all tax and similar returns and reports required by law and hire
 accountants, lawyers or other necessary professionals to prepare and assist with the foregoing.

          3.4    Reliance by Third Parties. Persons dealing with the Partnership are entitled to rely
  conclusively upon the certificate of the General Partner to the effect that it is then acting as a
  General Partner and upon the power and authority as herein set forth. Nothing herein contained
  shall impose any obligation on any bank, lessor, lessee, mortgagee, grantee or other person or
  firm doing business with the Partnership to inquire as to whether or not written approval of the
  Limited Partners or the assignee of a Limited Partner has been obtained, and any stock power,
  lease, mortgage, deed, contract or other instrument executed by either General Partner as herein
  authorized shall be valid, sufficient and binding.

         3.5     Resignation, Removal and Replacement of General Partner.

                 (a)    A General Partner shall not resign or withdraw from the Partnership without
 the prior written consent of the Limited Partner representing a majority of Interests in attendance
 (in person or by proxy) at a meeting of Limited Partners called for the purpose and entitled to vote
 at the meeting. Upon the effective date of the resignation of a General Partner, a successor
 General Partner shall be elected by vote of the remaining Partners holding not less than a majority
 of the then outstanding Interests of the Partnership (subject to the acceptance of the position and
 the terms of this Agreement by such successor General Partner).

              (b)   The General Partner shall serve as such until the earliest of (i) resignation of
 a General Partner pursuant to paragraph (a) above; (ii) dissolution of the Partnership and



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 completion of the liquidation contemplated by Article IX, (iii) the Bankruptcy or dissolution of a
 General Partner, or (iv) the removal of a General Partner pursuant to paragraph (c) below.

                 (c)    A General Partner shall not be subject to removal by the Limited Partners,
 provided, however, that in the event that the General Partner materially breaches any provision of
 this Agreement, which breach is not cured within ninety (90) days of the date of notice by the
 Partnership of such breach to the Partners, Limited Partners holding not less than a majority of the
 then outstanding Interests of the Partnership [in attendance (in person or by proxy) at a meeting of
 Limited Partners called for the purpose and entitled to vote at the meeting] may remove a General
 Partner, effective upon thirty (30) days’ written advance notice to such breaching General Partner,
 provided further that the Partners shall elect a successor General Partner pursuant to paragraph (a)
 above.

         3.6      Interest of Bankrupt General Partner. Upon the Bankruptcy of a General Partner,
  the executor, administrator, guardian, trustee or other personal representative (the
  “Representative”) of such General Partner, if any is appointed, shall be deemed to be the assignee
  of the General Partner’s interest, which interest shall continue until the end of the fiscal year in
  which such Bankruptcy takes place or at such earlier time as the remaining General Partner(s)
  may determine. If the Partnership is continued after the expiration of such fiscal year or earlier
  period, the bankrupt General Partner or its Representative shall be entitled to receive the
  remaining balance in the General Partner’s Capital Account and any distributions due with
  respect with such Partner’s Interest as of the end of the fiscal year or earlier period. Upon the
  Bankruptcy of a General Partner, neither such General Partner nor its Representative shall have
  any right to take part in the management of the Partnership.

         3.7    Partnership Expenses. All Partnership Expenses, including Extraordinary
  Partnership Expenses and costs and expenses determined by agreement of the General Partner to
  have been incurred for the organization of the Partnership, shall be paid by the Partnership from
  Partnership Assets, as the General Partner shall determine.

         3.8     General Partner Fees. The following are fees which the General Partner (or its
  designee(s)) shall be paid upon the occurrence of events as described below as well as all taxes
  applicable thereto. By execution of this Agreement, the Limited Partners grant approval the
  payment of said fees:

                (a)    Acquisition Fee. The Partnership shall pay the General Partner (or its
 designee(s)) an acquisition fee in an amount of three percent (3%) of the gross purchase price for
 the Property which fee shall be due and payable upon the final closing for the acquisition of the
 Property;

                (b)    Asset Management Fee. The Partnership shall pay an annual asset
 management fee in an amount equal to two percent (2%) of the gross collected receivables to the
 General Partner (or its designee(s)) for the management of the Property which fee shall be paid
 upon the first anniversary of the date of acquisition of the Property and each consecutive year
 thereafter;




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                (c)     Financing Fee. The Partnership shall pay the General Partner (or its
 designee(s)) a financing fee equal three percent (3%) of the principal loan amount which fee shall
 paid upon the funding of the financing, the Financing Fee will be a one-time fee based on the total
 financing of a project. For greater clarity any subsequent refinancing’s done will not be subject to
 any General Partner fees if the refinancing amount does not increase the total financing already in
 place.

                (d)     Loan Guaranty Fee: In the event that the principals of General Partner are
 required to provide a personal guarantee to obtain any financing a loan guarantee fee equal three
 percent (3%) of the principal loan amount which fee shall paid upon the funding of the financing to
 the General Partner (or its designee(s));

                (e)    Disposition Fee. The Partnership shall pay the General Partner (or its
 designee(s)) a disposition fee in an amount of three percent (3%) of the gross sales price which
 shall be due and payable upon the final closing for the sale of the Property.

                                            ARTICLE IV
                                            MEETINGS

          4.1      Meetings of the Partners. Any action required to be taken by vote of the Limited
  Partners pursuant to applicable law or this Agreement shall be taken by the vote of the Limited
  Partners and a duly convened meeting of the Partners. Meetings of the Partners can be called by
  either General Partner or by Limited Partners at any time. All meetings shall be held at the
  principal offices of the Partnership or such other location as the General Partners shall determine
  in their discretion.

         4.2     Partner Action by Consent in Lieu of Meeting. Any action required to be taken by
  vote of the Limited Partners pursuant to applicable law or this Agreement, may be taken without
  a meeting, without prior notice and without a vote (provided that the General Partner first
  determine in their discretion that the action cannot be delayed until the following meeting), if a
  consent in writing, setting forth the action so taken, shall be signed by Partners holding Interests
  representing not less than the minimum votes required to authorize such action at a meeting at
  which all Interests entitled to vote thereon were present and voted. Prompt notice of such action
  taken shall be provided to those Partners who did not consent in writing.

          4.3     Notice of Meetings. Notice of any (i) action proposed to be taken without a
  meeting or (ii) duly convened meeting of the Partners called by the General Partner, shall be sent
  no less than fifteen (15) and no more than sixty (60) Business Days prior to the date of such
  action or meeting to each Partner (and, in the case of a meeting called upon request of the
  requisite Limited Partners, notice of the meeting must be delivered to each Partners by the
  Partnership within fifteen (15) days of such request). When a meeting is adjourned to another
  place or time not later than five (5) days after such adjournment, notice of the adjourned meeting
  need not be given if the time and place thereof are announced at the meeting at which the
  adjournment is taken.

         4.4   Waiver of Notice. Any notice required to be given pursuant to applicable law or
  this Agreement may be waived in writing and signed by the person entitled to such notice,



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  whether before, at, or after the time stated therein, and such waiver shall be deemed equivalent to
  notice. Attendance of a person at a meeting shall constitute a waiver of notice of such meeting,
  except when the person attends a meeting for the express purpose of objecting, at the beginning
  of the meeting, to the transaction of any business because the meeting is not lawfully called or
  convened.

         4.5     Presiding Officials. Each meeting of the Partners shall be convened by a General
  Partner, or by any of the Limited Partners who called the meeting; provided, however, that the
  General Partner may, notwithstanding anything herein to the contrary, select any person to
  preside at a meeting and any person to act as the secretary of such meeting.

          4.6     Quorum; Partnership Action. Except as may otherwise be provided herein,
  Partners holding a majority of the Interests in the Partnership entitled to vote at any meeting of
  the Partners, present at the meeting in person or by proxy, shall constitute a quorum. Every
  decision of those Partners holding a majority of the total Interests in the Partnership having voting
  power among the Partners shall be valid as the act of the Partnership, except in those specific
  instances in which a larger vote is required by the Act, the Certificate, or this Agreement. If a
  quorum is not present at any meeting, the Partners present shall have the right successively to
  adjourn the meeting to a specified date not later than five (5) days after such adjournment. At
  such meeting at which a quorum is present, any business may be transacted that might have been
  transacted at the meeting that was adjourned, without further notice.

           4.7    Method of Voting; Proxies. At a meeting of the Partners, each Partner shall be
  entitled to vote or to express its written consent or dissent in person or by proxy executed in
  writing by such Partner. No proxy shall be voted or acted upon after three (3) years from the date
  of its execution.

         4.8    Partners Entitled to Vote. All Partners shall be entitled to vote at meetings or to
  express consent to Partnership actions in writing, unless otherwise restricted by this Agreement or
  the Act.

          4.9     Distribution of Minutes and Resolutions. The General Partner shall be responsible
  to record and distribute the minutes of any meeting of the Partners or any resolution or actions
  taken by the Partners (at a meeting or by written consent) to the Limited Partners within thirty
  (30) Business Days of such meeting or effective date of such written consent. Any Partner
  wishing to challenge the validity or accuracy of the minutes or written consent distributed by the
  General Partners, must deliver such challenge in writing to the principal office of the Partnership
  within five (5) Business Days of receipt.

                                             ARTICLE V
                                             PARTNERS

          5.1    Control by General Partner. Except as otherwise expressly provided in this
  Agreement, the day-to-day management and control of the Partnership shall be vested exclusively
  in the General Partner.




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           5.2    Interest of Limited Partners. The interests of the Limited Partners shall be divided
  into and represented by Class A LP Units and Class D Units, each having the rights, privileges,
  restrictions and conditions as provided for herein.

          5.3     Rights of the Limited Partners.

                (a)    The Limited Partners shall have no authority to act on behalf of the
 Partnership in connection with any matter, except as specifically provided in this Agreement.

                 (b)     Except as otherwise provided in this Agreement, no Limited Partner shall
 have any right to amend or terminate this Agreement or to exercise voting rights or otherwise
 control or participate in any manner in the control of the Partnership or its business.

                 (c)    The Limited Partner interests in the Partnership shall be limited to the
 beneficial interest conferred by this Agreement represented by the Interests. The Interests shall be
 deemed to be personal property giving only the rights ascribed to such under this Agreement.
 Ownership of the Interests shall not entitle any Limited Partner to any title in or direct ownership
 of Partnership Assets or confer upon any Limited Partner the right to call for a partition or division
 of the same or for an accounting.

               (d)    Each Limited Partner by virtue of having become a Partner shall be held to
 have expressly assented and agreed to the terms of this Agreement and shall be deemed a party
 hereto.

          5.4     Withdrawal of a Limited Partner.

               (a)     Except as provided in Sections 5.4(b), no Limited Partner may withdraw
 from the Partnership without the written consent of the General Partner.

                (b)      Any Limited Partner may withdraw from the Partnership by giving written
 notice to the General Partner at least ninety (90) days prior to the withdrawal effective date, except
 that this notice requirement may be waived by the General Partner in its sole discretion. The
 General Partner shall liquidate a portion of the Partnership Assets equal to the proportion that the
 Capital Account of the withdrawing Limited Partner represents of the total of all Capital Accounts
 for the Partners of the same classification. The General Partner shall use its reasonable best efforts
 to maximize the purchase price proceeds that may be obtained for the transfer of the related
 Partnership Assets.

                                      ARTICLE VI
                       LIABILITY: EXCULPATION: INDEMNIFICATION

          6.1     Limitation of Liability

                  (a)     Except as otherwise provided by the Act, the debts, obligations and
 liabilities of the Partnership, whether arising in contract, tort or otherwise, shall be solely the debts,
 obligations and liabilities of the Partnership and no Covered Person (other than the General
 Partner) shall be obligated personally or have any obligation to indemnify the Partnership for any
 such debt, obligation or liability of the Partnership other than as set forth in this Section 6.1.


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                (b)    No Limited Partner shall be personally liable for the repayment and
 discharge of any debts, liabilities and obligations of the Partnership in excess of (i) its share of any
 assets and undistributed profits of the Partnership, (ii) amount in its Capital Account (including
 deduction calculated in accordance with Schedule C and (iii) to the extent required by law,
 amounts of any distributions wrongfully distributed to such Limited Partner.

               (c)     Without limiting the generality of the foregoing clauses (a) and (b), the
 General Partner shall not be liable for the return of Capital Contributions of the Partners or any
 other amounts outstanding in the Partners’ Capital Accounts.

                (d)     The provisions of this Section 6.1 shall survive the termination of this
 Agreement.

          6.2     Exculpation

                 (a)     No Covered Person shall be liable to the Partnership for any debt, expense,
 claim, action, demand, suit, proceeding, judgment, decree, liability or obligation of any kind
 (collectively, “Liabilities”) against or with respect to the Partnership arising out of any action taken
 or omitted by, for or on behalf of the Partnership unless such Liabilities are caused by the bad
 faith, willful misconduct, gross negligence or reckless disregard of such Covered Person.

                (b)     The General Partner (and its principals, employees and agents) shall not be
 liable to any other Partner or the Partnership for any loss suffered by the Partnership unless such
 loss is caused by its negligence or willful misconduct of the General Partner (or that of such
 principals, employees and agents). The General Partner may consult with counsel and accountants
 in respect of Partnership affairs and, in acting in accordance with the written advice or opinion of
 such counsel or accountants, the General Partner (and its principals, employees and agents) shall
 not be liable for any loss suffered by the Partnership provided that such counsel or accountants
 shall have been selected with reasonable care and the written advice was not induced by the
 General Partner’s negligence or willful misconduct. The General Partner (and its principals,
 employees and agents) shall not be liable for errors in judgment or for any acts or omissions that
 do not constitute negligence or willful misconduct.

                (c)     The provisions of this Section 6.2 shall survive the termination of this
 Agreement.

          6.3    Fiduciary Duty and Standard of Care. The General Partner shall have the fiduciary
  duty to conduct the affairs of the Partnership as contemplated by this Agreement and in the best
  interests of the Partnership and of the Limited Partners, including the safekeeping of the
  Partnership Assets and the use thereof for the exclusive benefit of the Partnership. Nothing in
  this Agreement shall be construed to release the General Partner from any such fiduciary duties.

          6.4      Indemnification of the General Partner, Officers, Employees, and Agents.
  Covered Persons shall be indemnified and held harmless by the Partnership from and against any
  losses, liabilities and expenses arising from claims, demands, investigations, actions, suits or
  proceedings, whether civil, criminal or administrative, in which such Covered Persons may be
  involved, as a party or otherwise, by reason of their management of the affairs of the Partnership,
  whether or not such Covered Persons continue in such management capacity at the time any such


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  loss, liability or expense is paid or incurred. Covered Persons shall not be entitled to
  indemnification hereunder for any conduct arising from: (i) their gross negligence or willful
  misconduct, or (ii) any breach of this Agreement. The rights of indemnification provided in this
  Section will be in addition to any rights to which the Covered Persons may otherwise be entitled
  by contract or as a matter of law and shall extend to their successors and assigns. In particular,
  and without limitation of the foregoing, the General Partners (and their principals, employees and
  agents) shall be entitled to indemnification by the Partnership against reasonable expenses (as
  incurred), including attorneys’ fees actually and necessarily incurred in connection with the
  defense of any action, to which the General Partners may be a party by virtue of their
  management of the Partnership, to the fullest extent permissible under applicable law. The
  indemnities contained in this Section 6.4 shall survive the termination of this Agreement.

                                         ARTICLE VII
                                    CAPITAL COMMITMENTS

         7.1     Capital Contributions of Partners

                (a)    The General Partner will request (each such request referred to herein as a
 “Contribution Call”) that the Limited Partners contribute a certain amount of cash to the capital of
 the Partnership as maybe reasonable and necessary to purchase and acquire and/or to protect and
 preserve the Partnership Asset.

                (b)     Contribution Calls may, in the sole discretion of the General Partner, be
 amended, modified, deferred and rescinded at any time prior to a payment due date and any such
 actions shall not affect or abridge the right of the General Partner to call for payment of the full
 amount of the Partners’ aggregate Capital Commitments; provided that no such amendment,
 modification, deferral or rescission shall have the effect of increasing the Capital Commitment of
 any Limited Partner.

               (c)     Except as required by operation of law, no Limited Partner shall be required
 to make any Capital Contribution to the Partnership in excess of its Capital Commitment. Except
 as otherwise provided herein and by applicable state law, no Limited Partner shall be required to
 lend any funds to the Partnership nor shall any Limited Partner have any personal liability for the
 repayment of any Capital Contribution of any other Limited Partner.

               (d)    The General Partner may, in its sole discretion, extend the date upon which
 payments by the Limited Partners shall become due pursuant to any Contribution Call.

                 (e)     In the event that any Partner fails to satisfy any Contribution Call, such
 Partner’s Interest shall be subject to dilution on a pro-rata basis amongst all contributing Partners.

         7.2     Defaulting Limited Partners

                (a)    Any Limited Partner who fails to pay any installment of its Capital
 Commitment when due shall be immediately notified in writing by the Partnership of such failure.
 If payment is not received by such Limited Partner within ten (10) Business Days of notice, such
 Limited Partner shall become a “Defaulting Limited Partner.” Capital Commitments not paid by
 the due date shall bear interest at a rate per annum equal to the higher of (i) eighteen (18) percent


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 or (ii) the highest rate of interest permitted by law, in either case, calculated on the basis of the
 actual number of days elapsed over a year of 365 or 366 days, as the case may be. Such interest
 shall accrue from and including the due date until the date paid. Payments of interest paid
 pursuant to this Section 7.2(a) shall not be treated as a Capital Contribution.

                (b)    To the fullest extent permitted under the Act, whenever the vote, consent or
 decision of a Limited Partner or of the Limited Partners is required or permitted pursuant to this
 Agreement, no Defaulting Limited Partner shall be entitled to participate in such vote, consent, or
 decision nor shall such Defaulting Limited Partner be included in the number of Partners eligible
 to vote.

                 (c)     The interest payable due to the default pursuant to Paragraph (a) above, shall
 be set off against any distributions owing to such Defaulting Limited Partner. At the election of
 the General Partners, the Partnership may either (i) apply all or part of any such withheld
 distribution in satisfaction of the amount then due to the Partnership from such Defaulting Limited
 Partner or (ii) withhold such distribution until all amounts then due are paid to the Partnership by
 such Defaulting Limited Partner. Upon payment of all amounts due to the Partnership (by
 application of withheld distributions or otherwise), the General Partner shall distribute any amount
 remaining form such withheld distribution to the Defaulting Limited Partner.

               (d)    The General Partner shall have the right (but shall have no obligation) to
 cause a Defaulting Limited Partner to sell all or any portion of the Defaulting Limited Partner’s
 remaining Interests.

                 (e)     No right, power or remedy conferred upon the General Partner in this
 Section 7.2 shall be exclusive, and each such right, power or remedy shall be cumulative and in
 addition to every other right, power or remedy, whether conferred in this Section 7.2 or now or
 hereafter available at law or in equity or by statute or otherwise. No course of dealing between the
 General Partner and a Defaulting Limited Partner and no delay in exercising any right, power or
 remedy conferred in this Section 7.2, or now or hereafter existing at law or in equity or by statute
 or otherwise shall operate as a waiver or otherwise prejudice any such right, power or remedy.

                 (f)    Notwithstanding anything to the contrary contained herein, the General
 Partner may bring an action on behalf of the Partnership in respect of the failure of any Limited
 Partner to make any payment required to be made hereunder and such Limited Partner shall be
 liable to the Partnership for any and all costs, expenses and liabilities resulting from its failure to
 make such payment and for the costs and expenses of collecting such payment, including
 attorneys’ fees.

        7.3     Redemption of Interests. The Interests held by any Limited Partner shall not be
  redeemable, in whole or in part, except as provided in Section 5.4.

          7.4     Distributions of Distributable Cash from Operations. The General Partner shall
  cause the Partnership to make distributions to the Partners on the tenth (10th) Business Day
  following the last day of each calendar quarter during each calendar year (each, a “Quarterly
  Distribution Date”) as provided in this Section. Distributions made to the Partners pursuant to
  this Section 7.4 for such period shall be applied in the following order of priority:



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              (a)    First, to reserve for the payment of Partnership Expenses an amount equal to
 the Reserve Amount;

                 (b)   Second, to Limited Partners holding Class A LP Units and Class D Units, an
 amount equal to such Limited Partners’ the Cumulative Preferred Return Deficiency, if any and
 thereafter any remaining distributable amount shall be distributed;

                (c)     Third, to the Limited Partners in proportion to their respective positive
 Capital Contribution Account balances until each Partner has received cumulative distributions
 equal to the positive balance in its Capital Contribution Account

                (d)     Fourth, the balance of the distributions to the Limited Partners based upon
 the Class A Units and/or Class D Units held by each and in proportion to their respective Units
 issued in each such Class. Class A Units will be distributed in accordance with their proportionate
 share and 40% to the General Partner subject to the following: the aggregate distributions pursuant
 to this subparagraph (d) to the holders of Class A LP Units, inclusive of all amounts distributed
 pursuant to subparagraph (b) above, should not exceed 60% of the Class A Proportionate Share of
 Distributable Cash ; and,

                (e)    Fifth, to pay to the Limited Partners an amount equal to the theoretical
 income tax applicable to the Limited Partner’s portion of the income of the Partnership allocated to
 the partner for each year, based upon a fixed rate of forty percent (40%). The income tax
 distribution will be made by the Partnership on before April 1st of each calendar year. The
 obligation to make such tax distribution shall be calculated on a cumulative bases, where such
 income tax distribution is calculated on the cumulative net taxable income, but only after all
 income tax losses previously allocated to the Partners are recovered. Notwithstanding the available
 cash, the General Partner shall be bound to attempt to make the income tax distribution if the same
 may be made without violation of the loan covenants for significantly increasing the risk of
 Partnership operations.
          For illustrative purposes only, following provides an example of application of the
  foregoing distribution provisions with a theoretical distribution amount of $1,000,000. This
  information is provided for illustrative purposes only and is not to be construed as any guaranty
  of profitability or financial success.




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                                        USA "CDN LP" - Example


            Assume Distribution                          $       1,000,000


                                    Investment in
                                        Project               Allocation %           Allcoation $
            CDN LP                 $        750,000                      75% $            750,000
            USA Investor           $        250,000                      25% $            250,000
                                   $      1,000,000                     100% $          1,000,000



                                                 Distribution



                             CDN LP                      USA Investor (Assume 60/40 Split)
                             Class D                            Class A      .         Mgmt
                              100%                                60%                   40%
             $                              750,000       $        150,000       $        100,000

  The Partnership is comprised of Class A Unit and Class D Unit Holders. Distinct Real Estate LP 2 is the sole Class D
  Unit Holder and is considered as one investor in the Partnership and hence, receives 100% of its pro-rata investment.
  All Class A and Class D Unit Holders ultimately receive returns based on their respective investments within their
  investment class in accordance with Sections 7.4 and 7.5 below, and the illustrative chart provided therein. Total
  Distributions to Class D Unit Holders will be further allocated based on investments made within that class but is
  done outside of this Agreement. All Unit Holders are treated equally based on their proportionate investment.




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          7.5    Distributions of Distributable Cash from Capital Transaction. The General Partner
  shall cause the Partnership to make distributions to the Partners as soon as practical following a
  Capital Transaction but in no event later than on the 10th Business Day after receipt by the
  Partnership of the Distributable Cash from such Capital Transaction to the Partners in the
  following order of priority:

               (a)    First, to the payment of all outstanding Partnership Expenses as well as such
 amount as the General Partner deems reasonable and necessary for expenses relating to the
 winding up and liquidation of the Partnership;

               (b)    Second, to payment of the unpaid balance of the Preferred Return Account
 to the Class A Units and Class D Units held by the Limited Partners until the accrued Preferred
 Return Account balance for each is reduced to zero;

                 (c)     Third, to the Limited Partners in proportion to their respective positive
 Capital     Contribution Account balances until each Limited Partner has received cumulative
 distributions equal to the positive balance in its Capital Contribution Account;

               (d)      Fourth, the balance of the distributions to the Partners shall be based upon
 the Class A Units and/or Class D Units held by each and in proportion to their respective Units
 issued in each such Class. Class A Units will be distributed in accordance with their proportionate
 share and 40% to the General Partner subject to the following: the aggregate distributions pursuant
 to this subparagraph (d) to the holders of Class A LP Units, inclusive of all amounts distributed
 pursuant to subparagraph (b) above, should not exceed 60% of the Class A Proportionate Share of
 Distributable Cash ;

          7.6     Withholding. The Partnership shall at all times be entitled to withhold a portion of
  any distribution due to a Limited Partner as necessary to satisfy applicable foreign, federal, state
  or local tax liability arising as a result of such Limited Partner’s interest in the Partnership. The
  Partnership and its Affiliates shall not be responsible for any amounts withheld and paid in
  satisfaction of any tax liability, provided that the payment of such amounts was based on a
  reasonable belief that such tax liability existed or the payment was based on a statement from the
  governmental authority imposing the tax. Additionally, the Partnership shall have no obligation
  to increase the amount of any distribution or pay any additional amounts to any Limited Partner
  to reimburse amounts withheld pursuant to this Section.

          7.7    Transfer of Interests.

                 (a)     No Limited Partner may Transfer its Interests, in whole or in part, directly or
 indirectly, by operation of law or otherwise, voluntarily or involuntarily, and no transferee of such
 Interest shall be admitted as a Limited Partner without the written consent of the General Partner,
 which consent shall not be unreasonably withheld. Any Transfer by any Limited Partner of any
 Interest in the Partnership in contravention of this Section 7.7(a) shall be void and ineffectual, and
 shall not bind, or be recognized by the Partnership or any other party. The transferee of a Transfer
 in contravention of this Section 7.7(a) shall not have any right to any profits, losses or distributions
 of the Partnership.




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                 (b)    Each transferee, as a condition of becoming a Partner in the Partnership,
 shall execute such instrument or instruments as shall be required by the General Partner to signify
 such transferee’s agreement to be bound by all the provisions of this Agreement. Notwithstanding
 the foregoing, any transferee who acquires Interests of the Partnership shall be deemed by the
 acquisition of such Interests to have agreed to be bound by all the provisions of this Agreement.

                 (c)    Any Limited Partner who shall Transfer all of its Interest in the Partnership
 shall cease to be a Limited Partner of the Partnership, and shall no longer have any rights or
 privileges of a Limited Partner except that, unless and until the transferee of such Limited Partner
 is admitted as a Limited Partner in accordance with the provisions of this Section 7.7, the Limited
 Partner seeking to Transfer the Interest shall retain the statutory rights and obligations of an
 assignor limited partner under applicable law.

                (d)    The pledging of the Interest or other dispositions shall be allowed with the
 consent of the General Partner.

                                          ARTICLE VIII
                                          ALLOCATIONS

         8.1     Allocations For Capital Account Purposes. Except as otherwise provided in
  Schedules C, for purposes of maintaining Capital Accounts for accounting purposes and in
  determining the rights of the Partners among themselves, the Partnership’s items of income, gain,
  loss and deduction (computed in accordance with Schedule C) shall be allocated among the
  Partners in each taxable year (or portion thereof) as provided herein below:

                (a)      Net Income shall be allocated to the Partners in accordance with their
 respective Interests.

                (b)     Net Losses shall be allocated to the Partners in accordance with their
 respective Interests; provided, however, that Net Losses shall not be allocated to any Limited
 Partner pursuant to this Section 8.1(b) to the extent that such allocation would cause such Limited
 Partner to have an Adjusted Capital Account Deficit at the end of such taxable year (or increase
 any existing Adjusted Capital Account Deficit).

          8.2     Tax Allocations.

                 (a)     In accordance with Code Section 704(c) and the Regulations there under,
 income, gain, loss and deduction with respect to any property contributed to the capital of the
 Partnership shall, solely for tax purposes, be allocated among the Partners so as to take account of
 any variation between the adjusted basis of such property to the Partnership for federal income tax
 purposes and its initial book value. In the event the book value of any Partnership asset is adjusted
 pursuant to the Code and Regulations, subsequent allocations of income, gain, loss and deduction
 with respect to such asset shall take account of any variation between the adjusted basis of such
 asset for federal income tax purposes and its book value in the same manner as under Code Section
 704(c) and the Regulations promulgated there under. Any elections or other decisions relating to
 such allocations shall be made by the General Partner in any manner that reasonably reflects the
 purpose and intention of this Agreement.



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                (b)    If requested by any individual Limited Partner for any taxable year of the
 Partnership, the General Partner shall provide such Limited Partner with relevant information and
 appropriate documentation that will allow the Limited Partner to claim costs and expenses incurred
 by such Limited Partner in making or maintaining its Interest in the Partnership as expenses for tax
 purposes, provided that if any such request is made after March 31st in the year following the end
 of such taxable year, the General Partner will provide such information and documentation in its
 reasonable discretion only to the extent that the General Partner is reimbursed by such Limited
 Partner for the General Partner’s costs and expenses incurred in providing such information and
 documentation.

                                      ARTICLE IX
                      DISSOLUTION, LIQUIDATION AND TERMINATION

         9.1     No Dissolution. The Partnership shall not be dissolved except as provided in
  Section 9.2 or Section 9.5.

        9.2    Events Causing Dissolution. The Partnership shall be dissolved and its affairs
  wound up upon the occurrence of any of the following events:

                 (a)    the written consent of the Limited Partners at a meeting of Limited Partners
 called for the purpose and entitled to vote at the meeting;

                (b)    sale of all or substantially all of the Partnership Assets;

                (c)    the entry of a decree of judicial dissolution; or

                (d)    the termination of the Partnership in accordance with Section 9.5.

         9.3     Liquidation.

                (a)     Upon dissolution of the Partnership, the Liquidating Trustee shall
 immediately be appointed by the General Partner commence to wind up the Partnership’s affairs;
 provided, however, that a reasonable time shall be allowed for the orderly liquidation of the assets
 of the Partnership and satisfaction of liabilities to creditors in an effort to minimize the losses
 incurred by the Partnership as a result of the liquidation. The proceeds of liquidation shall be
 distributed, upon receipt, in the following order and priority:

                          (i)    to the Liquidating Trustee to pay a reasonable fee in connection
  with its services as Liquidating Trustee;

                         (ii)  to creditors of the Partnership, including Partners who are creditors,
  to the extent permitted by law, in satisfaction of the liabilities of the Partnership (whether by
  payment or the making of reasonable provision for payment thereof), other than liabilities for
  distributions to Partners;

                         (iii) to Partners and former Partners in satisfaction of liabilities for
  distributions declared pursuant to Section 7.4; and,



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                         (iv)    the remaining proceeds of liquidation shall be paid to Partners as
  nearly as practicable in proportion to their respective Capital Accounts after taking into account
  all Capital Account adjustments for the Partnership taxable year. If any Partner has a deficit
  balance in its Capital Account (after giving effect to all contributions, distributions and
  allocations for all taxable years, including the year during which such liquidation occurs), such
  Partner shall have no obligation to make any contribution to the capital of the Partnership with
  respect to such deficit, and such deficit shall not be considered a debt owed to the Partnership or
  to any other person for any purpose whatsoever.

                (b)     Upon any dissolution of the Partnership, the Liquidating Trustee may
 reserve an amount adequate to assure payment of all fees and expenses of the Partnership and to
 provide for any other liabilities of the Partnership incurred or to be incurred, including, without
 limitation, contingent or anticipated liabilities, and finally shall dispose of any balance of such
 amount in the manner provided above.

                 (c)     Until final distribution, the Liquidating Trustee may continue to operate the
 business and properties of the Partnership with all of the power and authority of the General
 Partner, including paying any and all costs and expenses of the Partnership and settling any claims,
 liabilities or obligations of the Partnership. As promptly as possible after dissolution and again
 after final liquidation, the Liquidating Trustee shall cause an accounting by an independent
 certified public accountant of the Partnership’s assets, liabilities, operations and liquidating
 distributions to be given to the Partners.

          9.4     Certificate of Cancellation. Upon completion of the distribution of the
  Partnership’s assets as provided in this Article IX, the Partnership shall be terminated and the
  General Partners, pursuant to the Act, shall file a Certificate of Cancellation with the Corporation
  Division of the State of Delaware, cancel all other filings as necessary, and take all other actions
  necessary to terminate the existence of the Partnership, whereupon the General Partner shall be
  discharged from all further liabilities and duties hereunder, and the rights and interests of the
  Partners shall thereupon cease. The General Partner shall also execute and lodge with the records
  of the Partnership an instrument in writing setting forth the facts of such termination.

         9.5     Termination. The General Partner, with the Consent of the Limited Partners may
  terminate the Partnership at any time in accordance with this Article IX.

                                          ARTICLE X
                                      BOOKS AND RECORDS

          10.1 Books, Records and Financial Statements. At all times during the continuance of
  the Partnership, the Partnership shall maintain, at its principal office, separate books of account
  for the Partnership that shall show a true and accurate record of all costs and expenses incurred,
  all charges made, all credits made and received and all income derived in connection with the
  operation of the Partnership business in accordance with generally accepted accounting principles
  consistently applied, and, to the extent inconsistent therewith, in accordance with this Agreement.
  Such books of account, together with an executed copy of this Agreement, the Partnership
  Register, a certified copy of the Certificate and all other documentation maintained by the
  Partnership and relevant to a Partner’s review of the accuracy and correctness of the Partnership’s



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  books, records and accounts shall at all times be maintained at the principal office of the
  Partnership. Upon at least five (5) Business Days prior written notice to the General Partners, a
  Limited Partner or its representative shall be permitted to examine books of account, the executed
  copy of this Agreement, the names of all Partners and a certified copy of the Certificate, at such
  time as may be mutually convenient to the General Partner and such Limited Partner. Each
  Limited Partner shall bear all expenses incurred in any examination made for such Limited
  Partner’s account and shall keep all information obtained during such inspection confidential.

          10.2 Reports/Annual General Meeting. Within one hundred-twenty (120) days after the
  end of each fiscal year of the Partnership, the General Partner shall cause to be prepared and sent
  to the Limited Partners: (i) an annual financial report of the Partnership (the “Annual Report”),
  including a balance sheet, (ii) a profit and loss statement and, unless the profit and loss statement
  is prepared on a cash basis, (iii) a statement of changes in financial position, all of which shall be
  certified by an independent certified public accountant and, (iv) the proposed Partnership
  operating budget for the upcoming fiscal year. Within one hundred-twenty (120) days after the
  end of each tax year of the Partnership, the General Partner shall furnish to the Limited Partner
  such information as may be required to enable the Limited Partner to file required income tax
  returns. The cost of all reports and other information provided pursuant to this Section 10.2 shall
  constitute Partnership Expenses and the General Partner shall be reimbursed for any cost incurred
  by them in connection therewith. In the event that a Limited Partner requires information in
  addition to that provided pursuant to this Section 10.2, such information shall be provided as soon
  as reasonably practicable by the General Partner, at such Limited Partner’s expense.

       10.3 Fiscal and Tax Year. The fiscal year and tax year of the Partnership shall end on
  December 31st unless the General Partner determines otherwise.

                                           ARTICLE XI
                                         MISCELLANEOUS

          11.1 Amendment. All rights granted to the Partners under this Agreement are granted
  subject to the right of the General Partner to amend this Agreement, including any Schedules
  hereto, as provided herein. This Agreement, including any Schedules hereto, may be amended
  from time to time, in whole or in part, by the General Partner and approved by the Limited
  Partners holding not less than a majority of the then outstanding Interests in the Partnership;
  provided, however, that no amendment shall be made to any provision of the Agreement that
  specifically requires a greater percentage of the then outstanding Interests in the Partnership,
  without receiving the Consent of Limited Partner. Notwithstanding the foregoing, in the case of
  any amendment that the General Partner determine is necessary or appropriate to prevent the
  Partnership from being treated as a publicly traded partnership taxed as a corporation under
  Section 7704 of the Code, the Consent of Limited Partner shall not be required provided that the
  General Partner gives notice of such amendment to the Limited Partner prior to or promptly after
  execution thereof and such amendment shall be effective on the date provided in the instrument
  containing the terms of such amendment; provided further, that Consent of the Limited Partner
  shall not be required for amendments to Schedule A to reflect the admission of additional Limited
  Partners and the issuance of additional Interests as contemplated by this Agreement. No
  amendment shall (i) reduce the Capital Commitment or Capital Account of any Partner; (ii)
  reduce the Interests held by any Partner; (iii) reduce any Partner’s rights to distributions with


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  respect thereto; or (iv) otherwise disproportionately and negatively impact such Partner without,
  in each case, the specific written consent of such Partner. Nothing contained in this Agreement
  shall permit the amendment of this Agreement to impair the exemption from personal liability of
  the General Partner, officers, employees and agents of the Partnership or General Partner.
  Amendments to this Agreement may be executed solely by the General Partner; provided that the
  General Partner shall also execute a certificate filed in the records of the Partnership stating that
  the amendment required no consent of any other Partner under Section 11.1.

          11.2    Power of Attorney.

                (a)     The Limited Partner does hereby constitute and appoint the General Partner
 as such Limited Partner’s true and lawful representative and attorney in fact, in its name, place and
 stead to make, execute and file: (i) the Certificate, (ii) any amendments thereof required to reflect
 any change in the Partnership of the Partnership or in the Capital Contributions of the Partners, (iii)
 any other amendments thereof required or permitted by law and (iv) all other instruments,
 documents and certificates which may be required by the laws of any jurisdiction in which the
 Partnership does business, or any political subdivision or agency thereof, to effectuate, implement
 or continue the valid and subsisting existence of the Partnership.

                 (b)    The foregoing grant of authority:

                         (i)    is a special power of attorney coupled with an interest, is
  irrevocable, and shall survive the death, Bankruptcy, incompetency, insolvency or dissolution of
  a Limited Partner;

                        (ii)     may be exercised by the person appointed as power of attorney for
  the Limited Partner by a electronic signature or by listing all of the Limited Partners executing
  any instrument with its single signature as attorney in fact for all of them; and,

                        (iii) shall survive the delivery of an assignment by a Limited Partner of
  the whole or any portion of its Interest, except that where the transferee has been approved by the
  General Partner for admission to the Partnership, the power of attorney shall survive the delivery
  of such assignment for the sole purpose of enabling the General Partner to execute, acknowledge
  and file any instrument necessary to effect such transfer.

          11.3 Governing Law, Waiver of Jury Trial. This Agreement and the rights of the
  parties hereunder shall be construed in accordance with the laws of the State of Delaware and all
  rights and remedies shall be governed by such laws without giving effect to the conflict of laws
  principles thereof.

            (a)  EACH PARTNER WAIVES ANY RIGHT WHICH IT MAY HAVE TO A
 JURY TRIAL WITH RESPECT TO ANY ACTION OR CLAIM ARISING OUT OF ANY
 LITIGATION OR DISPUTE DIRECTLY OR INDIRECTLY ARISING OUT OF, UNDER OR
 IN CONNECTION WITH THIS AGREEMENT, ANY RIGHTS OR OBLIGATIONS
 HEREUNDER OR THE PERFORMANCE OF ANY SUCH RIGHTS OR OBLIGATIONS.
 EXCEPT AS PROHIBITED BY LAW, EACH PARTNER WAIVES ANY RIGHT WHICH IT
 MAY HAVE TO CLAIM OR RECOVER IN ANY LITIGATION OR DISPUTE REFERRED TO
 IN THE PRECEDING SENTENCE ANY SPECIAL, EXEMPLARY, PUNITIVE OR


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 CONSEQUENTIAL DAMAGES OR ANY DAMAGES OTHER THAN, OR IN ADDITION TO,
 ACTUAL DAMAGES.

          11.4 Severability. In the event any one or more of the provisions contained in this
  Agreement should be held invalid, illegal or unenforceable in any respect, the validity, legality
  and enforceability of the remaining provisions contained herein shall not in any way be affected
  or impaired thereby. The parties shall endeavor in good faith negotiations to replace the invalid,
  illegal or unenforceable provisions with valid provisions, the economic effect of which comes as
  close as possible to that of the invalid, illegal or unenforceable provisions.

         11.5 Sections, Articles and Schedules. All references herein to a “Section” or an
  “Article” shall refer to the Sections and Articles of this Agreement and all references to a
  “Schedule” shall refer to the Schedules to this Agreement, in all cases unless expressly stated to
  the contrary.

        11.6 Section Headings; Interpretation. Section headings in this Agreement are for
  convenience of reference only and shall not limit or otherwise affect the meaning hereof.

          11.7 Notices. All notices provided for in this Agreement shall be in writing, duly
  signed by the party giving such notice, and shall be delivered, telecopied or mailed by registered
  or certified mail, as follows:

                (a)     if given to the Partnership, in care of the General Partner at the Partnership’s
 principal place of business;

               (b)     if given to the General Partner, at such General Partner’s mailing address set
 forth on Schedule A attached hereto; or

               (c)     if given to the Limited Partner, at the address set forth opposite its name on
 Schedule A attached hereto, or at such other address as such Limited Partner may hereafter
 designate by written notice to the Partnership.
         All notices shall be deemed delivered when: (i) mailed by certified mail, return receipt
  requested to any party at the address specified above, or (ii) telecopied to any party to the
  telecopy number given by such party and confirmed by a transmission report verifying the correct
  telecopier number and number of pages and that such transmission was well transmitted, or (iii)
  delivered personally to any party at its address specified above.

           11.8 Failure to Pursue Remedies. The failure of any party to seek redress for violation
  of, or to insist upon the strict performance of, any provision of this Agreement shall not constitute
  a waiver of such provision or such party’s rights thereunder.

          11.9 Cumulative Remedies. The rights and remedies provided by this Agreement are
  cumulative, and the use of any one right or remedy by any party shall not preclude or waive its
  right to use any or all other remedies. Said rights and remedies are given in addition to any other
  right the parties may have under law, statute, ordinance or otherwise.




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         11.10 Binding. This Agreement shall be binding upon and inure to the benefit of each
  Partner and their respective successors and assigns.

         11.11 Counterparts. This Agreement may be executed in any number of counterparts
  with the same effect as if all parties hereto had signed the same document. All counterparts shall
  be construed together and shall constitute one instrument, binding on all the parties thereto.

          IN WITNESS WHEREOF, the undersigned have executed this instrument as of the date
  first above written.


                                              GENERAL PARTNER:


                                              Distinct Real Estate USA GP 2, Inc.

                                              By: __________________________
                                              Its: President




                                              LIMITED PARTNERS:
                                              Distinct Real Estate L.P.2, an Alberta
                                              limited partnership

                                              By: __________________________
                                              Its: General Partner




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                             DISTINCT REAL ESTATE USA 2 LP

                         AGREEMENT OF LIMITED PARTNERSHIP

                          LIMITED PARTNER SIGNATURE PAGE


   The undersigned hereby executes, enters into and agrees to be bound by the Agreement of
   Limited Partnership of Distinct Real Estate USA 2, L.P., dated March 17th , 2021.


                                          Distinct Real Estate L.P. 2, an Alberta
                                          limited partnership
                                                   DocuSispni



                                          By:1   6.44" W Vr64')

                                          Name:IvianfIrrOzdz
                                          Title: Director
                                          Date: 3/18/2021

   Attested to by:
   Name:
   Title:




                                           US INVESTOR:

                                            Tsafrir Gerson
                                           an Individual
                                              e-0....13pn.. by:


                                           By: Tkrrir f,txsow
                                           Name: -Tail.berson
                                           Title: individual
                                           Date:3/1812021

   Attested to by:
   Name:
   Title:
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                                          SCHEDULE A

                                GP PARTNERSHIP REGISTER


  General Partner


  Name and Mailing Address      Capital Commitment   Contributed Capital   Partnership Interest

  Distinct Real Estate USA GP        $100.00             $100.00                0.0005%
  2, Inc
  500 - 4 Avenue SW
  Calgary, AB.
  T2P 2V6




   Schedule A                                  31
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                                           SCHEDULE B

                                 LP PARTNERSHIP REGISTER



  Limited Partners


  Name                          Capital Commitment     Contributed Capital   Partnership Units


   The Young Living Trust        20.4917% of all          $250,000.00           250 Class A
   dated 12/30/2019              Capital Commitments

   Ilan Peker                    12.295% of all           $150,000.00           150 Class A
                                 Capital Commitments

   Ari Heitner                   4.0983% of all           $ 50,000.00            50 Class A
                                 Capital Commitments

   Sequoia REI, Inc.             20.4917% of all          $250,000.00           250 Class A
                                 Capital Commitments

   Tsafrir Gerson                22.1311% of all          $270,000.00           270 Class A
                                 Capital Commitments

   Anna Ostrovsky and            20.4917% of all          $250,000.00           250 Class A
   Elan Gerson                   Capital Commitments




    Exhibit B-Partnership Register             32
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                                                                        SCHEDULE C

                                                                ALLOCATION RULES

   A.1          Definitions. The following terms, which are used predominantly in this Schedule C, shall have
                         the meanings set forth below for all purposes under this Agreement:

          "Adjusted Capital Account Balance" means, with respect to any Partner, the balance of such
  Partner's Capital Account as of the end of the relevant fiscal year, after giving effect to the following
  adjustments:

               (a)         Credit to such Capital Account any amounts which such Partner is obligated to restore
                           pursuant to this Agreement or as determined pursuant to Regulations Section 1.704-
                           1(b)(2)(ii)(c), or is deemed to be obligated to restore pursuant to the penultimate
                           sentences of Regulations Sections 1.704-2(g)(1) and 1.704-2(i)(5); and

               (b)         Debit to such Capital Account the items described in clauses (4), (5) and (6) of Section
                           1.704-1(b)(2)(ii)(d) of the Regulations.

  The foregoing definition of Adjusted Capital Account Balance is intended to comply with the provisions
  of Section 1.704-1(b)(2)(ii)(d) of the Regulations and shall be interpreted consistently therewith.

         "Book Value" means, with respect to any asset, the asset's adjusted basis for federal income tax
  purposes, except as follows:

               (a)         The initial Book Value for any asset (other than money) contributed by a Partner to the
                           Partnership shall be the gross fair market value of such asset, as determined by the
                           General Partner at the time of such contribution;

               (b)         The Book Value of all Partnership assets shall be adjusted to equal their respective
                           gross fair market values, as reasonably determined by the Person who is the Tax Partner
                           with the approval of the General Partner as of the following times: (i) the acquisition of
                           an additional Interest in the Partnership by any new or existing Partner in exchange for
                           more than a de minimis Capital Contribution; (ii) the distribution by the Partnership to a
                           Partner of more than a de minimis amount of cash or other property as consideration for
                           an Interest in the Partnership, if (in any such event) such adjustment is necessary or
                           appropriate, in the reasonable judgment of the General Partners, to reflect the relative
                           economic interests of the Partners in the Partnership; and (iii) the liquidation of the
                           Partnership for federal income tax purposes pursuant to Regulations Section 1.704-
                           1(b)(2)(ii)(g); provided, however, that if a Partner or former Partner whose Interest in
                           the Partnership is being purchased or liquidated does not accept the proposed
                           adjustment to the Book Value of any asset or assets, then such adjustment shall be
                           determined by the following procedure: The Partners who have proposed such
                           adjustment shall select a qualified appraiser, and the dissatisfied Partner, former Partner
                           shall select a qualified appraiser. Unless the same person is selected as appraiser, the two
                           appraisers shall then jointly nominate a third, neutral qualified appraiser, who shall
                           determine the appropriate adjustment and whose determination shall be conclusive and
                           final on the parties;




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   Apartments).doc

   Partner Register                                                             33
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         (c)     The Book Value of any Partnership asset distributed to any Partner shall be adjusted to
                 equal its gross fair market value on the date of distribution;

         (d)     The Book Values of Partnership assets shall be increased (or decreased) to reflect any
                 adjustments to the adjusted basis of such assets pursuant to Code Section 734(b) or
                 Code Section 743(b), but only to the extent that such adjustments are taken into
                 account in determining Capital Accounts pursuant to Regulation Section 1.704-
                 1(b)(2)(iv)(m); provided, however, that Book Values shall not be adjusted pursuant to
                 this subsection (d) to the extent that an adjustment pursuant to subsection (b) of this
                 definition is necessary or appropriate in connection with a transaction that would
                 otherwise result in an adjustment pursuant to this subsection (d); and

         (e)     If the Book Value of an asset has been determined or adjusted pursuant to subsection
                 (a), (b) or (d) above, such Book Value shall thereafter be adjusted by the Depreciation
                 taken into account from time to time with respect to such asset for purposes of
                 computing Profits and Losses.

          "Capital Account" means, with respect to any Partner, the Capital Account maintained for such
  Partner in accordance with the following provisions:

         (a)     To each such Partner's Capital Account there shall be credited the amount of cash and
                 Book Value of any other property contributed by such Partner to Partnership capital,
                 such Person's distributive share of Profits and any items in the nature of income or gain
                 that are specially allocated pursuant to Sections A.2 and A.3 hereof, and the amount of
                 any Partnership liabilities assumed by such Partner or encumbering any asset
                 distributed by the Partnership to such Partner;

         (b)     To each such Partner's Capital Account there shall be debited the amount of cash and
                 the Book Value of any Partnership property distributed to such Partner pursuant to any
                 provision of this Agreement, such Partner's distributive share of Losses, and any items
                 in the nature of expenses or losses that are specially allocated pursuant to Sections A.2
                 and A.3 hereof, and the amount of any liabilities of such Partner assumed by the
                 Partnership or encumbering any asset contributed by such person to Partnership capital;

         (c)      In the event any Interest in the Partnership is transferred or assigned, the transferee or
                  assignee shall succeed to the Capital Account of the transferor or assignor to the
                  extent that it relates to the transferred or assigned interest;

         (d)      Section 752(c) of the Code shall be applied in determining the amount of any
                  liabilities taken into account for purposes of this definition of "Capital Account"; and



         (e)     The foregoing provisions and the other provisions of this Agreement relating to the
                 maintenance of Capital Accounts are intended to comply with Sections 1.7041(b) and
                 1.704-2 of the Regulations and shall be interpreted and applied in a manner consistent
                 with such Regulations. The Tax Partner may modify the manner of computing the
                 Capital Accounts or any debits or credits thereto (including debits or credits relating to
                 liabilities that are secured by contributed or distributed property or that are assumed by
                 the Partnership or any Partner) in order to comply with such Regulations, provided that
                 any such modification is not likely to have a material effect on the amounts distributable



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          to any Partner pursuant to Article X hereof upon the dissolution of the Partnership. Without
                 limiting the generality of the preceding sentence, the General Partner shall make any
                 adjustments that are necessary or appropriate to maintain equality between the aggregate
                 sum of the Capital Accounts and the amount of capital reflected on the balance sheet of
                 the Partnership, as determined for book purposes in accordance with Section 1.704-
                 1(b)(2)(iv)(g) of the Regulations. The Tax Partner also shall make any appropriate
                 modifications in the event unanticipated events (for example, the availability of
                 investment tax credits) might otherwise cause this Agreement not to comply with
                 Regulations Section 1.704-1(b).

         "Partnership Minimum Gain" has the meaning set forth in Section 1.704-2(d) of the
  Regulations.

          "Depreciation" means, for each fiscal year or other period, an amount equal to the depreciation,
  amortization or other cost recovery deduction allowable with respect to an asset for such year or other
  period, except that if the Book Value of an asset differs from its adjusted basis for federal income tax
  purposes at the beginning of such year or other period, Depreciation shall be an amount that bears the
  same ratio to such beginning Book Value as the federal income tax depreciation, amortization or other
  cost recovery deduction for such year or other period bears to such beginning adjusted tax basis;
  provided, however, that if such depreciation, amortization or other cost recovery deductions with
  respect to any such asset for federal income tax purposes is zero for any fiscal year, Depreciation shall
  be determined with reference to the asset's Book Value at the beginning of such year using any
  reasonable method selected by the General Partner.

         "Partner Nonrecourse Debt" has the meaning set forth in Section 1.704-2(b)(4) of the
  Regulations.

         "Partner Nonrecourse Debt Minimum Gain" has the meaning set forth in Section 1.7042(i)(2) of
  the Regulations and shall be determined in accordance with Section 1.704-2(i)(3) of the Regulations.

           "Partner Nonrecourse Deductions" has the meaning set forth for "Partner Nonrecourse
  Deductions" in Regulations Section 1.704-2(i)(l). The amount of Partner Nonrecourse Deductions with
  respect to a Partner Nonrecourse Debt for each fiscal year of the Partnership equals the excess (if any) of
  the net increase (if any) in the amount of Partner Nonrecourse Debt Minimum Gain attributable to such
  Partner Nonrecourse Debt during such fiscal year over the aggregate amount of any distributions during
  such fiscal year to the Partner that bears the economic risk of loss for such Partner Nonrecourse Debt to
  the extent that such distributions are from the proceeds of such Partner Nonrecourse Debt which are
  allocable to an increase in Partner Nonrecourse Debt Minimum Gain attributable to such Partner
  Nonrecourse Debt, determined in accordance with Section 1.704-2(i)(2) of the Regulations.

           "Nonrecourse Debt" or "Nonrecourse Liability" has the same meaning as the term "nonrecourse
  liability" under Section 1.704-2(b)(3) of the Regulations.

          "Nonrecourse Deductions" has the meaning set forth in Section 1.704-2(b)(1) of the
  Regulations. The amount of Nonrecourse Deductions for a Partnership fiscal year equals the excess (if
  any) of the net increase (if any) in the amount of Partnership Minimum Gain during that fiscal year
  over the aggregate amount of any distributions during that fiscal year of proceeds of a Nonrecourse
  Debt that are allocable to an increase in Partnership Minimum Gain, determined according to the
  provisions of Section 1.704-2(c) of the Regulations.

           "Profits" or "Losses" means, for each fiscal year or other period, the taxable income or taxable
  loss of the Partnership as determined under Code Section 703(a) (including in such taxable income or


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  taxable loss all items of income, gain, loss or deduction required to be stated separately pursuant to
  Section 703(a)(1) of the Code) with the following adjustments:

          (a)     All items of gain or loss resulting from any disposition of Partnership property shall
                  be determined upon the basis of the Book Value of such property rather than the
                  adjusted tax basis thereof;

          (b)     Any income of the Partnership that is exempt from federal income tax shall be added
                  to such taxable income or loss;

          (c)     Any expenditures of the Partnership that are described in Code Section 705(a)(2)(B),
                  or treated as such pursuant to Regulations Section 1.7041(b)(2)(iv)(i), and that are not
                  otherwise taken into account in the computation of taxable income or loss of the
                  Partnership, shall be deducted in the determination of Profits or Losses;

          (d)     If the Book Value of any Partnership asset is adjusted pursuant to subsection (b) or

          (e)     of the definition of "Book Value" set forth in this Schedule C, the amount of such
                  adjustment shall be taken into account as gain or loss from the disposition of such asset
                  for purposes of computing Profits or Losses unless such gain or loss is specially
                  allocated pursuant to Section A.2 hereof;

          (f)     In lieu of the depreciation, amortization, and other cost recovery deductions taken into
                  account in determining such taxable income or loss, there shall be deducted
                  Depreciation, computed in accordance with the definition of such term in this Schedule
                  C; and
                  -
          (g)     Notwithstanding any of the foregoing provisions, any items that are specially allocated
                  pursuant to Section A.2 or A.3 hereof shall not be taken into account in computing
                  Profits or Losses.

  A.2      Special Allocations. The allocation of Profits and Losses for each fiscal year shall be subject
  to the following special allocations in the order set forth below:

          (a)     Partnership Minimum Gain Chargeback. If there is a net decrease in Partnership
                  Minimum Gain for any fiscal year, each Partner shall be specially allocated items of
                  income and gain for such year (and, if necessary, for subsequent years) in an amount
                  equal to such Person's share of the net decrease in Partnership Minimum Gain during
                  such year, determined in accordance with Regulations Section 1.7042(g)(2).
                  Allocations pursuant to the preceding sentence shall be made among the Partners in
                  proportion to the respective amounts required to be allocated to each of them pursuant
                  to such Regulation. The items to be so allocated shall be determined in accordance with
                  Regulations Section 1.704-2(f)(6). Any special allocation of items of Partnership
                  income and gain pursuant to this Section A.2(a) shall be made before any other
                  allocation of Partnership items under this Schedule C. This Section A.2(a) is intended to
                  comply with the "minimum gain chargeback'' requirement in Regulation Section 1.704-
                  2(f) and shall be interpreted consistently therewith.

          (b)     Partner Nonrecourse Debt Minimum Gain Chargeback. If there is a net decrease during
                  a Partnership fiscal year in the Partner Nonrecourse Debt Minimum Gain attributable to
                  a Partner Nonrecourse Debt, then each Partner with a share of the Partner Nonrecourse


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              Debt Minimum Gain attributable to such debt, determined in accordance with
              Regulations Section 1.704-2(i)(5), shall be specially allocated items of Partnership
              income and gain for such year (and, if necessary, subsequent years) in an amount equal
              to such Person's share of the net decrease in the Partner Nonrecourse Debt Minimum
              Gain attributable to such Partner Nonrecourse Debt, determined in accordance with
              Regulations Section 1.7042(i)(4). Allocations pursuant to the preceding sentence shall
              be made among the Partners in proportion to the respective amounts to be allocated to
              each of them pursuant to such Regulation. Any special allocation of items of
              Partnership income and gain pursuant to this Section A.2(b) for a fiscal year shall be
              made before any other allocation of Partnership items under this Schedule C, except
              only for special allocations required under Section A.2(a) hereof. The items to be so
              allocated shall be determined in accordance with Regulations Section 1.7042(i)(4).
              This Section A.2(b) is intended to comply with the provisions of Regulations Section
              1.704-2(i)(4) and shall be interpreted consistently therewith.

        (c)   Qualified Income Offset. 'If any Partner unexpectedly receives any adjustments,
              allocations or distributions described in clauses (4), (5) or (6) of Regulations Section
              1.704-1(b)(2)(ii) (d), items of Partnership income and gain shall be specially allocated to
              each such Person in an amount and manner sufficient to eliminate as quickly as possible,
              to the extent required by such Regulation, any deficit in such Partner's Adjusted Capital
              Account Balance, such balance to be determined after all other allocations provided for
              under this Schedule C have been tentatively made as if this Section A.2(c) were not in
              the Agreement.

        (d)   Gross Income Allocation. If any Partner has a deficit balance in his, her or its Capital
              Account at the end of any fiscal year (determined as hereinafter provided) that is in
              excess of the amount such Partner is obligated to restore (or is deemed to be obligated
              to restore pursuant to Regulations Section 1.704-2(g)(1) or Section 1.704-2(i)(5)), each
              such Partner shall be specially allocated items of Partnership income and gain in the
              amount of such excess as quickly as possible, provided that an allocation pursuant to
              this Section A.2(d) shall be made only if and to the extent that such excess would exist
              after all other allocations provided for in this Schedule C have been tentatively made
              as if Section A.2(c) hereof and this Section A.2(d) were not in the Agreement.

        (e)   Nonrecourse Deductions. Nonrecourse Deductions for any fiscal year or other period
              shall be specially allocated to the Partners in proportion to their Profit Percentages.

        (f)   Partner Nonrecourse Deductions. Partner Nonrecourse Deductions for any fiscal year
              or other period shall be specially allocated, in accordance with Regulations Section
              1.704-2 (i)(1), to the Partner or Partners who bear the economic risk of loss for the
              Partner Nonrecourse Debt to which such deductions are attributable.

        (g)   Code Section 754 Adjustments. To the extent an adjustment to the adjusted tax basis
              of any Partnership asset pursuant to Code Section 734(b) or 743(b) is required,
              pursuant to Regulations Section 1.704-1(b)(2)(iv)(m), to be taken into account in
              determining Capital Accounts, the amount of such adjustment to the Capital Accounts
              shall be treated as an item of gain (if the adjustment increases the basis of the asset) or
              loss (if the adjustment decreases such basis), and such gain or loss shall be specially
              allocated to the Partners in a manner consistent with the manner in which their Capital
              Accounts are required to be adjusted pursuant to such section of the Regulations.



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  A.3      Curative Allocations. The allocations set forth in subsections A.2(a) through (g) of Schedule C
  hereof ("Regulatory Allocations") are intended to comply with certain requirements of Regulations
  Sections 1.704-1(b) and 1.704-2. Notwithstanding any other provisions of this Agreement (other than the
  Regulatory Allocations and the next two following sentences), the Regulatory Allocations shall be taken
  into account in allocating other Profits, Losses and items of income, gain, loss and deduction among the
  Partners so that, to the extent possible, the net amount of such allocations of other Profits, Losses and
  other items and the Regulatory Allocations to each Partner shall be equal to the net amount that would
  have been allocated to each such Partner if the Regulatory Allocations had not occurred. For purposes of
  applying the preceding sentence, Regulatory Allocations of Nonrecourse Deductions and Partner
  Nonrecourse Deductions shall be offset by subsequent allocations of items of Partnership income and
  gain pursuant to this Section A.3 only if (and to the extent) that: (i) the General Partner reasonably
  determines that such Regulatory Allocations are not likely to be offset by subsequent allocations under
  Section A.2(a) or Section A.2(b) hereof, and (ii) there has been a net decrease in Partnership Minimum
  Gain (in the case of allocations to offset prior Nonrecourse Deductions) or a net decrease in Partner
  Nonrecourse Debt Minimum Gain attributable to a Partner Nonrecourse Debt (in the case of allocations
  to offset prior Partner Nonrecourse Deductions). The General Partner shall apply the provisions of this
  Section A.3, and shall divide the allocations hereunder among the Partners, in such manner as the General
  Partner reasonably deems appropriate to minimize the economic distortions upon the distributions to the
  Partners that might otherwise result from the Regulatory Allocations.




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          11.10 Binding. This Agreement shall be binding upon and inure to the benefit of each
  Partner and their respective successors and assigns.

         11.11 Counterparts. This Agreement may be executed in any munber of counterparts
  with the same effect as if all parties hereto had signed the same document. All counterparts shall
  be construed together and shall constitute one instrument, binding on all the parties. thereto.

          IN WITNESS WHEREOF, the undersigned have executed this instrument as of the date
  first above written.


                                              GENERAL PARTNER:


                                              Distinct Real Estate USA GP 2, Inc.

                                              By: Auna n 144WP
                                                             PTA,
                                                               eil
                                              Its: President



                                              LIMITED PARTNERS:

                                              Distinct Real Estate L.P.2, an
                                              Alberta limited partnership
                                                           •
                                              By: Maw 4'647
                                              Its: General Partner



                                              US INVESTOR:
                                              Ilan Peker
                                              an Individual

                                              By: I L" Mu'
                                              Its: ip
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                                   DISTINCT REAL ESTATE USA 2 LP

                             AGREEMENT OF LIMITED PARTNERSIIIP

                               LIMITED PARTNER SIGNATURE PAGE


  The undersigned hereby executes, enters into and agrees to be bound by the Agreement of
  Limited Partnership of Distinct Real Estate USA 2, L.P., dated 2/23/    , 2021.


                                              Distinct Real Estate L.P. 2, an Alberta
                                              limited partnership

                                              By: r Atalit4 prmsil
                                              Name:Maran Drozdz
                                              Tiattle:2IDirector
                                                        a4o2 ,
                                              D

  Attested to by:
  Name:          1Tera Patterson
  Title:         (Administrator




                                              US INVESTOR:

                                              Ilan Pcker
                                              an Individual
                                                  c   0:4.0 ••••


                                              Bytlaw rktr
                                              Name: Ilan
                                              Title: owner
                                              Date:2/24/2021

  Attested to by:
  Name:
  Title:
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                          EXHIBIT 4
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                                     SUBSCRIPTION AGREEMENT
                                               AND
                                   LETTER OF INVESTMENT INTENT

  To: DISTINCT REAL ESTATE USA 2, [NC., AS GENERAL PAR 1 N ER

  Gentlemen:

          The undersigned hereby tenders this subscription and applies for the purchase of ISO
  Class A Units (the "Units") in DISTINCT REAL ESTATE USA 2 LP, a Delaware limited partnership
  (the "Partnership") and (the "Units") at a price of $1,000.00 per Unit in exchange for the sum of
   ISO        Thousand and No/ 100 ($1,5601:000), and upon the terms and conditions set forth below.
  The undersigned understands that the Partnership may reject any subscription for Units for any reason,
  and that the Partnership will promptly return the funds delivered herewith in the event this
  subscription is rejected, without deduction for expenses or payment of interest. By execution below,
  the undersigned acknowledges that the Partnership is relying upon the accuracy and completeness of
  the representations contained herein in complying with their obligations under applicable securities
  laws.

          1.     The undersigned hereby confirms the undersigned's irrevocable agreement to subscribe
  for the Units of the Partnership on the following terms:

                (a)     Tender, in full, of the aforementioned monetary funds and an executed copy of
         this Subscription Agreement shall be delivered to the Partnership at the address set forth
         below:

                 (b)     Notwithstanding any right of revocation or termination granted to the
         undersigned by this Agreement or any related agreement, or under law, and regardless of
         the provisions contained herein concerning disbursement of funds or acceptance or rejection of
         the undersigned's subscription, the undersigned agrees that the date of investment decision,
         and the only date on which the undersigned has made such a decision for purposes of
         acquiring Units in the Partnership, is the date inscribed on undersigned's signature
         page for this Subscription Agreement, which shall he the date of sale of the Units to the
         undersigned for all purposes under any and all applicable laws, including any statute(s) of
         limitation.



        2.      The undersigned acknowledges and represents as follows:

               (a)      The undersigned has such knowledge and experience in financial and business
        matters that the undersigned is capable of evaluating the merits and risks of the prospective
        purchase of the Units.
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              (b)     The undersigned has obtained, to the extent the undersigned deems it necessary,
       personal professional advice with respect to the risks inherent in the investment in the Units,
       and the suitability of the investment in the Units, in light of the undersigned's financial
       condition and investment needs.

               (c)     The undersigned believes after due deliberation that the investment in the Units
       is suitable for the undersigned based upon the undersigned's investment objectives and
       financial needs, and the undersigned has adequate means for providing for the undersigned's
       current financial needs and personal contingencies and has no need for liquidity of investment
       with respect to the Units.

               (d)    The undersigned has been given access to full and complete information
       regarding the Partnership and has utilized such access to the undersigned's satisfaction, or
       waived the opportunity to do so, for the purpose of asking questions and receiving answers
       concerning the terms and conditions of the offering, obtaining information in addition to, or
       verifying information. The undersigned has either attended or been given reasonable
       opportunity to attend meetings with representatives of the Partnership for the purpose of
       asking questions of, and receiving answers form, such representatives concerning the terms
       and conditions of the offering of the Units and to obtain any additional information, to the
       extent reasonably available.

              (e)      The undersigned recognizes that the Units as an investment involve a high
       degree of risk including, but not limited to, the risk of economic losses from operations of the
       Partnership and the risks.

               (f)      The undersigned realizes that (i) the purchase of the Units should be considered
       by the undersigned to be a long-term investment; (ii) the purchaser of the Units must bear the
       economic risk of investment for an indefinite period of time because the Units have not been
       registered under applicable securities laws pursuant to exemptions therefrom and, therefore,
       none of the Units may be sold unless subsequently registered under such securities laws or
       exempt from such registration; (iii) there is presently no public market for the Units, and
       accordingly, the undersigned understands that the undersigned may not be able to liquidate his
       investment in the event of an emergency or pledge any of the Units as collateral security for
       loans; (iv) a legend will be placed on each certificate representing the Units stating that such
       Units have not been registered under the Securities Act of 1933 and applicable state securities
       laws and referencing the restrictions on transferability of the Units set forth in paragraph 2
       below; and (v) stop transfer instructions will be noted on the Partnership's records relating to
       the Units.

               (g)      The undersigned had an opportunity to ask questions of and receive answers
       from the management and any failure to ask questions was a conscious decision on my part
       that reflects its conclusion that the undersigned understands all the information provided in
       connection with the Partnership and that the undersigned needs no additional information.

              (h)     The undersigned acknowledges and is aware of the following:



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                     i.     The Partnership has no financial or operating history and the investment
              contemplated hereunder is highly speculative and involves a risk of loss of the
              undersigned's entire investment in the Partnership;

                     ii.      There are substantial restrictions on the transferability of the Units;
              there will be no public market for an investment in the Partnership; and, accordingly,
              the undersigned, may have to hold such investment indefinitely and it may not be
              possible for the undersigned to liquidate the undersigned's investment in the
              Partnership;

                     iii.    None of the following have ever been represented, guaranteed, or
              warranted to the undersigned by any broker, member of management, the Partnership
              or any of their respective affiliates, agents, attorneys or employees or by any other
              person, expressly or by implication:

                            (A)     The approximate or exact length of time that the undersigned
                     will be required to remain as owner of an investment in the Partnership or
                     when the assets of the Partnership will be sold, if ever;

                              (B)     The percentage of profit and/or amount of or type of
                      consideration, profit or loss (including tax write-offs and/or tax benefits) to be
                      realized, if any, as a result of this venture; or

                              (C)    The past performance or experience on the part of the
                      management, the Partnership, or any of their respective affiliates, any
                      securities broker or fmder, their partners, salesmen, associates, agents or
                      employees or of any other person, in any way indicates the predictable result of
                      an investment in the Partnership; and

                              (D)     All projections that may have been represented to the
                      Undersigned by the Partnership are projections only and are not in any way
                      guarantees, representations or warranties of actual performance and that such
                      projections are subject to so many assumptions and variables that actual results
                      of operations may, and usually do, differ materially.

                      iv.    The undersigned understands that the Partnership will be managed
              solely by the management and that the undersigned will have limited rights in the
              management of the Partnership; and

                      v.     The undersigned has reviewed with a tax advisor and understands the
              federal income tax aspects of investment in the Partnership, and the undersigned has
              received such advice in this regard as the undersigned deems necessary from qualified
              sources such as an attorney, tax advisor or accountant.

              (i)    The undersigned has been informed that the investment is a speculative one and
       involves a high degree of risk, and in evaluating such investment the undersigned has


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         consulted with investment and/or legal and/or tax advisers and has concluded that the
         proposed investment in the Partnership is appropriate in light of the undersigned's overall
         investment objectives and financial situation.

                        The undersigned understands that the Units of the Partnership represent a
         minority interest in the Partnership.

                (k)      The undersigned understands that the offering of the Units by the Partnership is
         in no manner related to, affiliated with or otherwise supported by any investment bank or
         financial institutions specifically.

         3.      The undersigned has been advised that the Units are not being registered under the
 Securities Act of 1933 (the "Ace") or the relevant state securities laws, but are being offered and sold
 pursuant to exemptions from such registrations, and that the Partnership's reliance upon such
 exemptions is predicated in part on the undersigned's representations to the Partnership as contained
 herein. The undersigned represents and warrants that all information provided concerning the
 undersigned Investor, its financial position, and his knowledge of financial and business matters is
 correct and complete as of the date set forth at the end hereof, and if there should be a change in such
 information prior to this subscription being accepted, it will immediately provide such changed
 information. The undersigned represents and warrants that the Units are being purchased for its own
 account and for investment and without the intention of reselling or redistributing the same, that he or
 it has made no agreement with others regarding any of the Units, and that its financial condition is
 such that it is not likely that it will be necessary to dispose of any of the Units in the foreseeable
 future. The undersigned further represents that it understands that it may not dispose of or transfer any
 of the Units in any manner without first obtaining (i) an opinion of counsel satisfactory to the
 Partnership that such proposed disposition or transfer lawfully may be made without the registration
 of the component parts of the Units for such purpose pursuant to the Act, as then amended, and
 applicable state securities laws, or (ii) such registrations (it being expressly understood that the
 Partnership shall not have any obligations to register the component parts of the Units.

         4.      The undersigned represents and warrants that it is a bona fide resident of, and is
 domiciled in, the State of California       and that the Units are being purchased it solely for its own
 beneficial interest and not as nominee for, or o►n behalf of, or for the beneficial interest of, or with the
 intention to transfer to, any other person, trust, or organization.

        5.      The undersigned is informed of the significance to the Partnership of the foregoing
 representations, and such representations are made with the intention that the Partnership will rely on
 them.

          6.     The undersigned, if other than an individual, makes the following additional
  representations and warranties that this Subscription Agreement and Letter of Investment Intent has
  been duly authorized by all necessary action on the part of the undersigned, has been duly executed by
  an authorized officer or representative of the undersigned, and is a legal, valid and binding obligation
  of the undersigned enforceable in accordance with its terms.

          7.      Manner in Which Title to the Units is to be Held. (Check one).
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                a)             Individual Ownership
                b)             Community Property
                c)             Community Property with Right of Survivorship
                d)             Joint Tenant with Right of Survivorship (both parties must sign)
                c)             Partnership
                               Tenants in Common
                g)             Corporation
                h)             Trust
                i)             Limited Liability Partnership

         S.      Indemnification. The undersigned agrees to indemnify and hold harmless, on demand,
 the Partnership, its directors, officers, managers, members, agents (including accountants and
 attorneys), employees, and each of their respective controlling persons, affiliates, successors, and
 assigns from and against all claims, allegations, liability, damages, losses, costs, and expenses
 (including reasonable attorneys' fees) which any of them may incur by reason of the failure of the
 undersigned to fulfill any of the terms or conditions of this Agreement, or by reason of any breach of
 the representations and warranties made by the undersigned herein or in any document provided by the
 undersigned to any of them.

        9.      General,

                (a)     The undersigned agrees that it may not, and will not, transfer or assign or agree
        to transfer or assign, any interest, right, or obligation in or under this Agreement,

               (b)    The undersigned agrees that the undersigned may not cancel, terminate or
        revoke this Agreement or any agreement of the undersigned made hereunder and that this
        Agreement shall survive the dissolution of the undersigned and shall be binding upon the
        undersigned's members, managers, administrators, successors, and assigns.

                 (c)    This Agreement constitutes the entire agreement among the parties hereto with
        respect to the subject matter hereof and may be amended only by a writing executed by all
        parties,

               (d)    This Agreement shall be deemed to be made under, and shall be construed in
        accordance with and shall be governed by, the laws of the State of Arizona.

                (e)     Within live (5) days after receipt of a written request from the Partnership, the
         undersigned agrees to provide such information and to execute and deliver such documents as
         may be reasonably necessary or helpful to comply with any and all laws and regulations to
         which this transaction is subject.

                (f)      The undersigned agrees that the undersigned shall not cancel, terminate, or
         revoke this Subscription Agreement or any agreement made hereunder by the undersigned,
         and that this Subscription Agreement shall survive the dissolution of the undersigned.
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                (g)    The undersigned agrees .thnt any controversy between the Partnership or the
       Management and the undersigned arising out of or related to the purchase or ownership of the
       units i ricludina but not limited to any claim based upon any securi ties law), shall be subject to
       binding arbitration in accordance with the rules of the American Arbitration Association,.

 FOR RESIDENTS OF ALL STATES;

         THE LINITS HAVE NOI BEEN ti_EGISTEILED UNDER THE ACT OR THE SECURITIES LAWS OF ANY
 STATE AND ARE BEING OFFERED AND SOLD IN RELIANCE ON EXERIPTICINS FROM THE REGISTRATION
 REQUIREMENTS OF THE A Cr AND SUCH LAWS. THESE SECURITIES ARE SUBJECT TO RESTRICTIONS
 ON TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED OR RESOLD EXCEPT AS PERM
 ITTED UNDER THE ACT AND SUCH LAWS PURSUANT TO REGISTRATION OR EXEMPTION THEREFROM.
 THESIE SECURITIES HAVE NOT BEEN APPROVED 1W DISAPPROVED DV THE SECURITIES AND
 ENC Fl ANGE. CommissinN, ANv STATE SECURITIES COMMISSION OR OTHER REGO .ATOR1-
 AUTHORITA NOR HAN E ANY OF THE FOREGOING AUTHORITIES PASSED UPON OR ENDORSED THE
 MERITS OF THE OFFERING OR TILE: ACCURACY OR ADEQUACY OF THE MEMORANDUM. ANY
 REPRESENTATION TO THE CONTRARY IS LrIN LAWFUL


 WHEN COMPLETED AND SIGN ED THIS SUBSCRIPTION AGREEMENT AND LETTER OF INVESTMENT
 INTENT AND THE SUBSCRIBER'S CHECK PAYABLE TO: DISTINCT REAL. ESTATE USA 2. I.P.

 ACCEPTED:
 Marcie Drozdz

 Ev.      .'1 i91                                             Date: 2;24;2021


           Director



 A GRF.ED TO   AND SUBMITTED THIS 24 DAY OF 2                            , 2021:


                                         Ilan Peker
                                         an Individual


                                                  Vim*gm! W


                                         BY:    it4"
                                                  60.,2,,,,
                                                      et       2,


                                                   ITS: owner
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                          EXHIBIT 5
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                                                                                             EDMONTON

  Pagivkina 140644                                              MORINVILLE
                                                                10201- 100th Avenue
                                                                P.O. Box 3025
                                                                                             200 West Tower
                                                                                             Coronation Plaza
                                                                                             14310 - 111 Avenue
   Barristers & Solicitors                                      Morinville AB, T8R 1R9       Edmonton, AB T5M 3Z7
                                                                Phone: (780) 939-2048

   Wayne K. Peterson (1956 - 2013)                                                           Phone: (780) 452-6300
   Mark W. Krochak Professional Corporation*                                                 Fax: (780) 452-4351
   Timothy D. Wallis**
                                                                                             Toll Free: 1-800-610-5850
                                                                                             E-Mail: office@pkfirm.ca

                                                                        Please Reply to: Edmonton Office
  Our File: 101,738 MWK

  August 23, 2021                                          Via Email: md@marcindrozdz.com

  1990781 Alberta Ltd.
  201, 16011 - 116 Avenue NW
  Edmonton, Alberta T5M 3Y1

  Attention: Marcin Drozdz

  Re:    Distinct Real Estate GP Inc. ("GP Corporation") and
         Distinct Real Estate GP 2 Inc. ("GP 2 Corporation")

  I am legal counsel to 1508632 Alberta Ltd. ("1508632") and 23044460 Ontario Limited
  ("23044460").

  I have been retained by my clients in connection with issues that have arisen under the terms of
  the Unanimous Shareholders Agreements of the Corporations acting as General partners to the
  similarly named Limited Partnerships ("DRELP" and "DRELP2").

  I am advised that the GP and GP 2 corporations must raise funds for the renovation and
  improvement purposes originally intended for increasing value and equity for the unit holders in
  the Limited Partnerships. I am also informed that you and/or your corporation ("1990781") are
  unwilling or unable to provide the funding or financing requirements for the purposes of the
  General Partnership role with respect to the limited partnerships.

  It is my opinion that under the terms of Article V of the Unanimous Shareholders Agreements for
  both GP and GP 2, you are in breach of the obligations to provide either the requisite funding or
  the financing guarantees and covenants required for the General Partnership to obtain the funds
  required for the purposes intended.

  As a result, I have been instructed to begin action in the Court of Queen's Bench using all
  remedies at my clients' disposal, including the terms of the Agreements, remedies available at
  Common Law and under the Alberta Business Incorporations Act to end your involvement in both
  GP and GP 2.



            *Peterson Krochak is a registered trade name of Mark W Krochak Professional Corporation
                                      **An Associate for the Practice of Law
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  Clearly, litigation may be an expensive process, and as a result, my client will be seeking full costs
  on solicitor and his own client full indemnity basis in the court proceedings.

  Given your recent history involving my clients, I can advise that they would prefer an amicable
  and expedient resolution to the issues. However, my clients require any resolution to be
  completed in short order to avoid any immediate or long-term effects to the value of the limited
  partnerships, or to the unit holders in those limited partnerships and the viability of the general
  partnership corporations.

  Please have your legal counsel contact me at your earliest possible convenience to attempt a
  more efficient resolution of these issues. I expect to file proceedings shortly, but have advised
  my clients to attempt one last effort through counsel. I must hear from you or your counsel within
  three (3) days of the receipt of this correspondence, failing which, I expect the opportunity to
  proceed amicably and expeditiously to be eliminated. I must stress the urgency with which my
  clients has instructed me to proceed.

  I look forward to hearing from you in the time limited.

  Yours truly,

  PETERSON KROCHAK


  Per:
  MARK W.           CHAK
  MWK/mav
  End.
  cc: Client




               *Peterson Krochak is a registered trade name of Mark W Krochak Professional Corporation
                                         *"An Associate for the Practice of Law
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                          EXHIBIT 6
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                                        #:114

Daniel B. Spitzer

From:                              Daniel B. Spitzer
Sent:                              Monday, September 27, 2021 1:06 PM
To:                                'phil@distinctiverealty.ca'; Gord Berger; Marcin Drozdz
Cc:                                'tzafrir.g@gmail.com'
Subject:                           Distinct Real Estate USA 2, LP Resolutions for Dissolution of Limited Partnership and
                                   Removal of General Partner
Attachments:                       2021-09-27 Partners Resolution for Dissolultion + Removal.pdf


Gentlemen –

As you are aware from prior communications with the USA partners of Distinct Real Estate USA 2, L.P., a Delaware
limited partnership (“the Partnership”), a meeting of the partners was convened this morning to consider whether to
resolve the Partnership and remove the General Partner. Although each of you was given notice of the meeting, none of
you chose to attend.

In attendance at the meeting, either via Zoom or by proxy, were the following:

        Mark van Bommel of Vibe FX, Inc.
        Ilan Peker
        Tsafrir Gerson
        Eran Gurvich
        Eduardo Menendez
        Anna Ostrovsky and Elad Gerson
        Michael Gousseau

These investors, representing well in excess of 51% of the Interests held by all partners in the Partnership, voted
unanimously to dissolve the Partnership and remove the General Partner.

I have been asked to forward you the attached Resolutions for Dissolution of Limited Partnership and Removal of
General Partner (“the Resolutions”), which will take effect as of 12:01 a.m. on October 12, 2021. Please note that the
Resolutions also impose immediate limitations on your ability to act on behalf of the Partnership. The Resolutions
furthermore require you to provide certain information to the partners on an immediate basis.

The partners are still hopeful that, within the next two weeks, prior to the time that the Resolutions take full effect, you
will be able to resolve the issues which have plagued the Partnership apparently right from the beginning. Previously,
the partners have offered to resolve matters on the following terms:

               Immediate payment to each of the partners the full amount of their respective investments, together
                with a ten-percent return on investment.
               The partners have been informed that, simultaneously with the repayment of the investments, as
                above, Marcin Drozdz will tender his resignation from his role as one of the General Partners.

I understand that this offer still stands. Of course, any final agreement will have to be memorialized in writing and
contain standard terms and conditions, including among others, a full and mutual release of claims. In addition, since
there is clearly a lack of trust among the various parties, we will have to establish an escrow or appoint a neutral third
party to manage the exchange of documents and monies.



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If you wish to discuss this matter further, please contact Tsafrir Gerson directly by email at tzafrir.g@gmail.com. The
partners have agreed that Mr. Gerson should be the conduit for all further communications with the General Partner.

Please guide yourselves accordingly.


Daniel B. Spitzer *
Law Offices of Daniel B. Spitzer
16311 Ventura Boulevard Suite 1200
Encino, California 91436-2152
Telephone 818-990-9700
Facsimile 818-990-9705
Email dspitzer@spitzeresq.com

* Certified Specialist – Legal Malpractice Law
  State Bar of California Board of Legal Specialization

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immediately. Thank you.




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                                       RESOLUTIONS FOR
                     DISSOLUTION OF LIMITED PARTNERSHIP AND
                             REMOVAL OF GENERAL PARTNER


        WHEREAS, the Partners of Distinct Real Estate USA 2, L.P., a Delaware limited
 partnership (“the Partnership”) have been unable to obtain basic information concerning the
 operations and finances of the Partnership, in spite of their repeated requests to the General Partner;
        WHEREAS, Distinct Real Estate USA GP 2, Inc., a Delaware corporation (“the General
 Partner”) has been unwilling or unable to perform its obligations due to dissension and deadlock
 among its shareholders, including among other things an inability to obtain financing for the
 completion of renovations and operation of the Partnership’s primary asset, the real property,
 buildings and improvements thereon located at 2295 Candlewyck Circle, Memphis Tennessee
 38114 (“the Property”), commonly known as Crane Manor Apartments;
        WHEREAS, the General Partner’s unwillingness or inability to perform its obligations
 under Article III of the Agreement of Limited Partnership (“Operating Agreement”) of the
 Partnership constitutes a material breach of the Operating Agreement;
         WHEREAS, pursuant to paragraphs 4.2 through 4.4 of the Operating Agreement, notice
 was duly given to all Limited Partners and the General Partner of a meeting to be held on
 September 27, 2021 at 12:00 p.m. EDT, certain of whom have waived the requirement of advance
 notice;
        WHEREAS, a quorum of the Partners holding a majority of the Interests in the Partnership
 was present at the meeting of the Partners on September 27, 2021; and
         WHEREAS, due to the disarray and dissension among the shareholders of the General
 Partner, the Partners have determined that, in order to preserve the value of their investment, the
 Partnership must be dissolved and its assets liquidated, and the General Partner must immediately
 be stripped of authority to act on behalf of the Partnership and removed as General Partner.
        NOW, THEREFORE, the following resolutions are adopted:
    1. Resolution for Dissolution of the Partnership.
                RESOLVED that, pursuant to Article IX of the Agreement of Limited Partnership
                of the Partnership, including without limitation paragraph 9.2(a) thereof, the
                Partners, representing a majority of the Interests held by all Partners in the
                Partnership, hereby vote to dissolve the Partnership.
                RESOLVED that this resolution for dissolution of the Partnership shall be effective
                on and as of 12:01 a.m. on October 12, 2021.




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              RESOLVED that due to the emergent circumstances that have prompted this action
              by the Partners, the Partners furthermore waive and suspend the requirements for
              advance notice set forth in paragraph 4.2 of the Operating Agreement.
    2. Resolution for Removal of General Partner.
              RESOLVED that, pursuant to Article III of the Operating Agreement of the
              Partnership, including without limitation paragraph 3.5(c) thereof, the Partners,
              representing a majority of the Interests held by all Partners in the Partnership,
              hereby vote to remove Distinct Real Estate USA GP 2, Inc., a Delaware corporation
              as the General Partner of the Partnership.
              RESOLVED that this resolution for removal of the General Partner shall be
              effective on and as of 12:01 a.m. on October 12, 2021.
              RESOLVED that due to the emergent circumstances that have prompted this action
              by the Partners, the Partners furthermore vote to waive and suspend the
              requirements for advance notice and the cure period set forth in paragraph 3.5(c) of
              the Operating Agreement.
              RESOLVED that from the adoption of this resolution for removal of the General
              Partner until 12:01 a.m. on October 11, 2021, the General Partner shall have no
              authority to act on behalf of the Partnership, and is instructed not to enter into any
              contracts, agreements or obligations, or take any action, on behalf of the Partnership
              or which will have the effect of binding the Partnership. The General Partner is
              furthermore instructed to make available to the Partners and turn over, immediately,
              copies of all books and records of the Partnership, including without limitation the
              following: (a) all rent rolls; (b) all bank statements; (c) all checks; (d) records of all
              disbursements by the Partnership; (e) any electronic records of the Partnership’s
              finances (for example, Quickbooks); (f) any agreements entered into on behalf of,
              or binding upon, the Partnership; (g) the names, contact information (telephone,
              facsimile, email addresses) and Interests held of all Partners.
    3. Resolution for Further Meeting to Elect Successor General Partner.
              RESOLVED that the Partners will meet again at 12:00 noon EDT on October 11,
              2021 (a) to elect a successor General Partner pursuant to paragraph 3.5(a) of the
              Operating Agreement; and (b) to consider the selection of a Liquidating Trustee
              under paragraph 9.3(a)(i) of the Operating Agreement.




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                           EXHIBIT 7
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                                AMENDED RESOLUTIONS FOR
                             REMOVAL OF GENERAL PARTNER


        WHEREAS, the Limited Partners of Distinct Real Estate USA 2, L.P., a Delaware limited
 partnership (“the Partnership”) have been unable to obtain basic information concerning the
 operations and finances of the Partnership, in spite of their repeated requests to the General Partner;
        WHEREAS, Distinct Real Estate USA GP 2, Inc., a Delaware corporation (“the General
 Partner”) has been unwilling or unable to perform its obligations due to dissension and deadlock
 among its shareholders, including among other things an inability to obtain financing for the
 completion of renovations and operation of the Partnership’s primary asset, the real property,
 buildings and improvements thereon located at 2295 Candlewyck Circle, Memphis Tennessee
 38114 (“the Property”), commonly known as Crane Manor Apartments;
        WHEREAS, the General Partner’s unwillingness or inability to perform its obligations
 under Article III of the Agreement of Limited Partnership (“Operating Agreement”) of the
 Partnership constitutes a material breach of the Operating Agreement;
        WHEREAS, on September 27, 2021 at 12:00 p.m. EDT, a duly-noticed meeting of the
 Partners took place, pursuant to paragraphs 4.2 through 4.4 of the Operating Agreement, with a
 quorum of the Partners holding a majority of the Interests in the Partnership present either via
 Zoom or by proxy;
         WHEREAS, at the September 27, 2021 meeting, Partners holding a majority of the
 Interests in the Partnership voted to dissolve the Partnership and liquidate its assets; to remove the
 General Partner; and to strip the General Partner of authority to act on behalf of the Partnership
 immediately,
        WHEREAS, pursuant to paragraphs 4.2 through 4.4 of the Operating Agreement, notice
 was duly given to all Limited Partners and the General Partner of a meeting to be held on October
 11, 2021 at 12:00 p.m. EDT, certain of whom waived the requirement of advance notice;
        WHEREAS, a quorum of the Partners holding a majority of the Interests in the Partnership
 was present at the meeting of the Partners on October 11, 2021,
        NOW, THEREFORE, the following resolutions are adopted:
    1. Amendment to Resolution for Removal of General Partner.
                RESOLVED that the resolution for removal of the General Partner adopted on
                September 27, 2021 is hereby ratified, subject to the amendment stated herein,
                RESOLVED that the resolution for removal of the General Partner adopted on
                September 27, 2021 shall be effective on and as of 12:01 a.m. on December 28,
                2021.


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              RESOLVED that due to the emergent circumstances that have prompted this action
              by the Partners, the Partners furthermore vote to waive and suspend the
              requirements for advance notice and the cure period set forth in paragraph 3.5(c) of
              the Operating Agreement from September 27, 2021 through and including as of
              12:01 a.m. on December 28, 2021.
              RESOLVED that from the adoption of this amended resolution for removal of the
              General Partner until 12:01 a.m. on December 28, 2021, the General Partner shall
              have no authority to act on behalf of the Partnership, and is instructed not to enter
              into any contracts, agreements or obligations, or take any action, on behalf of the
              Partnership or which will have the effect of binding the Partnership. The General
              Partner is furthermore instructed to make available to the Partners and turn over,
              immediately, copies of all books and records of the Partnership, including without
              limitation the following: (a) all rent rolls; (b) all bank statements; (c) all checks; (d)
              records of all disbursements by the Partnership; (e) any electronic records of the
              Partnership’s finances (for example, Quickbooks); (f) any agreements entered into
              on behalf of, or binding upon, the Partnership; (g) the names, contact information
              (telephone, facsimile, email addresses) and Interests held of all Partners; and (h)
              documentation (including any promissory note(s), mortgage, deed of trust or other
              evidence of indebtedness) relating to a purported $1,200,000 debt of the
              Partnership.
    2. Resolution for Further Meeting to Elect Successor General Partner.
              RESOLVED that the Partners will meet again at 12:00 noon EDT on December 28,
              2021 (a) to elect a successor General Partner pursuant to paragraph 3.5(a) of the
              Operating Agreement; and (b) to consider the selection of a Liquidating Trustee
              under paragraph 9.3(a)(i) of the Operating Agreement.




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                           EXHIBIT 8
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                                 DISTINCT
                A                 REAL         ESTATE            GROUP




                     DISTINCT REAL ESTATE USA 2 LP.
                               MONTHLY FINACIAL REPORT

                                        August 31, 2021

                             (Unaudited - Expressed in US Dollars)




                                      Notice of No Auditor Review
   This monthly report has been prepared by management with no review by external parties.
  Specifically, no independent auditor review or audit was conducted on the information included
                                            in this report




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 Distinct Real Estate USA 2 LP.
 Monthly Financial Report
 Statement of Financial Position
 (Unaudited - Expressed in US Dollars)


                                                         August 31
                                                    P      2021


 ASSETS
 Current assets
     Cash and cash equivalents                       $      130,420
     Reserve for renovations                                 44,012
     Due From USA LP                                        164,866
     Due from related parties                                  5,516
     Due from USA LP
                                                            344,813


 Property under development                                  76,927
 Rental property - building                                2,364,988
 Rental property - land                                      761,000
 Total assets                                        $     3,547,729


 LIABILITIES
 Current liabilities
     Accounts payable and accrued liabilities        $       26,255
                                                             26,255
 Long-term liabilities
     Note Payable                                          1,350,000
 Total liabilities                                         1,376,255
 SHAREHOLDERS' EQUITY
     Contributed Capital                                   2,176,530
     Deficit                                                  (5,057)
 Total shareholders' equity                                2,171,474
 Total liabilities and shareholders' equity          $     3,547,729




                                                2
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 Distinct Real Estate USA 2 LP.
 Monthly Financial Report
 Statement of Profit/(Loss)
 (Unaudited - Expressed in US Dollars)


                                                 For the Month    For the Year-to-
                                                     ended          date ended

                                             August 31, 2021      August 31, 2021
 Rental and other income                     $        34,253      $       156,418

 Expenses
    General and administrative                            7,841            28,885
    Professional fees                                     4,405            49,120
    Property Administration                               7,305            16,961
    Insurance                                                              21,963
    Utilities                                             1,013            12,211
    Wages                                                11,261            32,335
 Total Expenses                                          31,824           161,474


 Net loss                                    $            2,429   $         (5,057)




                                         3
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 Distinct Real Estate USA 2 LP.
 Monthly Financial Report
 Statement of Cash Flows
 (Unaudited - Expressed in US Dollars)


                                                         For the year to date
                                                          ended August 31
                                                         V

                                                                2021
 Cash provided by (used in):

 Operating activities
     Net and comprehensive loss for the period           $             (5,057)
     Non-cash working capital items
         Renovation Reserve                                         (44,012)
         Due from USA LP                                           (164,866)
         Other current assets                                        (5,516)
         Accounts payable and accrued liabilities                    26,255

 Net cash (used in) operating activities                           (193,195)

 Investing activities
     Expenditures on property development                           (76,927)
     Purchase of rental property                                 (3,125,988)

 Net cash (used in) investing activities                         (3,202,915)

 Financing activities
      Investor capital contributions                              2,176,530
      Note payable                                                1,350,000
 Net cash provided by (used in) financing activities              3,526,530

 Change in cash and cash equivalents during the period              130,420

 Cash and cash equivalents, beginning of the period

 Cash and cash equivalents, end of the period            $          130,420




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                           EXHIBIT 9
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Daniel B. Spitzer

From:                              Phil Wazonek <phil@distinctiverealty.ca>
Sent:                              Wednesday, October 13, 2021 7:08 AM
To:                                Daniel B. Spitzer; Gord Berger; Gordon Berger; Tsafrir Gerson
Cc:                                Elad Gerzon; Anna Ostrovsky; Ilan Peker; Eduardo Menendez; Mark van Bommel; eran
                                   gurvich; mgousseau@mailbox.org; md@marcindrozdz.com
Subject:                           RE: Distinct Real Estate USA 2, L.P., a Delaware limited partnership
Attachments:                       PSA (FullySigned).PDF


Mr. Spitzer

There seems to be some misunderstanding about the original financing of Crane Manor. To avoid further confusion, I am
attaching a copy of the purchase agreement, which discloses an overall purchase price of $3,150,000, payable as to
$1,800,000 in cash and an assumption of a previous mortgage to a maximum amount of $1,350,000. (all dollars USD)

Marcin Drozdz told Gordon and myself that this was disclosed to Eran Gurvitz before he (or any other investors)
invested.

We have instituted litigation to reduce the purchase price on the basis that the outstanding mortgage may
be considerably less than $1,350,000. I am at a loss to understand where anyone could conclude there has been any
misrepresentation in this regard.

I am also taking the opportunity to confirm that neither myself nor Gordon Berger nor Marcin Drozdz have taken
any fees or salary from either the Canadian or the US limited partnership.


As to the partnership structure let me clarify as follows:

1. Class D units were subscribed by the Canadian limited partnership which is funded by a number of Canadian investors
, some of whom are well known to your client.

2. There are American and Canadian resident investors. The Canadian residents invested through the Canadian LP. To be
clear, there are two classes of units, two groups of limited partners. One group is represented by the Canadian general
partner on behalf of the Canadian partners. That partnership holds the Class D units representing 58% of the equity. The
other is the group of investors who are listed in the US partnership agreement, who hold the remaining 42%.

3. Having a meeting of only the US limited partners, as I have stated and restated, does not include all the limited
partners.

4. In short order we will call a meeting of ALL limited partners and your client to answer all questions.

5. Given these disclosures we are still mystified at any allegations that there has been any material breach of its
obligations that would call for removal of the General Partner.

6. Regardless, our goal is to refinance the property as quickly as possible. I am in discussion with a number of lenders
and am advancing towards a term sheet with one of them.

7. Once we have the term sheet Mr. Berger will be in a position to close with a new group of investors who intend to
purchase the units held by the group of investors, including your client.
                                                             1
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8. You can appreciate that if litigation is instituted all our prospective lenders will walk away and there will be no
opportunity to satisfy your client's requests to be bought out.

9. Consequently we are asking you to defer institution of any legal action for the time being. We cannot say precisely
when the financing will fall into place but we have every expectation it will be in the next 90 days.

As I told your client in an email yesterday, we will answer his other questions in short order. Though I will let you know
immediately that Canadian privacy rules prevent me from providing contact information for any of our
Canadian investors without their written consent.



Phillip Wazonek
phil@distinctiverealty.ca
Phone: 403-209-0009
Cell: 403-819-5449
Fax: 403-209-0029
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message and any attachments from your system.




From: Daniel B. Spitzer <dspitzer@spitzeresq.com>
Sent: October 12, 2021 6:07 PM
To: Phil Wazonek <phil@distinctiverealty.ca>; Tsafrir Gerson <tzafrir.g@gmail.com>; Gord Berger
<gberger555@gmail.com>
Cc: Elad Gerzon <elad.gerson@gmail.com>; Anna Ostrovsky <aostrovsky01@gmail.com>; Ilan Peker
<pekerilan@gmail.com>; Eduardo Menendez <emenendezavila@gmail.com>; Mark van Bommel
<m.vanbommel@vibefx.ca>; eran gurvich <erangurvich@yahoo.com>; mgousseau@mailbox.org;
md@marcindrozdz.com
Subject: RE: Distinct Real Estate USA 2, L.P., a Delaware limited partnership

Mr. Wazonek –

I have received and reviewed your response and find it wholly lacking, both in substance and in candor.

As to the quorum, on the one hand, you have refused to furnish my client and his co-investors with the contact
information for all the other investors, including the Class D investors. On the other hand, you now claim that the group
of investors who have voted to oust the General Partner due to a material breach and to dissolve the Partnership don’t
hold a sufficient number of votes to establish a quorum. I’m afraid you can’t have it both ways.

Our information is quite to the contrary. Our collective understanding is that the investors who attended the meeting on
September 27, 2021, and passed resolutions dissolving the Partnership and starting the clock running on the ouster of
the General Partner, comprised a quorum, defined as “Partners holding a majority of the Interests in the Partnership
entitled to vote at any meeting of the Partners.” Operating Agreement, para. 4.6.

As to the financial information, what you furnished to the Limited Partners is wholly insufficient. I won’t repeat the
request for financial information I sent out earlier; suffice it to say that profit-and-loss statements and a balance sheet
showing financial activity for the single month of August 2021 doesn’t begin to respond to my client’s and his co-
investors’ demands for financial data. Among other things, my client wishes to see what monies have been paid to the
General Partner. One item deserves special mention. As I noted in my previous communications, the fact that the
Partnership was burdened with a purported $1,350,000 priority obligation was never disclosed to any of the Limited
Partners prior to their investments, does not appear in any of the promotional materials, and does not even appear as a
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bona fide lien on the Crane Manors property. It is clear that this fraudulent, material omission took place in connection
with the sale of a security and that the promoters and the Partnership bear liability for this fraudulent misconduct.

Based on your response to the demands of my client and his co-investor for information (to which they are clearly
entitled) and for curing the material breach of the General Partner (for failure and/or inability to proceed with
renovation of the Property), it is clear that you cannot, or will not, perform the functions of a General Partner. It has also
become clear that your sole interest lies in furthering your own financial interests, not in acting for the benefit of the
Partnership. As a consequence, my client has instructed me to commence legal proceedings forthwith in order to
preserve the value of the Partnership and, in connection therewith, to seek damages and restitution from the General
Partner for its fraud and breaches of fiduciary duties, among other applicable claims.

If you wish to discuss this matter, you can reach me at the office or by email. Otherwise, the next communication you
receive from my office will likely be the service of process, once legal action has been commenced.

Please guide yourselves accordingly.

Daniel B. Spitzer *
Law Offices of Daniel B. Spitzer
16311 Ventura Boulevard Suite 1200
Encino, California 91436-2152
Telephone 818-990-9700
Facsimile 818-990-9705
Email dspitzer@spitzeresq.com

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immediately. Thank you.


From: Phil Wazonek <phil@distinctiverealty.ca>
Sent: Tuesday, October 12, 2021 7:15 AM
To: Daniel B. Spitzer <dspitzer@spitzeresq.com>; Tsafrir Gerson <tzafrir.g@gmail.com>; Gord Berger
<gberger555@gmail.com>
Cc: Elad Gerzon <elad.gerson@gmail.com>; Anna Ostrovsky <aostrovsky01@gmail.com>; Ilan Peker
<pekerilan@gmail.com>; Eduardo Menendez <emenendezavila@gmail.com>; Mark van Bommel
<m.vanbommel@vibefx.ca>; eran gurvich <erangurvich@yahoo.com>; mgousseau@mailbox.org;
md@marcindrozdz.com
Subject: RE: Distinct Real Estate USA 2, L.P., a Delaware limited partnership

Mr. Spitzer

Your clients are aware there is a Canadian limited partnership. For your information that partnership, a signatory to the
limited partnership agreement, holds Class D limited partnership units representing ~58% of the
limited partnership equity and voting interests in the US partnership.

Perhaps you might like to re-read the limited partnership agreement with that pertinent fact in mind.

The Canadian limited partnership has not waived notice of this meeting, has not been properly notified within the
required delays, and so that there not be the slightest degree of doubt; objects to the holding of this meeting, and must
consult its constituent partners before taking any decisions on a vote.

                                                               3
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A properly constituted meeting of the US limited partnership will be conducted in short order at which time your clients
will be entitled both to their say and to their vote.

As to the assertion that information is being withheld from the investors, two information letters were sent to all
investors in the Crane Manor project, as noted in below emails, on September 27th and October 7th, 2021.

From: Investor Relations <investors@distinctrealestatelp.com>
Sent: October 7, 2021 8:46 AM
To: Investor Relations <investors@distinctrealestatelp.com>
Subject: Crane Manner Financials

Good morning,
      We have attached our current updated financial report for Crane Manner. As we have previously mentioned, things are going
very well at Crane, rents are increasing every month and we are in the middle of finalizing a financial package that will allow us to
complete the renovations of the remaining units at Crane Manner.

Please note that once we secure financing for Crane Manner, we will be paying out the preferred return to all investors as planned.

If you have any questions, please don’t hesitate to contact us.

Thank you,

From: Investor Relations <investors@distinctrealestatelp.com>
Sent: September 27, 2021 9:04 AM
To: Investor Relations <investors@distinctrealestatelp.com>
Subject: Whispering Pines Update

Good morning,
     Attached please find an update letter on our Whispering Pines project. You can reply to this email directly with any questions.

Thank you,



                                                           Tera Patterson
              DISTINCT
                        ESIA1E GPOuP                       Investment Administrator
                                                           Office:1.833.247.3687

                                                           Email: investors@distinctrealestatelp.com
                                                           Website: www.distinctrealestatelp.com


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and additional information and, where appropriate, seek independent professional advice. Distinct Real Estate LP, Distinct Real Estate USA LP, its
subsidiaries and affiliates, are not responsible in any mannerfor direct, indirect, special or consequential damages however caused arisingfrom
your use of this correspondence and the information containedherein.




Phillip Wazonek
phil@distinctiverealty.ca
Phone: 403-209-0009
Cell: 403-819-5449
Fax: 403-209-0029
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From: Daniel B. Spitzer <dspitzer@spitzeresq.com>
Sent: October 11, 2021 5:51 PM
To: Phil Wazonek <phil@distinctiverealty.ca>
Cc: gberger555@gmail.com; md@marcindrozdz.com; pekerilan@gmail.com
Subject: Distinct Real Estate USA 2, L.P., a Delaware limited partnership

Mr. Wazonek -

My name is Daniel B. Spitzer and my law office represents Ilan Peker, one of the group of investors who were collectively
induced to invest in Distinct Real Estate USA 2, L.P., a Delaware limited partnership ("Partnership").

I read with interest your email of October 9, 2021.

Indeed, it brought to mind a Talmudic aphorism. A jar stuffed full of coins will rattle imperceptibly when shaken. By
contrast, a jar with a single coin inside will, when shaken, make a huge rattle. The point is that empty-headed
statements often sound the loudest, but have little of substance to back them up.

Which brings me back to your email.

The group of investors is confident that the steps taken thus far are within the authority granted them under the the
Agreement of Limited Partnership (“Operating Agreement”) governing the Partnership's affairs. The meetings of the
Limited Partners were called pursuant to Sections 4.2 and 4.4 of the Operating Agreement; the vote to remove the
General Partner was taken pursuant to Section 3.5 of the Operating Agreement. All appropriate steps have been taken,
strictly in accordance with the terms of the Operating Agreement.

In your email, you indicate that a "Canadian limited partnership ... is the majority limited partner of the Partnership." At
the time my client invested in the Partnership, he was furnished with a copy of the Operating Agreement containing a
Schedule B which enumerates all of the limited partnership interests in the Partnership. Of those enumerated Limited
Partners, a clear quorum acted on September 27, 2021 to dissolve the Partnership and to declare that the General
Partner has materially breached its obligations, starting a 90-day period during which the General Partner has the ability
to cure its numerous breaches which include, among other things, the failure to proceed with renovations of the
Property, the failure to disclose to the Limited Partners the full extent of the indebtedness of the Partnership and the
failure even to furnish to the Limited Partners, as demanded, contact information for all of the other Limited Partners.

If, however, you are correct, that a Canadian limited partnership indeed holds a majority interest as a Limited Partner in
the Partnership, then I am afraid that you, as General Partner, are hoisted on your own petard. This material fact was
obviously and palpably withheld from my client, among the other investors. And the vaunted right to remove the
General Partner is therefore illusory, since it is controlled by the General Partner, yet another fraudulent
misrepresentation.

At the time my client and certain of the other Limited Partners agreed to invest, they were furthermore not informed
that the General Partner was unable to proceed with the promised renovations due to its own internal squabbles and
dysfunction. I have been furnished with communications from you and Gord Berger begging the Limited Partners to
pressure Marcin Drzodz to resign from his position with the General Partner, claiming that his presence makes it
impossible to obtain the capital necessary to renovate the Property -- a clear admission that the General Partner is
unable to perform one of the key tasks enumerated in the promotional materials furnished to the investors. The
investors were also not informed that the Partnership is burdened with an indebtedness of $1,350,000, the nature of
which is clouded in mystery. In spite of their repeated demands for complete and transparent financial information as to
the operations of the Partnership, the Limited Partners have been furnished with incomplete and unaudited financials
for one month only and have never seen a copy of a note or evidence of the $1,350,000 indebtedness.

The response of the General Partner to their demands is simply and categorically unacceptable.
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The Resolutions passed by the Limited Partners have stripped the General Partner of authority to enter into long-term
commitments or contracts that will burden the Partnership. During the 90-day "cure" period (a misnomer, to be sure,
since it's clear the General Partner has no intention of curing anything), the Limited Partners nevertheless expect and
demand that the General Partner will take all steps to insure that the normal, day-to-day operations of the Partnership
continue to be conducted.

Let me be clear. The Limited Partners have no intention of simply sitting on their hands for 90 days. They have tried to
be cordial and accommodating, but they have been met repeatedly with a poke in the eye, the latest of which is your
October 9, 2021 email. If the General Partner continues to lie to them and ignore their demands (for, among others,
complete financial information, contact information for all Limited Partners and evidence of the $1,350,000
indebtedness), or if the General Partner takes steps which we believe will imperil the financial viability of the
Partnership, our next step will be to file suit and seek the appointment of a receiver.

This is not the first in a series of demands. My client and his co-investors are deadly serious about making certian that
their investment is protected. They have now put in place the steps necessary to remove the major impediment to the
success of this venture, namely, the General Partner. If you and the other directors of the General Partner cannot do the
job, then you will have to get out of the way, either voluntarily or not.

I urge you to take all steps necessary to cure the material breaches noted in the September 27, 2021 Resolution and the
amendment which is coming before the Limited Partners in a follow-up meeting to be convened shortly.

Nothing contained in this email is intended, or shall be construed, as a waiver or relinquishment of any right of my
clients. Nor shall any statement contained herein be construed as an admission of any fact or matter whatsoever.

Please guide yourself accordingly.

Daniel B. Spitzer *
Law Offices of Daniel B. Spitzer
16311 Ventura Boulevard Suite 1200
Encino, California 91436-2152
Telephone 818-990-9700
Facsimile 818-990-9705
Email dspitzer@spitzeresq.com

* Certified Specialist – Legal Malpractice Law
  State Bar of California Board of Legal Specialization

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intended only for the use of the individual or entity to which it is addressed. Unauthorized use, distribution, or copying of
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immediately. Thank you.




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                                   PURCHASE AND SALE AGREEMENT


         THIS     AGREEMENT isismade
          THISAGREEMENT              madethisthis18th
                                                  18thday
                                                       dayof
                                                           ofJanuary
                                                              January2021
                                                                      2021("Effective
                                                                            ('Effective Date")
                                                                                          Date,') between
                                                                                                   between
  Crane
   CraneManor     Apartments,LLC,
         ManorApartments,     LLC, ("Seller"),
                                      ("Seller"), and
                                                   andDistinct
                                                       Distinct Real
                                                                RealEstate
                                                                     EstateUSA
                                                                            USALP,   or  related assignee
                                                                                  Lp, or related assignee
   ("Buyer")' Buyer
  ("Buyer").   Buyerreserves
                       reseryesthe
                                theright
                                    righttotoassign
                                               assignthis
                                                      thisAgreement
                                                          Agreementto toanother
                                                                          anotherlegal
                                                                                  legal entity
                                                                                         entityatatits
                                                                                                    itssole
                                                                                                        sole
  and
   andabsolute
       absolute discretion.
                 discretion.

                                                WITNESSETH:
                                                WITNESSETH:

          For good
         For   good and
                     and valuable
                            valuable consideration,
                                      consideration, thethe receipt
                                                             receipt and
                                                                      andsufficiency   of which
                                                                          sufficiency of  whichare
                                                                                                are
  acknowledged
   acknowledged by
                 bySeller
                    Seller and
                            andBuyer,
                                Buyer,the
                                       the parties
                                            partiesagree:
                                                    agree:

                                                   ARTICLE
                                                   ARTICLE ONE
                                                             ONE
                                                    DEFINITIONS
                                                    DEFINITIONS

            The
            The following
                 follo'wing terms
                             terms as
                                    asused
                                       usedin
                                            in this
                                                this Agreement
                                                     Agreement shall
                                                                shall have
                                                                       havethe
                                                                            the meanings
                                                                                meanings ascribed
                                                                                          ascribed to
                                                                                                    to them
                                                                                                        them
     ,
  ,Delow:
  below:

           1'1 "Escrow
          1.1      "Bscrow Agent".
                            Agent". Apperson
                                    Apperson Crump
                                              Crump PLC,
                                                      PLC, Attention
                                                            Attention Mr.
                                                                       Mr. Joseph
                                                                            Joseph Aldridge
                                                                                   Aldridge isis who
                                                                                                 who
  shall hold the earnest money deposit hereunder pursuant to Section 3.1.
   shall hold the earnest money deposit hereunder pursuant to Section 3. L

             1.2 "Leases".
            1.2   'oleases". Leases
                             Leases for
                                     for space
                                          space in
                                                 in the  project with
                                                     the Project with tenants.
                                                                       tenants.

            1'3 "Personal
           1.3       "Personal Property".
                                  Proper|y". All    of Seller's
                                               A11 of  Seller's right,
                                                                 right, title,
                                                                         title, and
                                                                                 and interest
                                                                                      interest in
                                                                                                in and
                                                                                                    and to
                                                                                                         to all
                                                                                                             ali furniture,
                                                                                                                  fumiture,
  fixtures,                   inventory, equipment,
              fumishings, inventory,
   fixtures, furnishings,                   equipment, vehicle(s),
                                                          vehicle(s), supplies,
                                                                          supplies, leases
                                                                                        leases acceptable
                                                                                                 acceptable to   to Buyer,
                                                                                                                     Buyer,
  books,   records, accounts,
   books, records,     accounts, acceptable
                                   acceptabie service
                                                service contracts, Aepbiits and other proprietary interests
                                                          contracts,   deposits    and    other   proprietary      interests
  regarding
   regarding the
               the Property
                     Property and
                                and other
                                      other personal
                                            personal property
                                                        property located
                                                                    located on on or
                                                                                   or used
                                                                                        used in
                                                                                              in connection
                                                                                                  connection with  with the
                                                                                                                         the
  Property
   Property and
              and the
                    the Project;
                          Project; all
                                   all plans,
                                        plans, drawings,    permits, governmental
                                               drawings, peiwits,       governmental authorizations,
                                                                                            authorjzations, contracts,
                                                                                                                  conrracrs,
  documents,
   documents' surveys,
                 surveys, site
                            site plans,
                                 plans, engineering
                                         engineering reports,
                                                        reports, soil
                                                                  soil and    environmental studies,
                                                                       and environmental         studies, manufacturer
                                                                                                           manufacturer
   warranties and all other tangible and intangible personal propefiy located on,
  warranties    and   all other  tangible  and   intangible   personal     property     located    on, pertaining
                                                                                                       pertaining to   to or
                                                                                                                          or
  arising
   arising out
           out of
                of the
                    the ownership
                         ownership oror operation
                                         operation of  the Real
                                                    ofthe          property
                                                            Real Property and  and the    project.
                                                                                    ihe Project.

            1,.4 "Project".
           1.4     "Project"' That
                               That certain
                                     certain apartment
                                             apartment complex
                                                       complex located   on the
                                                                located on   the Real propery atat2271
                                                                                 Real Property    2271
  Airways
  Airways Boulevard,
             Boulevard, Memphis
                          Memphis TN TN 38114,
                                          38114, Memphis,
                                                  Memphis, Tennessee,
                                                           Tennessee, being
                                                                        being known
                                                                               known asas Crane
                                                                                          Crane Manor
                                                                                                 Manor
  Apartments
  Apartments andand more
                     more particularly
                            particularly described
                                         described on
                                                   on Exhibit
                                                       Exhibit A, attached. the
                                                               A, attached.  The Project
                                                                                  trolect contains 178
                                                                                          contains  l7g
  units
  units including
         inciuding an
                    an office.
                       office.

            1'5 "Property".
            1.5             All of
                "Property". All of the
                                   the Real
                                       Real Property
                                            Property and      personal Property.
                                                          the Personal
                                                     and the           property.

            1'6 "Real
           1.6     "Real Property".
                         Property"' The
                                    The Real
                                        Real Property
                                             Properly located in Shelby
                                                      iocated in Shelby County,
                                                                        County, Tennessee
                                                                                Tennessee and
                                                                                          and
   legally described on Exhibit A.
   legally described on Exhibit A.
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                                                ARTICLE TWO
                                                ARTICLE  TWO
                                              SALE
                                              SALE OF
                                                   OF PROPERTY
                                                      PROPERTY

         2.12.1  Subject
                 Subject tO
                          tb the
                              the terms
                                   terms and
                                          and provisions
                                              provisions herein
                                                         herein contained,
                                                                contained, Seller
                                                                           Seller agrees
                                                                                  agrees to
                                                                                          to sell
                                                                                              sell to
                                                                                                    to Buyer
                                                                                                       Buyer
   and Buyer agrees
   and Buyer agrees to
                     to puirase
                        purfhase the    property from Seller.
                                    the Property from  Seller

                                                ARTICLE THREE
                                                ARTICLE THREE
                                                PURCHASE PRICE
                                                PURCHASE PRICE

             3'1 Price.
            3.1       lrice. TT$ee total
                                    total purchase  price to
                                          purchase price   to be
                                                              be paid
                                                                 paid for
                                                                       for the
                                                                            the Property
                                                                                Properfy shall
                                                                                          shall bebe Three
                                                                                                      Three Million
                                                                                                              Million
    One Hundred
   One   Hundred and       Fifty Thousand
                     and Fifty    Thousand andand No/100
                                                  No/100 Dollars
                                                             Dollars ($3,150,000.00)
                                                                      ($3,150,000.00y (the
                                                                                         ltfr" "Purchase
                                                                                                "purchase     price,,),
                                                                                                              Price"),
   payable as
   payable        follows: Bu
              as follows:     Bu$'er  to pay
                                 per to   pay One  Million Eight
                                              One Million     Eight Hundred
                                                                    Hundred Thousand
                                                                                 Thousand and      No/I00 Dollars
                                                                                             and No/100       Dollars
    ($1'800,000'00) in
   ($1,800,000.00)       in cash
                            cashat
                                 at the
                                          !1me
                                               of
                                     th9 time of  closing
                                                  closing and
                                                            and purchase
                                                                 purchase the    property subject
                                                                             the property   subject   to
                                                                                                       to aa potential
                                                                                                             potential
    liability not
   liability       to exceed
              not to    exceed one      Million Three
                                 One Million    Three hundred
                                                        hundred and      Fifty ($1,350,000.00)
                                                                   and Fifty                         ttourand and
                                                                                (Sf,:SO,OOO.OO; Thousand           and
   No/100
   No/100 Dollars.
             Dollars.

             3,2 Deposit.
            3.2        Deposit. As As aa good
                                         good faith
                                              faith deposit,
                                                     deposit, Buyer
                                                              Buyer shall
                                                                     shall deposit
                                                                           deposit Fifty
                                                                                     Fifty Thousand
                                                                                           Thousand andand No/100
                                                                                                            No/100
   Dollars    ($50,00cr)  with
    Dollars ($50,000) with pperson Crump
                                 $nRerson
                                             Crump PLCPLC Escrow
                                                            Escrow Agent    *ittin five
                                                                    Agent within    Rveis)
                                                                                         (5) business
                                                                                              business days
                                                                                                        days of
                                                                                                              of the
                                                                                                                  the
   Effective    Date. In
    Effective Date.      In the
                            the vent Buyer
                                 {vent
                                         Buyer fails
                                                fails to
                                                      to deposit
                                                         deposit such
                                                                  such amount    with
                                                                       amount with     Escrow
                                                                                       Escrow    Agent
                                                                                                 Agent   within
                                                                                                         within  the
                                                                                                                 the
   time specified,
   time                 lhis Ag
          specified, lhis           ement shall
                             Agr]eement     shall be  null and
                                                  be null       void. The
                                                            and void.   The deposit
                                                                              deposit specified
                                                                                        specified herein
                                                                                                   f,erein shall
                                                                                                           shall bebe
   refundable
   refundable to     lltryer dur
                 to Buyer          ng the
                              during   the Due
                                           Due Diligence
                                                Diligence Period,
                                                            Period, as
                                                                    as specified
                                                                       specified inin Section
                                                                                      Section 4.1   below.   In
                                                                                                4.1 below. In thethe
   event    Buyer does
    event Buyer            not erminate the
                    doers not                the Agreement
                                                  Agreement during
                                                               during the
                                                                       the Due
                                                                            Due Diligence      period, the
                                                                                  Diligence Period,     the deposit
                                                                                                            deposit
                                ferminate                                                                 purchase
   shall
    shall be
          be non-refundable
              non-refundable nd released to
                                  {nd           to Seller.
                                                    Selier. The
                                                            The  deposit
                                                                 deposit shall
                                                                         shall be
                                                                                be .r.dit.d
                                                                                   credited  toward
                                                                                             toward   the
                                                                                                      the Purchase
    Price at
   Price   at Closing.
              Closing.


                                                 ARTICLE FOUR
                                                          FOUR
                                                 DUE DILIGENCE
                                                 DUE DILIGENCE

           4.1 Due
          4.1           Dili nce
                   Due Dili   ncercriod.
                                  Period. (the
                                           (the "Due
                                                "Due Diligence      period") Buyer
                                                       Diligence Period")    Buyer has thirty
                                                                                        thirty (30)
                                                                                               (30) days
                                                                                                    days to
                                                                                                         to
   complete
   corrplete the due diligen
             the due diligen e: period.      will include
                                period. This will include all
                                                            all inspections
                                                                inspections of
                                                                            of the
                                                                               the property, order
                                                                                              order and
                                                                                                    and
   review
   review of  any reports an inspection
          of any              inspection of books and
                                          ofbooks   and records.

           4.2 Access
          4.2     A          coordination. Seller
                         an Coordination.    Selier shall
                                                    shall grant access
                                                                access to the  property for
                                                                          the Property  for Buyer and
                                                                                                  and
   Buyer's agents
   Buyer's agents and
                  and contr
                      con ctors
                             tors to
                                  to conduct
                                     conduct such
                                             such investigations
                                                   investigations as
                                                                  as Buyer
                                                                      Buyer instructs.
                                                                             instructs. Buyer
                                                                                        Buyer shall
                                                                                              shall
              and inform S ller
   coordinate and               ofany
                            ler of any access                 property.
                                       access needed to the Property.

           4.3     Indemnifi :ation.
                              ation. Buyer shall
                                           shall indemnify and
                                                             and hold Seller
                                                                      Seller harmless from any
   injuries or damage
               damag,e result ng from
                                 fi'om Buyer's inspections,
                                               inspections, including
                                                            including the
                                                                      the actions
                                                                          actions of Buyer's agents
                                                                                             agents
   and
   and contractors.
        contractors.

           4.4     Documen ation. Seller shall
                                            shall provide operating statements
                                                                       statements and rent rolls for the
   Property asas well as
                      as other ocuments
                                      nts relating to the Property  in Seller's
                                                                        seller's possession
                                                                                 possession as
                                                                                            as Buyer
                                                                                                Buver may
                                                                                                      mav
   request.
           4.5
           T.J                 ncel. Should
                   Ri ht to Cancel.  should Buyer deem the property unacceptable
                                                                           unacceptable Buyer will give
   written notice to the Escr ww agent on or before the end of the Due Diligence Periodperiod as
                                                                                               as per
   Section 4. Upon receipt f said
                               said notice  Escrow   Agent  will refund   the Earnest Money Deposit to
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          IfBuyer
  Buyer. If
  Buyer.                                                                                 period
            Buyer does no terminate the escrow on or before the end of the Due Diligence Period
  as per Section 4,
                 4" Escrow
                    Escro Agent shall release the Earnest Money Deposit to Seller.
                                                                            Seller.



                                                         FIVB
                                                 ARTICLE FIVE
                                                    TITLE

          5.1 The
          5.1     'Ihe Real roperty
                              'opefiy shall be conveyed by general warranty deed in Tennessee form
                       foll ing:
  subject only to the folloi  lg:

          A.       Real esta e taxes for the year in which the
                                         the year          the closing shall
                                                                       shail occur which are
                                                                                         are not yet
                   due and p dyable.
                               able.

          B.
          B.       Zoning ar d/or
                               or restrictions and prohibitions              governmental authorities,
                                                   prohibitions imposed by governmental    authorities,
                        of w ichh shall prevent use of the Real Property
                   none of                                      Properly as an apartment complex.
                                                                                         complex.

          C,.
          C        Restrictio                                                  public Records of Shelby
                                s,, reservations and easements recorded in the Public
                   County,
                   County,      ennessee,
                                ennessee, subject   to approval
                                            subject to          by Buyer,
                                                       approval by  Buyer, none    which shall interfere
                                                                           none of which        interfere
                   with the
                   with          se  of the
                                 se of  the Real            for its
                                                  Property for
                                             Reai Property      its intended          or render
                                                                             purpose or
                                                                    intended purpose             the title
                                                                                         render the
                   un market
                   unmarke      ble.


                                                 ARTICLE SIX
                                                     INSURANCE
                                               TITLE INSURANCE

           6.1 Title Co itment.. Buyer,
           6.1                                Buyer, shall,
                                                          shall, within   two (2)
                                                                 within two      (2) days    after execution
                                                                                       days after  execution of of this
  Agreement obtain at Sell  Sel r's expense, evidence of Seller's                             property in the form of
                                                                 seller's title to the Real Property
     title search
  aa title search acceptabl
                    a.cceptab     for an
                                  for   an insurance       commitment (the
                                           insurance commitment            (the "Title   commitment"). The
                                                                                  "Title Commitment").       The Title
   Commitment is
  Commitment       is to
                       1;o be a• companied
                                     mpanied by by legible
                                                      legible copies
                                                                copies of   all documents
                                                                        of all                           to therein
                                                                                               referred to
                                                                                 documents referred         therein as
   exceptions toto title
                    title and
                           and i shall
                                  sha1l contain the  the Title Insurer's
                                                                 Insurer's undertaking to   to issue toto Buyer
                                                                                                          Buyer upon
   recording
   recordins of the
                  the deed
                        deed co   veying title
                               c nveying              title insurance policy in
                                            title aa title                       in the             Buyer or
                                                                                         name of Buyer
                                                                                     the name               or Buyer's
   assigns in the amount of he Purchase Price, excepting only to the matters approved by Buyer. If                    If
  such title insurance corncom itment shall disclose any defects in title, Buyer shall so notify Seller in
   writing within five (5) d. ys after receipt thereof.
   writing                                             thereof. Seller shall then have ten (10) days thereafter
           which to
   within which     to cure
                         cure o cause     such defects
                                  cause such       defects to to be
                                                                 be cured,
                                                                     cured, and      the closing
                                                                               and the   closing shall    be extended
                                                                                                   shall be   extended
   accordingly if necessary.
                    necessary. Any extensions of time given Seller        seller toto cure title defects shall
                                                                                                          shall extend
                             li number
   the closing date by aa like    number of ofdays.
                                                days. In the the event that any such defect cannot be cured by
                        (10) da s,
   Seller within ten (10)        s, Buyer shall
                                             shall have the option of accepting title subject subject to such
                                                                                                         such defects,
   and
   and otherwise closing the   t transaction in accordance
                                                      accordance with the  the terms
                                                                                terms and
                                                                                        and conditions hereof,    or of
                                                                                                          hereof. or
   extending further time to Seller, by mutual  mufual consent, not to exceed                (60) additional days,
                                                                             exceed sixty (60)                 days, to
   effectuate such cure, or o f'rescinding              Agreement. If Buyer elects to rescind this Agreement
                                   rescinding this Agreement.
   pursuant to this Article Six,
   pursuant                       x., the Earnest
                                          Eamest Money shall be returned to Buyer.      Buyer, Seller    ugt..r to use
                                                                                                  seller agrees
   diligent effort, including
                     including ringing of lawsuits, to cure any title defects.  defects.
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                                                 ARTICLE SEVEN
                                                 ARTICLE  SEVEN
                                 REPRESENTATIONS
                                             ON AND WARRANTIES
                                                    WA      ES

           7.1
            7  .l   Seller
                     Selier hereby
                             h    byrepresents
                                     represents and
                                                 andwarrants
                                                    wanalts that
                                                              thatthe
                                                                   thefollowing
                                                                       following will
                                                                                   will be
                                                                                         betrue
                                                                                            true and
                                                                                                  andcorrect
                                                                                                      coffect as
                                                                                                               as
    of the closin g date, and I of such representations and warranties shall survive closins:
   of the closing  date, and   11 of such  representations and warranties   shall survive  closing:

           A.
           A.       The
                     T'he lega
                           lega description
                                description which
                                            which isisattached
                                                       attached to
                                                                 to this  Agreement as
                                                                     this Agreement  asExhibit
                                                                                       Exhibit AA describes
                                                                                                  describes
                    the
                     the Real
                         Real roperty.
                                 roperty.

           B.
           B.       All  of t e: Leases
                    A.l1 of      Leases entered
                                            entered into   by Seller,
                                                     into by  Seller, financial
                                                                       financial and
                                                                                  and operating
                                                                                       operating statements
                                                                                                  statements
                    delivered
                    deliv      or toto be
                              or        be delivered
                                           delivered toto Buyer
                                                          Buyer are
                                                                 are true,
                                                                      true, correct
                                                                             correct and
                                                                                      and complete with
                                                                                         complete    with no
                                                                                                          no
                    misstate
                    misstat   ents   and with  no material  omissions.
                                nts and with no material omissions.

           C.
           t-_      There
                     There ar
                            a no
                               noservice
                                   servlce contracts,
                                            contracts, leases
                                                        leases other
                                                               other than
                                                                      than tenant
                                                                            tenant leases
                                                                                    leasesor
                                                                                           or other
                                                                                               other contracts
                                                                                                      contracts of
                                                                                                                 of
                    any  kind orr nature
                     any kind     nature (except
                                          (except as
                                                   as may be listed on Exhibit B or disclosed in the
                                                     may    be listed on Exhibit    B  or disclosed  in  the Title
                                                                                                              Title
                    Commit
                     Commit ent)
                               ent) which
                                     which will
                                            will not
                                                 not be
                                                      be binding
                                                          binding upon
                                                                   upon Buyer
                                                                         Buyer after
                                                                                 after the
                                                                                        the closing
                                                                                             closing date,
                                                                                                      date, unless
                                                                                                            unless
                    same   hav ,been
                     same hav   been approved
                                      approved by by Buyer.
                                                     Buyer.

           D.
           D,       Seller
                     Seller ha
                            ha received
                                 received no
                                           no notice
                                              notice of
                                                      of any
                                                          any violations
                                                               vioiations of
                                                                           of any
                                                                              any portion
                                                                                   portion of
                                                                                            of the
                                                                                                the Real property
                                                                                                    Real Property
                    from
                     from any    govemmentalagency
                            an governmental      agetcy or  or authority
                                                               authority and
                                                                           and all
                                                                                ail permits
                                                                                    permits and
                                                                                              and governmental
                                                                                                    governmental
                    authoriza
                     authoiza ions
                                 ons which
                                      which are
                                              are appropriate
                                                   appropriate or or necessary    for operation
                                                                      necessary for   operation o? the
                                                                                                   of      project
                                                                                                       th" Project
                    have
                    have  bee    duly
                                  duly issued, are in fuIl force and effect and will be assigned to Buyer at
                                      issued, are in full  force  and  effect and  will be assigned   to Buyer   at
                    closing,
                     closing, ii assignable.
                                 assignable.

           E.
           E.       The   P     fiy isis and
                     The Property        and shall
                                              shall be,
                                                    be, at
                                                        at the
                                                            the time  of closing,
                                                                 time of closing, in
                                                                                   in full
                                                                                       full compliance
                                                                                            cornpliance with
                                                                                                        with all
                                                                                                              all
                    applicabl
                     a6rplicabl   governmental and
                                  governmental       and quasi-governmental
                                                             quasi-governmental laws,
                                                                                    laws, codes,
                                                                                              codes. rules
                                                                                                      rules and
                                                                                                             and
                    regulations.
                    regulat

           F.
           F.       'Io the
                    To   the b stt of
                                   of Seller's
                                       seller's knowledge,
                                                knowledge, there
                                                             there isis some
                                                                        some gas
                                                                              gas under
                                                                                   under aa part
                                                                                              part of
                                                                                                   of the
                                                                                                       the Real
                                                                                                           Real
                    Property,
                    Property, however,
                                 owever, the
                                           the property
                                                property was
                                                         was still
                                                              still deemed
                                                                    deemed safe
                                                                             safe for
                                                                                  for human
                                                                                      human habitation
                                                                                                habitation and
                                                                                                            and
                    no
                    nO further
                          fu1     actions
                                   actlons were
                                            were recommended.
                                                   recommended. Environmental
                                                                      Environmental reports
                                                                                       reports deeming
                                                                                                 deeming the the
                    Property
                    )?roperly t bebe safe
                                     safe for
                                          for human
                                              human habitation
                                                      habitation have   been
                                                                 have been   provided
                                                                             provided  to  the Buyer.
                                                                                        to the Buver.

           G.
           G.       Seller
                    Seller ha
                            h    no knowledge
                                no  knowledge ofof any
                                                    any pending  or contemplated
                                                         pendrng or  contemplated condemnation
                                                                                    condemnation oror
                    eminent
                    eminent omain
                                main proceeding
                                      proceeding or  of any
                                                 or of      moratorium  affecting any portion of the
                                                        any moratorium affecting any portion of the
                    Real
                    lleal Prop rty.
                               ny.

           H.
           H.       There
                    There are
                           are nono third
                                    third party claims
                                                 claims pertaining to
                                                                   to or
                                                                      or affecting
                                                                         affecting the
                                                                                   the Property
                                                                                       Property except
                                                                                                except for
                                                                                                       for
                    rights
                    rights of
                           of tt nants
                                 nants arising
                                        arising under the Leases.
                                                      the Leases.

           I        Seller
                    Seller has
                            has eceived
                                     ved no
                                          no notice or
                                                    or complaints
                                                        complaints from any  any current
                                                                                 current tenants
                                                                                          tenants that
                                                                                                   that any
                                                                                                        any of
                                                                                                             of the
                                                                                                                the units
                                                                                                                      unrts
                    currently
                    cumently o cupied
                                   upied by tenants are
                                                     are in
                                                          in violation of  lease covenants,   nor that there are   repairs
                                                                        oflease covenants, nor that there are reparrs
                    needed
                    needed in e: units with tenants
                                               tenants inin possession.
                                                             possession. Any claims
                                                                                 claims of
                                                                                         of un-inhabitability,
                                                                                             un-inhabitability, repairs,
                                                                                                                  repairs,
                    fixes or
                           or m intenance
                                 rntenance by
                                            by any
                                                any tenants
                                                     tenants prior
                                                               prior to
                                                                     to the
                                                                         the consummation
                                                                              consummation of  of this
                                                                                                  this sale
                                                                                                        sale will
                                                                                                             will bebe the
                                                                                                                        the
                                ty of
                    responsibil ty  of and
                                        and addressed
                                             addressed andand completed
                                                                completed by by Seller
                                                                                 Seller and   said  responsibility
                                                                                         and said responsibili     ty  will
                    survive
                    survive clo
                             cl ing.
                                  no
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           J        Seller
                     Sellerhah maintained
                                 maintained an
                                             anaccurate
                                                 accurateand
                                                          andcurrent
                                                              currentaccount
                                                                      account of
                                                                               ofall   security deposits,
                                                                                  allsecurity    deposits, all
                                                                                                             al1of
                                                                                                                 0f
                    which        fullyfunded
                     vzhichara fully   funded with
                                              with no
                                                    nodraw
                                                       drawdown.
                                                             down, Such
                                                                     Suchdeposits
                                                                          depositsarearetotobe
                                                                                             bedelivered
                                                                                                delivered totothe
                                                                                                                the
                    Buyer
                     Etuyer wi
                            w 'hout charge.
                                     charge.



           L.
            L.      Seller
                     Seller isis he
                                  heowner
                                     owner of
                                            of the
                                                the Personal
                                                    PersonalProperty
                                                             Propertyfree
                                                                      freeand
                                                                           andclear
                                                                               clearof
                                                                                     of all
                                                                                         all liens,
                                                                                              liens, third
                                                                                                      third party
                                                                                                             parly
                    claims
                     claims a dJencumbrances.
                                    encumbrances.

           M.
           M.        A,il utili
                    All             ies including
                             utili ies    including electricity,
                                                        electricity, telephone,
                                                                      telephone, water
                                                                                    water and       sanitary sewage
                                                                                              and sanitary      sewage inrn
                    sufficien
                     si"rffici       quantity to service the Real Property and its tenants adequately isis and
                                    quantity    to  service  the Real   Property  and    its tenants   adequately       and
                    will
                     rn,ill be
                             be a ailable
                                     rilable totothe
                                                  the Real
                                                      Real Property
                                                            Properry and   will be
                                                                       and will  befully
                                                                                     fully hooked
                                                                                             hooked upup and
                                                                                                          and operable
                                                                                                               operable atat
                    the    time off closing
                     the time           closing without
                                                  without payment
                                                            payment by by Buyer
                                                                          Buyer or or the
                                                                                       the Real   property of
                                                                                             Real Property   of any
                                                                                                                  any fees,
                                                                                                                       fees,
                    and
                     and allall   ecessary  ry and appropriate approvals for same will have been
                                                and  appropriate   approvals    for same     will  have    been obtained.
                                                                                                                  obiained.
                    The
                     The onlyonly fees
                                    fees payable
                                           payable by by Buyer
                                                         Buyer inin connection
                                                                     connection with
                                                                                  with such
                                                                                         such utilities
                                                                                               utilities shall
                                                                                                          shall be
                                                                                                                 be normal
                                                                                                                    normal
                    usage
                     ursage feefl


                                                 ARTICLE
                                                 ARTICLE EIGHT
                                                         EIGHT
                                                    CLOSING
                                                    CLOSING

              8.1 Place
             8.1       P                Etc. Subject
                               Ti ere, Etc.     subject to to the
                                                               the other
                                                                    other provisions
                                                                          provisions ofof this
                                                                                           this Agreement,
                                                                                                Agreement, closing
                                                                                                            closing
   shall
    shall take
           take place
                 placc at
                        at the
                            the o icece of
                                        of Apperson
                                            Apperson Crump,
                                                         Crump, 6000      poplar, Suite
                                                                    6000 Poplar,        150,   Memphis  Tennessee
                                                                                   Suite 150, Memphis Tennessee
   38119
    381 19 oror at
                at such
                    suchL other
                          other slace
                                    lace as
                                          as the
                                              the parties
                                                  parties may
                                                            may mutually
                                                                  mufually agree
                                                                             agree upon.
                                                                                    upon. The
                                                                                            The Closing
                                                                                                 closing Shall
                                                                                                         Shall take
                                                                                                                take
   place
   place on on or
               or before
                   before thirty
                            thirty (30)
                                    .30) days
                                         days after
                                                after the
                                                       the end   of the
                                                            end of   the Due
                                                                         Due Diligence  period.
                                                                             Dilisence Period.

            8.2
           8.2     Documen
                   D          s etc. b                  At closing
                                                Seller. At closing or        to, Seller
                                                                      prior to,
                                                                   or prior      Seller shall
                                                                                         shall deliver
                                                                                               deliver the
                                                                                                        the
   following
    following items
               items to
                      1o Buye
                         Bu :

           A.       Closing
                    C losing S atement.
                                 alement.
           B.
           B.       Warranty
                     W arranty Deed.
                                 Deed.
           C.
           L.       Bill of
                    Bill  of Sa
                             S e for for the
                                          the Personal
                                              Personal Property
                                                         Properly with
                                                                  with warranties
                                                                          warranties of
                                                                                      of title.
                                                                                           title.
           D.
           D.       Assignme
                    Assi           t of  Leases  with  warranty  of  title.
                                    t of Leases with warrantv of title.
           E.
           E.       Notice
                    l\rttice to
                              to enants
                                     nants of  sale.
                                            ofsale.
           F.       Seller's
                    Se:ller's AA fidavit.
           G.
           G,       Assignm tt and
                    Assignmei          and delivery
                                             delivery ofof all
                                                            all original
                                                                original permits,
                                                                            permits, licenses,
                                                                                        licenses, leases,
                                                                                                    leases, contracts,
                                                                                                             conrracrs,
                    approvals     plans,    specifications,
                    approvals plans, specifications, surveys,suryeys, certifications,
                                                                         certifications, warranties,
                                                                                           warranties, estoppels,
                                                                                                        estoppels, and
                                                                                                                   and
                    authorizat
                    autborizat onsons referred
                                        referred toto herein
                                                      herein and
                                                             and all
                                                                  all items
                                                                      items ofof Personal     properly being
                                                                                 personal Property     being assigned
                                                                                                              assigned
                    or
                    or convey
                        conv -d   :d to
                                      to Buyer.
                                         Buyer.
           H.
           H,       Any    other
                    Any oth forms or
                                 forms      or documents
                                               documents necessary
                                                            necessary oror desirable
                                                                            desirable to
                                                                                       to complete
                                                                                            complete the
                                                                                                      the transactions
                                                                                                          transactions
                    herein
                    herein coco templated.
                                 templated.
           I.I.     All
                    All tenant security
                                 security deposits
                                              deposits

            8.3
           8.3      Further
                    Iu        I ocuments.. Buyer
                                               Buyer andand Seller
                                                              Seller each
                                                                     each agree    to execute
                                                                            agree to  execute such
                                                                                                such further
                                                                                                       further
   documents
   documents andand instrume is   ts and
                                     and to deliver
                                            deliver to each other
                                                             other such
                                                                   such further materials in
                                                                                          in their possession
                                                                                                   possession
   at
   at closing
      closing (or
               (or thereafter
                   theneafter i'i 'forgotten
                                   forgotten at
                                              at closing or if the
                                                               the need
                                                                   need did
                                                                         did not become
                                                                                 become apparent
                                                                                         apparent until
                                                                                                    untii after
                                                                                                          after
   closing)
   closing) as
             as may
                may betre necessary
                          n         ry or appropriate
                                          appropnate toto accomplish   the purpose  and
                                                                                    and intent hereof.
                                                                                               hereof. Buyer
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       Seller furtfrer
  and Seller
  and                            cooperate in
                         agree o cooperate
               further agree                in aa 1031 exchange and
                                                  1031 exchange     execute all
                                                                and execute     necessary paperwork
                                                                            all necessary paperwork
           cost to
  without cost
  without        to the  other arty.
                     the other

                                        ARTICLE
                                        ARTICLE NINE
                                                NINE
                                            ENTS AND
                             C OSING ADJUSTMENTS AND PR
                                                     PRORATIONS

          9.1
          9.1        The foll
                     The  folio ing
                                  ing items         to be
                                               are to
                                        items are       be apportioned
                                                           apportioned at    closing in
                                                                          at ciosing  in an  equitable manner,
                                                                                         an equitable    manner, asas of
                                                                                                                      of
       close of
   the close
  the              business on
                of business      he day
                             on the    day ofof the  closing ("the
                                                 the closing           Adjustment Date")
                                                               ("the Adjustment     Date") soso that   the income
                                                                                                 that the   income and
                                                                                                                    and
              items with
   expense items
  expense                  respe tt to
                     with res        to the  period prior
                                         the period   prior to   the Adjustment
                                                             to the               Date will
                                                                      Adjustment Date         be for
                                                                                         will be       Seller's account
                                                                                                  for Seller's  account
   and the
  and   the income
             income and          nse items
                            exp nse
                       and ex                  with   respect   to  the period  on       after      Adjustment
                                        items with respect to the period on and after the Adjustment Date
                                                                                   and         the                 Date
  will  be for
   will be  for Buyer's
                 Buyer's accou
                         accou t.

           A.
           A.      Real    esta e and
                    Real esta             personal property
                                    and personal     property taxes      shall be
                                                                  taxes shall    be apportioned     based upon
                                                                                     apportioned based        upon thethe
                   calendar ear
                   ca.lendar      ar for
                                      for which
                                          which they     are assessed.
                                                  they are                 If
                                                             assessed. If the the closing   date
                                                                                  closing date    shall occur    before
                                                                                                         occur before
                    the tax
                   the        rat or
                         tax ra        assessment is
                                   or assessment        fixed, the
                                                    is fixed,   the apportionm
                                                                     apportionmentent of  such taxes
                                                                                       of such  taxes atat the
                                                                                                            the closing
                                                                                                                closing
                   shall bebe uu on the    basis of
                                      the basis      the tax
                                                 of the       rate for
                                                          tax rate       the next
                                                                     for the        preceding year
                                                                              next preceding           applied to
                                                                                                 year applied     to the
                                                                                                                      the
                                        valuation;   plevldgd,     however,     that  readjustme
                    latest ass ssed valuation; provided, however, that readjustment will be made
                   latest                                                                          nt will    be  made
                            upo the
                    based upo
                   barsed               actual tax
                                   the actual       amount, when
                                               tax amount,     when determined
                                                                       determined.     This provision
                                                                                   . This   provision shall survive
                                                                                                                survive
                    the closi
                   thc  closin

           B        Proration items shall include
                    Proration                     collected Rents
                                          include collected           collected Additional
                                                            Rents and collected Additional Rents.
                                                                                           Rents,
                                      (except as
                              bil s (except
                    utility bil
                    Lrtility                         hereinafter provided),
                                                 as hereinafter                 fees and
                                                                   provided), fees         charges for
                                                                                      and charges     for service
                                                                                                             service
                    contracts, and
                    corntracts,        all other
                                            other  operating  expenses   of the
                                                               expenses of the   Property.
                                                                                 Property.  Any
                                                                                            Any    Rents
                                                                                                   Rents  received
                                                                                                           received
                         the C
                    aft the
                    a.ft           ing shall
                             Cl sing           be paid
                                        shall be  paid to
                                                        to the  Buyer, provided
                                                           the Buyer,             that should aa tenant's
                                                                       provided that             tenant's account
                                                                                                            account
                         current and should a payment
                    be curren                        payment of delinquent rent be made  made at such time,
                                                                                                          time, the
                                                                                                                 the
                    Buyer sha
                    []u.yer  sha I1 remit
                                    remit the
                                           the same   to the
                                                same to  the Seller.
                                                             Seller.

           B.
           B.       Such otother apportionm ents and adjustments
                                 apportionments                            customarily apportioned upon
                                                       adjustments as are customarily              upon
                                  of property
                        transfe s of
                    the trans
                    tho              property similar
                                              similar to     Seller's propefy.
                                                      to the Seller's property.

           9.2
           9.2      Liens. Al
                    !,iens.                                                closing. Any termination
                            Al liens are to be paid by Seller at or before closing.     termination
  costs for
        for service c;ontract or equipment
                    contract or            leases not assumed
                                 equipment leases             by Buyer
                                                      assumed by Buyer shall be paid
                                                                       shall be paid by
                                                                                     by Seller.
                                                                                        Seller.



                                                  ARTICLE TEN
                                                  ARTICLE
                                                  RISK OF LOSS
                                                          LOSS

          l0.l Dam_age.
          10.1      Damage. If If the
                                  the improveme
                                      improvements     are damaged by
                                                   nts are            by fire
                                                                          fire or   other casualty prior
                                                                                or other             prior to
                                                                                                            to
           the
  closing, the   cost  of such
                          suc   restoration  shali
                                             shall be  an
                                                       an obligation  of the
                                                                      of the   Seller  and closing   shall,
                                                                                           closing shall, at at
  Buyer's option, proceed pursuant    nt to the terms of this Agreement with with the
                                                                                    the cost therefor being
                                                                                                        being
  escrowed atat closing,
                 closing, or losing    shall be
                                losing shall  be delayed               (30) days
                                                 delayed until thirty (30)                the restoration
                                                                              days after the  restoration is is
  complete.   If  restoration
  complete. restoration annot    nnot be completed
                                         completed   within thirty
                                                            thirty (30) days   of the closing  date  set
                                                                                                     set forth
  herein, Buyer may termi ate this Agreement or proceed to close     close inin which event allall insurance
                                                                                                   insurance
                       deliv d to Buyer.
  proceeds shall be deliver         Buyer.
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             10,2 Taking.
            10,2      f aking. Inn the the event
                                           event there
                                                   there shall
                                                           shall be
                                                                  be aa threatened,
                                                                         threatened, pending
                                                                                      pending oror completed
                                                                                                    completed exercise   of
                                                                                                               exercise of
   the  power of
    the power   of eminent
                    emLinent domain
                                d main or   or deed
                                               deed inin lieu
                                                          lieu thereof
                                                                thereof of of any
                                                                              any portion
                                                                                   portion of
                                                                                           of the   proierty,
                                                                                               the Property, Buyer
                                                                                                              Buyer shall
                                                                                                                      shall
   have
    have the
          the option
               optiorr to
                        to complete lete closing
                                         closing hereunder
                                                   hereunder and and take
                                                                       take anan assignment
                                                                                 assignment ofof the
                                                                                                  the proceeds
                                                                                                      proceeds paid
                                                                                                                paid or
                                                                                                                     or to
                                                                                                                         to
   be
    be paid therefore,
       paid  therefore:. or
                          or to
                              to terminate
                                  t lrminate this
                                               this Agreement.
                                                    Agreement.

            10.3
             10.3   Termination.q' Upon   any termination
                                    Upon any   termination under
                                                             under this  Article Ten,
                                                                    this Article  Ten, Buyer
                                                                                       Buyer shall
                                                                                                shall be
                                                                                                       be
   refunded
   refunded thethe entire
                   entire Earnest
                          Ea    ;t Money
                                   Money deposit(s)
                                         deposit(s) and neither
                                                    and neither party
                                                                parry shall
                                                                      shall have any runner liability to
                                                                            have any further liability to
   the
    the other.
        other.

                                                ARTICLE ELEVEN
                                                ARTICLE ELBVEN
                                                   EXPENSES
                                                   EXPENSES

          11.1
           11.1     Seller's Expenses. Seller
                                       Seller shall pay the
                                              shall pay the cost of the
                                                            cost of     Title Search,
                                                                    the Title Search, and
                                                                                      and Seller's
                                                                                          Seller's
   attorney's
   attorney's fees.
              fees.

            11.2
             11.2    Buyer's Expenses.. Buyer
                                           Buyer shall
                                                 shall pay
                                                       pay all
                                                           all transfer
                                                               transfer taxes
                                                                         taxes relative to the
                                                                               relative to the conveyance;
                                                                                               convevance:
   the
    the cost
        cost of
              of recording
                 recorcling the
                            the warranty
                                       ty deed
                                          deed and
                                               and Buyer's
                                                   Buyer's attorney's
                                                           attomey's fees.
                                                                       fees.



                                                ARTICLE TWELVE
                                                ARTICLE TWELVE
                                                   DEFAULT
                                                    DEFAULT

             I2.l Iflf Buyer
             12.1         Buyer failsils to
                                          to perform
                                             perform thisthis Agreement     within the
                                                              Agreement within        the time   specified. the
                                                                                          time specified,    the Earnest
                                                                                                                 Eamest
   Money deposit
   Money      deposit   paid
                        paid    to ate by Buyer,
                               to date   by   Buyer,    together
                                                        together  with any interest that may have been earned
                                                                  with   any  interest   that  may   have   been  earned
   thereon,
    thereon, shall
               shall be  retain by
                     be retained    by or
                                        or for
                                            for the
                                                the account
                                                     account ofof Seller
                                                                  Seller as  full, complete
                                                                          as full,  complete and
                                                                                               and liquidated
                                                                                                    riquidated damages
                                                                                                                damages
       fulI settlement
    in full
   in       settlement of  of any
                               any and   all claims hereunder,
                                   and all             hereunder, whereupon
                                                                    whereupon all  all parties
                                                                                       parties shall
                                                                                                shal1 be
                                                                                                       be released
                                                                                                          released of
                                                                                                                   of all
                                                                                                                       all
    obligations under
   obligations     un<ler this     rgreement If
                             this Agreement.      . if Seller
                                                        Seller shall default in seller's obligations under this
                                                               shall   default   in  Seller's  obligations    under  this
   Agreement
   Agreement or       fail, neglect
                  or fail,  negl t oror refuse
                                         refuse toto perfoiin
                                                     perform Seller's   obligations hereunder, Buyer
                                                               Seller's obligations                 Buyer maymay elect
                                                                                                                 elect to
                                                                                                                       to
   terminate          A
                this Agreement
    terminate this                  and    obtain aa refund
                                     and obtain                of his
                                                       refund of   his Earnest    Money deposit
                                                                       Earnest Money        deposit and/or
                                                                                                     and/or Buyer
                                                                                                              Buyer may
                                                                                                                    may
    avail herself of
   avail            of any
                        any remedy
                              re     y otherwise
                                        otherwise available
                                                     available hereunder, at  at law   or in
                                                                                  law or  in equity   including specific
                                                                                              equity including   specific
   nerfnmqncc
   perfol mance.



                                                     THIRTEEN
                                             ARTICLE THIRTEEN
                                           BROKERAGE COMMISSION
                                           BROKERAGE  COMMISSION

           1 3.1 Broker.
           13.1     llroker. Buyer
                                 uyer and
                                        and Seller
                                              Seller represent and
                                                                and warrant
                                                                     warrant toto each   other that
                                                                                  each other    that JD
                                                                                                      JD Bols
                                                                                                            Bols &
   Associates
   Associates   is
                is the
                   the   only  Broker     with
                                          with whom each has dealt in connection with the
                                               whom    each   has dealt  in  connection    with  the   transaction
   contemplated             A :ement. Seller
   contemplated by this Agreement.          seller agrees
                                                   agrees to pay to Broker thethe commission
                                                                                   commission as  as per separate
                                                                                                           separate
   agreement
   agreement between Seller       and Broker, upon the closing of
                          Selle and                                of the transaction and        pavment of
                                                                                        and full payment     of the
              Price. Seller
   Purchase Price.     Seller and
                               a rd Buyer
                                     Buyer each
                                             each represent
                                                   represent and
                                                              and warrant oneone to
                                                                                 to  the
                                                                                     the  other,  that
                                                                                          other, that   they  have
          with no
   dealt with
   dealt         no other    b ker, finder
                      o1.her broker,            or similar
                                        finder or            individual or
                                                    similar individual    or entity   in connection
                                                                              entity in  connection with with this
   transaction. Seller
   transaction.   Seller hereby
                          her      agrees to hold Buyer free
                                                           free and harmless from all  ail brokerage or similar
   claims  made by any entity
   clairns made            entit ' claiming through or as as a result of dealings with Seller.
                                                                                          Seller. Buyer
                                                                                                    Buy". hereby
                                                                                                            hereby
   agrees to hold Seller
                     Seiler free and harmless from all brokerage or     or similar
                                                                           similar claims made by any    anv entity
                                                                                                             entitv
   claiming through or as a result  ult of dealings with Buyer.
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                                          ARTICLE FOURTEEN
                                         ARTICLE   FOURTEEN
                                   SURVIVAL
                                    SURVIVALOF
                                             OF'CERTAIN
                                                 CERTAINPROVISIONS
                                                         PROVISIONS

            14.1 Wherever
           14.1     Wherever in inthis
                                    thisAgreement
                                         Agreementobligations
                                                       obligations ofofSeller
                                                                        Selleror
                                                                               orBuyer
                                                                                  Buyerarearestated
                                                                                              statedtotosurvive
                                                                                                         survive
  closing
   closing hereunder,
            hereundel, such
                        such bligations    shall survive    closing  and delivery
                                  ligations shall survive closing and delivery of the deed. Additionally,
                                                                                  of the  deed.   Additionally,
  all
   all unperformed
        unperformed obligatii
                      obligati ns hereunder
                                     hereundershall,
                                                shall, unless
                                                        unless performance
                                                                performance thereof
                                                                              thereofisiswaived
                                                                                         waived ininwriting
                                                                                                     writing by
                                                                                                              by
   theother
  the   otherparty,  sulive cc osinggand
              pafiy,survive             anddelivery
                                            delivery of
                                                      ofthe
                                                          thedeed.
                                                              deed.

                                                ARTICLE
                                                ARTICLE FIFTEEN
                                                        FIFTEEN
                                                    NOTICES
                                                    NOTICES

          15.1
            15.1       All notice
                       All  noti       hereunder
                                        hereunder shall
                                                     shall be
                                                            be written
                                                               writtenand
                                                                        andshall
                                                                             shall be
                                                                                    be deemed
                                                                                        deemed given
                                                                                                   given upon
                                                                                                            upon receipt
                                                                                                                    receipt
  thereof   or, ifif receipt
   thereofor,         receipt isis r fused,
                                      fused, upon
                                              upon the
                                                     thedate
                                                         dateofof refusal.  Notices shall
                                                                   refusal. Notices   shall be
                                                                                             be valid
                                                                                                 valid ifif delivered
                                                                                                             delivered by
                                                                                                                        by
  any
   anyofof the
            the following
                   follor,ving m  m ans: : certified
                                             cerlified mail,
                                                        mail, return
                                                               return receipt
                                                                       receipt requested;
                                                                                requested; telecopier,      with   receipt
                                                                                             telecopier, with receipt
  confirmed;
   confirmed; hand handdeliver
                           deliv        or delivery
                                       or   delivery byby bonded
                                                           bonded courier,
                                                                     courier, or
                                                                               or overnight
                                                                                   ovemight or or same
                                                                                                   same day day delivery
                                                                                                                  delivery
  service.
   service.



            15.2 Notices
           15.2  lrlotices to
                            to Seller
                               Seller shall
                                       shall be
                                             be sent
                                                 sent to
                                                       to Seller
                                                          Seller at
                                                                  at the
                                                                      the following
                                                                           followins address:
                                                                                      address:

                    Crane
                     Crane Pro
                            Pro erties,
                                 erties, LLC
                                         LLC
                     Attn: Eri Nowacki
                    Attn:   Eri  Nowacki
                    2295   Can lewyck
                     2,295 Can      wyck Circle
                                          Circle
                    Memphis,
                     Memphis, TN TN 38114
                                      38114
                    Wlth cop
                    With    c    to:
                    John
                    John B.B. P clip
                    Crislip,
                    Crislip, P1 flip  & Royal
                                  lip &  Royai
                    5170
                     5170  Sanc
                           Sa   erlin
                                  rlin Ave.,
                                       Ave.,  Suite
                                              Suite 201
                                                    201
                    Memphis,
                     Mr;mphis, TN.. 38117
                                       381 17

            I 5.3 Notices
           15.3              to Buyer
                  l.lotices to  Buyer shall
                                       shall be
                                             be sent
                                                 sent to
                                                       to Buyer
                                                          Buyer at  the following
                                                                at the  following address:
                                                                                  address:

           Distinct Real
           Distinct   Real Est
                            Es toe USA
                                    USA LP.   or Nominee
                                          LP. or Nominee Company
                                                         Companv
                    l\prperson rump
               c/o Apperson
              c/o                    mp PLC,
                                         PLC,
              6000    Poplar venue,
               6000I'oplar        venue, Unit
                                         Unit 150,
                                               150, Memphis,
                                                    Memphis, TN,
                                                             TN, 38119.
                                                                 38119.
               Attention Mr.
               Attention     Mr. Michael
                                  Michael A.
                                           A. Fearnley
                                              Fearnlev
               fIl fearn 1 c ( ,a versoncrump.com
               Phone:     1-901 260-5160.
                Phone:1-901        260-5160.
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          15.4 Any pa may
          15.4               may change
                                   change its
                                           its address
                                               address or
                                                       or fax        for notices by
                                                          fax number for            giving due
                                                                                 by giving clue notice
                                                                                                notice
  ofsuch
  of such change
           change to
                  to the
                     the of
                         ot er party
                               party hereto.



                                         ARTICLE SIXTEEN
                                          ESCROW AGENT

          16.1 Duties
          16.1   Duties a d rotections of Escrow A ent. The
                                                          The Escrow Agent shall
                                                              Escrow Agent       perform all
                                                                           shall perform all
  duties and be
  duties and    afforded al protections
             be afforded                contained herein.
                            protections contained herein.



                                       ARTICLE SEVENTEEN
                                       ARTICLE SEVENTEEN
                                         MISCELLANEOUS
                                         MISCELLANEOUS

          17.1    l3indi Effect.. This
           17.1 Binding             This Agreement shall
                                                     shall be
                                                           be binding upon
                                                                       upon and                      of
                                                                            and inure to the benefit of
  the
  the parties hereto
              herefo and
                     and their
                         t   r personal representatives,
                                        representatives, heirs, successors
                                                                successors and assigns.
                                                                               assisns.

          17.2 Severability.
         17.2     lleverabil    In the
                                   the event of the
                                                the invalidity of
                                                               of any
                                                                  any provision hereof, same
                                                                                        same shall
                                                                                              shall be
  deemed
  deemed stricken    from this
           stricken from   t is Agreement,  which shall
                                Agreement, which    shall continue
                                                          continue in  full force
                                                                    in full force and
                                                                                  and effect
                                                                                      effect as
                                                                                             as if the
  offending
  offending provision   we never aa part hereof.
            provisi,on were

         17.3 Pronouns.
        17.3    hqqeutq. Use Use ofof pronouns  or nouns
                                      pronouns or         in any
                                                   nouns in  any form
                                                                  form where   they appear
                                                                        where they           in this
                                                                                     appear in
  Agreement  shall be read as
  Agreement shall           as either  masculine, feminine
                                either masculine,           or neuter
                                                  feminine or  neuter and
                                                                      and either
                                                                          either singular
                                                                                 singular or
                                                                                          or plural
                                                                                              olural
  wherever the context and facts
  wherever                 f,acts permit.
                                  oermit

                          Law. This
         r1.4 Governing Law.
         17.4                     This Agreement
                                       Agreement and   all matters
                                                  and all          arising hereunder
                                                           matters arising           shall be
                                                                           hereunder shall
                              accordance with Tennessee law.
  govemed by and construed in accordance
  governed

          17.5    Il
          17.5 Headings     and Exhibits.ts. Article,
                                              Article, Section   and paragraph
                                                       Section and    paragraph headings
                                                                                 headings areare inserted
  solely
  solely for ease of reference
                     refe      and shall not be construed to                     or limit
                                                             to enlarge, modify or   rimit the provisions
  hereof. References
  hereof.  References to numbered     or lettered
                               bered or   lettered Articles, Sections
                                                             Sections oror paragraphs refer   to Articles,
                                                                                        refer to
            and paragraphs
  Sections and
  Sections       parag        of this
                             of  this Agreement
                                      Agreement unless
                                                    unless specified   to the
                                                            specified to   the contrary.
                                                                               contrary. References
                                                                                           References to
  Exhibits are to the Exhibits
                      Exhib attached hereto which are,      by this reference, made a part hereof.
                                                        are,by

          17.6
          r7 .6   Time of the Essence. Time is of the essence of the provisions of this Agreement.
                                                                                        Asreement.

           17.7
           17 .7   Attorneys' Fees.
                               Fees. In the
                                          the event of any litigation arising out
                                                                              out of this Agreement,
                                                                                          Agreement, the
               party
   prevailing party shall                   reimbursem
                     shall be entitled to reimbursement ent of the
                                                               the costs
                                                                    costs and
                                                                          and expenses thereof from the
   other party, including reasonable
   other party,                Lsonable attorneys'
                                          attorneys' fees
                                                     fees and
                                                          and including such
                                                                          such costs,
                                                                               costs, expenses
                                                                                       expenses and
                                                                                                and fees
   incurred on appeals
   incurred      appcals of such litisation.
                            su h litigation.


           17.8 Construction
          17.8   (lo            of Agreement. The parties agree that this Agreement was prepared
  jointly by each of them and
                            a   shall be construed on a parity as between the parties. There shall be
  no
   no canon     constiruction for
      canon of construction       or against
                              Ior or agarnst any pafiy by reason
                                             any party    reason of the
                                                                     the physical preparation
                                                                                  preparation of this
  instrument.
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          17.9
           t7.9 Effect of ords.
                              ords. Wherever
                                     Whereverthe
                                               theword
                                                    word"including"
                                                          "including" appears
                                                                          appearsininthis
                                                                                       thisAgreement,
                                                                                           Agreement,itit
  shall
   shallbe
         bedeemed
            deernedto
                    tomean
                      mean "including,
                             including,without
                                       withoutlimitation"
                                                limitation" ififthe context
                                                                 the context permits.
                                                                              pennits,

        17.10
         17.10 No Ame dment. No        ,
                                     No amendment,        modification,change
                                          amendment, modification,      change or  or alteration
                                                                                       alteration of
                                                                                                   of this
                                                                                                       this
  Agreement
  Asreement shall
             shallbe
                   bevalid
                      validor
                            orbinding
                               binding unless
                                        unless in
                                                inwriting
                                                  writing and
                                                           andsigned by all the
                                                               signed by all the parties.
                                                                                  parties.

           17.11 No Agen y. . Nothing
                                   Nothinginin this
                                                thisAgreement
                                                     Agreement shall
                                                                  shall be
                                                                         bedeemed
                                                                            deemed to  to create
                                                                                           create an
                                                                                                   anagency
                                                                                                       agency
  relationship
   relationshipbetween
                 between Sel
                          Sel er
                               erand
                                  andBuyer.
                                     Buyer. TheTherelationship
                                                    relationship of
                                                                  ofthe
                                                                     theparties
                                                                         partiesisisstrictly
                                                                                     strictly that
                                                                                               thatof
                                                                                                    ofaaseller
                                                                                                         seller
  and
   andaabuyer.
          buyer.

           17.12 Counterparts. . ThisThisAgreement
                                          Agreement may
                                                      may bebeexecuted
                                                                executed ininany
                                                                              any number
                                                                                    numberof ofcounterparts,
                                                                                                counterparts,
  each  ofwhich
   eachof   which when
                     when soso executed
                                  ecuted and
                                          anddelivered
                                              delivered shall
                                                         shall be
                                                                bedeemed
                                                                    deemed an original. but all of
                                                                             an  original, but all of which
                                                                                                      which
  taken
   taken together
          togethershall
                     shall       itute one and the same instrument, and it shall not be necessary in
                           constitute one  and the  same  instrument,   and   it shall not  be necessary   in
  making
   making proof
            proof of
                   of this A
                       thisAgreement
                                  mentto
                                       toproduce
                                          produce or
                                                   oraccount
                                                      accountfor
                                                               for more
                                                                   more than
                                                                         than one
                                                                                one counterpart.
                                                                                     counteryart.

          17.13    llax Free
           17 .13 Tax   Free Exchange
                               Exchanse Option. Buyer   Buyerand/or
                                                                atd/or Seller
                                                                           Seller may      elect toto have
                                                                                   may elect           have this
                                                                                                              this
  transaction  be concluded
   transaction be <;onc        as an exchange under the provisions of Section l03l of the Internal
                              as an  exchange    under  the  provisions    of  Section   1031   of  the  internal
  Revenue
   Revenue Code    of1986,
             Code of  1986, as amended.
                                amended. TheThe other
                                                 other party
                                                       party agrees
                                                              agrees to
                                                                      to cooperate
                                                                          cooperateto to effect
                                                                                          effect such
                                                                                                  such exchange
                                                                                                        exchange
  provided
   provided such
             such cooperating
                   cooperatin party
                                partyshall
                                      shall incur
                                             incur no
                                                   noadditional
                                                      additional cost  with   respect  to such   exchange.
                                                                  cost with respect to such exchange.


         ENTERED
         ENTERED INTOO AND
                        AND EXECUTED
                            EXECUTED THE
                                     THE DATE
                                         DATE AND
                                              AND TIME
                                                  TIME APPEARING
                                                       APPEARING
  BELOW     RESPE   IVE SIGNATURES.
        THE RESPECTIVE
  BELOW THE             SIGNATURBS.

  SELLER:
  SELLER:

          Cra e M       or Apar      ents, LLC
                                      nts, LLC



            ri       acki, Manager


          Date
          Date and
               and time of execution

  BUYER:
  BUYER:

          Distinct Real
          Distinct      Est to
                   Real Est te USA LLP or
                               USA LLP or Nominee
                                          Nominee Company.
                                                  Company.




          Phillip Wazonek, president

          January zl't,2021
          January 21', 2021,, 10:00AM
                              10:00AM MST
          Date and       of xecution
               and time of    ecutron
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                                 EXHIBIT
                                  EXHIBIT AA

                            LEGAL
                             LEGALDESCRIPTION
                                  DESCRIPTION
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                                  EXHIBIT B
                              Service Agreements
                                      Agreements
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                         EXHIBIT 10
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Daniel B. Spitzer

From:                             Anna Ostrovsky <aostrovsky01@gmail.com>
Sent:                             Friday, November 12, 2021 11:03 AM
To:                               Gord Berger
Cc:                               Phil Wazonek; Tsafrir Gerson; Elad Gerson; emenendezavila@gmail.com; Eran Gurvich;
                                  Mark van Bommel; mgousseau@mailbox.org; Ilan Peker; Adam Razz; Ari Heitner; Daryl
                                  Roitman; Grant Whittaker; Laurie & Ze'ev; my2006@rogers.com; zale newman; Marcin
                                  Drozdz; Daniel B. Spitzer
Subject:                          Re: The first draft was only sent out to Eran and his friends without the link. We now
                                  have included the link.


Hi Gord,
We are specifically looking for:
1. The documentation for the $1.35mm liability
2. The documentation for the lawsuit to reduce the $1.35mm liability
3. Any updates to the purchase agreement - the purchase agreement shared with us has an old date and a purchase
price different from what was disclosed to us
4. A copy of the proposed $3mm financing term sheet
5. What is the status of the renovation? How many units have been renovated? How many of the total units are
occupied? What is the timeline for completing the renovation
6. We have additional specific questions including transfer of funds out of Crane Manor to other projects, very high
professional fees, etc. but if that is too difficult to address by email, we can wait to examine the books ourselves.

Your willingness to share this information (#1-4 your admin could send) would be a huge huge step to restoring goodwill
with your LPs.

Best Regards,
Anna


On Thu, Nov 11, 2021 at 11:01 PM Gord Berger <gberger555@gmail.com> wrote:
 Hi Anna
 Please send me the information you require and I will take it up
 With Phil. We are now preparing for any or all of you come to Memphis to
 See what we have accomplished. At the same time you will have access to any and all information you want under 10.2
 of the Limited Partner agreement. If these guys were mensches everything would be different, but unfortunately that is
 not the case.
 Warm regards,
 Gord

 Gordon Berger TEP

 416 471 3223.         CELL
 416 499 4222          OFFICE. Ext 228
 416 512 6888.          HOME




                                                            1
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  On Nov 11, 2021, at 7:23 PM, Anna Ostrovsky <aostrovsky01@gmail.com> wrote:


  Gord, could you please provide the information we requested. In previous emails you have suggested
  that you are a gentleman and a man with integrity. This is information relevant directly to our
  investment in Crane Manor. We have requested this information numerous times over numerous
  months. We are not asking you to put together anything special for us -- just to have your admin send
  us the documents that already exist.

  Thanks so much


  On Thu, Nov 11, 2021 at 6:31 PM Gord Berger <gberger555@gmail.com> wrote:


          https://mnpdebt.ca/en/corporate/corporate-engagements/intelife-lp




   To all the investors in Distinct Real Estate Projects,

   Over the last several months Phil and I have been under attack from the desks of
   mainly Eran but most of the time Tsafrir. It is unfortunate that Tsafrir is not a lawyer or
   accomplished businessman. His father must have left him money.

   He has accused us, alleged that we have done bad things, we kept everybody from
   having access to all the information, even when we go to the bathroom. That is clearly
   not the job of the General Partner. The job of the general partner is to raise the money
   and use it carefully to deliver a worthwhile result for the investors and themselves.

   What we find interesting is that Eran and a few of his friends lost over $1million dollars
   in a company that Marcin was a one third shareholder and responsible for raising the
   money and reporting to the investors.

   Marcin never told any of the investors or even me anything that turned out to be true.
   At this point it has become true that Marcin and his partners either absconded with or
   just blew away millions of dollars. He did share with me, near the end of Intelife, that
   they needed some more money and that debt would be paid 19% annually, paid
   monthly, as the money would only be needed for a short time. The fact that that
   money was invested as secured debt but in fact, once the three clowns were through
   with the company, around $14million was gone, and so were the principals. I
   personally tried to reach out to the companies who raised money for Marcin, but he
   would never tell me on the advice of his lawyers. I have these conversations recorded!
   He made it impossible to speak to the Exempt Market Dealers and for good reason.
   Phil and I found out, which Eran already knew that Marcin had been involved at a very
   senior shareholder with at least the last three companies he was involved in that all
   became insolvent and, of course, all the investors lost their money.

   What is interesting is that even though Eran and a few of his friends lost over $1million
   dollars, it didn't stop him in reaching out to some of his other friends or enemies and

                                                   2
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   talked them into investing with Marcin in Distinct projects even though he was suing
   the Shareholder's of Intelife. How could that be you ask, ask Eran.

   The first thing he did was make sure that while we raised money, as he couldn't
   except for Eran and his gullible friends, he made sure he took a significant amount of
   it, which he didn't disclose to me, who was raising most of the money. Eran basically
   financed the law-suit against Marcin and his friends and yet still brought his friends
   into this deal via Marcin even though he had lost over 1 million dollars. I don't get it but
   may you do.

   As we all know, Marcin has left a river of bleeding investors for years and continues to
   do that.

   It was good luck for you, the investor, that Phil and I were there protecting your
   money.

   We have included the link for you to read how the three principles in Intelife screwed
   everyone by mismanagement. and financially rewarding themselves until there was no
   money left.


   The reason that Marcin has gone to Youtube is to get money out of unsuspecting
   investors like you were.

   Nobody else will go near him. So why are we telling you this. I am addressing this
   mainly to Tsafrir, Ilan, Elad, and and others. Have you ever asked yourself why this
   attack is happening. Given that Eran brought you into this investment knowing full well
   that he was in the midst of suing Marcin, maybe your anger should be targeted to the
   culprit who put your money at risk. If you examine the dates of the initiation of the
   lawsuit, you will notice that Eran was at cross purposes with Marcin prior to asking you
   to invest. The reason that Eran has been so outright embarrassed is that he put all his
   belief in Marcin and then all of you did also.

   Phil and I believe that the game now is to give Marcin more money probably on a
   weekly basis so he can travel and buy food, take over Crane and possibly Whispering
   Pines. I'm sure he has convinced all of you that Phil doesn't know what he is doing
   and Marcin is an expert. The only thing that Marcin is an expert in is losing money for
   himself and his investors. He is a pro at that.

   I am happy to give you access to the companies who have raised money for Marcin's
   unsuccessful ventures.

   They will share with you what they think of him. His crappy reputation stretches far
   and wide. If he has promised to pay you all back if you take over our projects or new
   ones in Florida, good luck. Say bye bye to your hard earned money. I actually liked
   Eran very much but he got sucked into Marcin's divide and conquer plan which turned
   out to be very successful for Marcin and very unfortunate for Eran and his group.

   I am now sharing other deals that became apparent to me once I was able to find
   contacts that ultimately have shared these names with me, all gone now;

                                               3
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   1.Tandem Properties

   2. a company called Weslease

   3. and of course, the best example of what Marcin is capable of, Intelife.

   We have taken the time to write this to all of you not because we want to get even with
   Marcin, but we feel sorry for the path some irrational investors are leading you. As of
   this point, you will no longer be able to say you didn't know, as we have been trying to
   share the truth with all of you for a very long time.

   Act accordingly,

   Gordon Berger

   Managing Director

   Distinct Real Estate Limited

   gberger555@gmail.com



   416 471 3223 cell
   Gberger555@gmail.com

   21 Tregellis Rd, M3H 1K3, Toronto, Ontario

   Remember, sooner is better than later or never! Life happens and things change in the blink of
   an eye and so can your insurability.

   E&O.E
   This copyrighted message, and any attachments, is intended only for the addressee, and may contain privileged or
   confidential information. If this has been received in error, please delete immediately.
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Daniel B. Spitzer

From:                             Anna Ostrovsky <aostrovsky01@gmail.com>
Sent:                             Saturday, November 13, 2021 10:19 AM
To:                               Daniel B. Spitzer; Tzafrir.g; Ilan Peker; Elad Gerson
Subject:                          Fwd: Hi Anna


Hi Gord,
Thanks for your email. I think the summary of it is that you WON’T share the information that is rightfully due to us and
that is very simple to share. I would respectfully ask that you refrain from name calling and accusations. I am not
interested at all. I am only interested my financial recovery here and not in the backstories of any particular manager or
GP. I am not going to involve myself in any of that.

Best regards
Anna


Begin forwarded message:

        From: Gord Berger <gberger555@gmail.com>
        Date: November 12, 2021 at 10:36:29 PM EST
        To: Anna Ostrovsky <aostrovsky01@gmail.com>
        Cc: Phil Wazonek <phil@distinctiverealty.ca>
        Subject: Hi Anna



        First of all Shabbat Shalom,
        As you know, Shabbat is coming within minutes. I have not time at present to respond to you other than
        to say I wish you weren't part of this "squad" group. The kinds of things you are basically asking for has
        been addressed in the meeting of November 4th.
        You are interested in the lis pennants (non-registered mortgage". As we are working our way through
        the process with our lawyers( yours and ours), we do not have a settlement at this point in time.
        2. As covered already, when we purchased the property we contemplated paying $3,150.000 OR LESS>
        If we do not win the lawsuit we end up exactly where we were prepared to be when we purchased the
        property.
        3. You guys keep on asking about the target price in the marketing material as created by Marcin of
        $3.8million dollars. Why are you guys concerned as we only bought it for $3,150,000. If you want to pay
        us a premium of $650,000 for buying it at a much lower price, send us a cheque and interest. How can
        even have the nerve to complain about that. or #2. I don't get it. The squad is looking to make trouble.
        We have done everything in the interest of the investors. We actually can't wait to get rid of the guys.
        They are a pain in the ass.
        4. We should all of you the loan document from the lender in the amount of $3million dollars. We can't
        afford to give you access to the lender as all our hard work could go down the drain, which would hurt
        everyone concerned. If you were the GP you would do the same thing, as we are protecting all the
        investors money.
        5, We covered the fact, that without financial, it was impossible to start the renovations of Crane
        Manor.
        It was actually an awesome thing as the rents have gone up unbelievably and because we didn't finish
        any suites, we will take advantage of the market lift. We have also been waiting for the price of wood

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 etc. to come down and it has started already. There was a time that the entire supply chain was broken
 but it seems to be coming back slowly.
 6. You are complaining about professional fees. What right do you have to say that as all of you don't
 have a clue what the lawyers here are charging the company and what they have done. This is a very
 cheap shot.
 You don't even know what lawyers charge in Memphis. This is what really upsets me. That statement is
 meant to say that we are paying usurious fees without having a clue. Give me a break!
 7. I am very willing to have you or any other investor come to sunny Memphis and check the books.
 I want to make a point that Phil and I have taken zero dollars since I was a equal shareholder to the GP.
 The projects owe us a very significant amount of money which we can take anytime plus fees for our
 covenant with which we could not get a lender to finance our renovations. So to say that we took
 money out of Crane, if we did, it is our money and not yours. You can't expect us to work day in and day
 out for no money. You wouldn't either. So if you want us to bill the company for what is owed to us, just
 let me know.
 So in summary, I know you have been set up to send the above to us and be the front man. I feel sorry
 for you as I assume you are a wonderful person as I can tell from your messages but you don't have to
 do the work for these scoundrels. Tsafrir and Eran have mislead all of you enough. We have provided
 Marcin's background so you can see the truth. And if you need more third party proof that he is not
 what you think, reach out to me and I am happy to provide a litany of history about Marcin who you
 think will lead you into the new land but what you will find out is he will lead your hard-earned money
 into hell where the rest of his investors are living now.
 Anybody who has ever met Marcin would probably want to hang him in the town square so all could see
 his last breath, but that wouldn't bring back their money. If you have time on Sunday, please give me a
 call and we can meet and talk. I would like that. My phone number is below. I am a gentleman but they
 aren't. Search out Eran on google, you may be shocked, I was.
 Gord

 Gordon Berger TEP

 416 471 3223.         CELL
 416 499 4222          OFFICE. Ext 228
 416 512 6888.          HOME




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                         EXHIBIT 12
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                       ACTION BY CONSENT IN LIEU OF MEETING
                    TO PERMIT COPYING OF PARTNERSHIP BOOKS,
                         RECORDS AND FINANCIAL STATEMENTS


         WHEREAS, according to paragraph 2.4 of the Agreement of Limited Partnership
 (“Operating Agreement”) of Distinct Real Estate USA 2, L.P., a Delaware limited partnership
 (“Partnership”) was established for the primary purpose of purchasing, renovating, renting, holding
 or selling the Partnership’s primary asset, the real property, buildings and improvements thereon
 located at 2295 Candlewyck Circle, Memphis Tennessee 38114 (“the Property”), commonly known
 as Crane Manor Apartments;
         WHEREAS, the Limited Partners of the Partnership have become concerned that the
 Partnership’s General Partner, Distinct Real Estate USA GP 2, Inc., a Delaware corporation (“the
 General Partner”), has withheld material information concerning the finances of the Partnership
 from the Limited Partners (including, among other things, an undisclosed lien claim of $1,350,000
 against the Property, an undisclosed lawsuit filed on behalf of the Partnership to challenge the lien
 claim and allegations that the General Partner has diverted funds from the Partnership to another
 project involving the General Partner), and is either unwilling or unable to perform its obligations
 for management and operation of the Property, due to internal dissension and deadlock among the
 General Partner’s own shareholders, which the Limited Partners have previously declared, at a duly-
 constituted meeting of the Limited Partners on September 27, 2021, to be a material breach of the
 Operating Agreement;
        WHEREAS, the Limited Partners of the Partnership have been unable to obtain basic
 information concerning the operations and finances of the Partnership, in spite of their repeated
 requests to the General Partner;
         WHEREAS, certain of the Limited Partners have given notice to the General Partner of their
 intent to examine and copy the books, records and financial statements of the Partnership under
 paragraph 10.1 of the Agreement of Limited Partnership (“Operating Agreement”) of the
 Partnership, which provides as follows:
               10.1 Books, Records and Financial Statements. At all times during the
        continuance of the Partnership, the Partnership shall maintain, at its principal office,
        separate books of account for the Partnership that shall show a true and accurate
        record of all costs and expenses incurred, all charges made, all credits made and
        received and all income derived in connection with the operation of the Partnership
        business in accordance with generally accepted accounting principles consistently
        applied, and, to the extent inconsistent therewith, in accordance with this Agreement.
        Such books of account, together with an executed copy of this Agreement, the

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        Partnership Register, a certified copy of the Certificate and all other documentation
        maintained by the Partnership and relevant to a Partner’s review of the accuracy and
        correctness of the Partnership’s books, records and accounts shall at all times be
        maintained at the principal office of the Partnership. Upon at least five (5) Business
        Days prior written notice to the General Partners, a Limited Partner or its
        representative shall be permitted to examine books of account, the executed copy
        of this Agreement, the names of all Partners and a certified copy of the Certificate,
        at such time as may be mutually convenient to the General Partner and such
        Limited Partner. Each Limited Partner shall bear all expenses incurred in any
        examination made for such Limited Partner’s account and shall keep all
        information obtained during such inspection confidential.
 (Emphasis added.);
         WHEREAS, the General Partner has taken the position, both at a meeting of the Partnership
 convened by the General Partner on November 4, 2021, and in writing thereafter, that it will not
 permit copying or scanning of the books, records, and financial statements of the Partnership by any
 Limited Partner who duly gives notice of an inspection and examination pursuant to paragraph 10.1
 of the Operating Agreement, in spite of the fact that the Operating Agreement is silent on the issue;
 and
        WHEREAS, nearly all (if not all) of the Limited Partners reside outside Memphis, Tennessee
 and therefore find it inconvenient to visit the Partnership office located at 6000 Poplar Avenue,
 Memphis Tennessee for the purpose of examining the books, records and financial statements of the
 Partnership and seeking advisement from their respective financial advisors, accountants and
 attorneys;


        NOW, THEREFORE, in accordance with the provisions of paragraph 4.2 of the Operating
 Agreement, the following resolutions are enacted and actions are taken by consent of the Limited
 Partners, in lieu of a meeting:
        Authorization of Limited Partners to Copy Books, Records and Financial
        Statements of the Partnership.
                RESOLVED that, subject to the provisions of paragraph 10.1 of the Operating
        Agreement of the Partnership, any Limited Partner or its authorized representative
        shall, as part of the examination of the books, records, and financial statements
        provided for in said paragraph, be permitted to copy or scan the Partnership’s
        documents and things enumerated therein.




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               RESOLVED that the General Partner is instructed by the Limited Partners to
        act and conduct itself in accordance with the provisions of the above resolution,
        which shall be included as an official act in the books and records of the Partnership.




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 Signature of Li ited Partner          Printed Name of Limited Partner         Date




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                     RESOLVED that the General Partner is instructed by the Limited Partners to
              act and conduct itself in accordance with the provisions of the above resolution,
              which shall be included as an official act in the books and records of the Partnership.




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       Signature of Limited Partner          Printed Name of Limi ed Partner        Date




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               RESOLVED that the General Partner is instructed by the Limited Partners to
        act and conduct itself in accordance with the provisions of the above resolution,
        which shall be included as an official act in the books and records of the Partnership.




    (Wag- AAA-                          Ilan Peker                             11/11/2021
 Signature of Limited Partner          Printed Name of Limited Partner         Date




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               RESOLVED that the General Partner is instructed by the Limited Partners to
        act and conduct itself in accordance with the provisions of the above resolution,
        which shall be included as an official act in the books and records of the Partnership.




                                        Mark van Bommel                        November 11, 2021
 Signature of Limited Partner          Printed Name of Limited Partner         Date




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               RESOLVED that the General Partner is instructed by the Limited Partners to
        act and conduct itself in accordance with the provisions of the above resolution,
        which shall be included as an official act in the books and records of the Partnership.



                                             TSAFRIR GERSON                           10/11/2021


 Signature of Limited Partner          Printed Name of Limited Partner         Date




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